        Case 3:24-bk-00496-BAJ      Doc 53-32      Filed 04/04/24   Page 1 of 91




                                EXHIBIT COVER SHEET



                                                                             Exhibit

Party Submitting:    Mary Ida Townson, U.S. Trustee for Region 21


Admitted:            YES        or NO        (circle one)                      196


Chapter 11 Debtor:   Genie Investments NV, Inc.


Case No.             3:24−bk−00496−BAJ


Nature of Hearing:   Trial on

                     U.S. Trustee’s Motion to Appoint Chapter 11
                     Trustee, or, in the Alternative, Appoint
                     Examiner, Dismiss Case, or Convert Case to
                     Chapter 7 (Doc. No. 20)

                     Debtor’s Response Thereto (Doc. No. 34)

                     U.S. Trustee’s Reply (Doc. No. 38)

Trial Date:          April 9, 2024, at 9:00 a.m.




                           United States Bankruptcy Court
                              Middle District of Florida

                     Dated: ___________________________, 2024.


                     By: _______________________, Deputy Clerk
           Case 3:24-bk-00496-BAJ        Doc 53-32          Filed 04/04/24        Page 2 of 91
                                                                                   ATTORNEYS AT LAW

:FOLEY
FOLEY & LARDNER LLP
                                                                                   11988 EL CAMINO REAL, SUITE 400
                                                                                   SAN DIEGO, CA 92130-2594
                                                                                   858.847.6700 TEL
                                                                                   858.792.6773 FAX
                                                                                   WWW.FOLEY.COM

                                                                                   WRITER’S DIRECT LINE
                                                                                   858.847.6750
                                                                                   bmorris@foley.com

                                                                                   CLIENT/MATTER NUMBER
                                                                                   138696-0101


                                                       October 31, 2023


Via E-Mail and FedEx
Adam Walker, Esq.                                        Via E-Mail and Certified Mail
Walker Law Office, LLC                                   David Hughes
4040 Pennsylvania Ave., Suite 115-10                     Michael Connor
Kansas City, Missouri 64111                              Caleb Davis
Email: adam@awsecuritieslaw.com                          John Michael Cohan
                                                         Genie Investments NV
Via FedEx                                                P.O. Box 5886
Genie Investments NV                                     Wilmington, DE 19808
Attn: Registered Agents, Inc.                            david@zoomeral.com
401 Ryland St., STE 200-A                                dhughes@genieinvestments.com
Reno, NV 89502

               Re:     Failure to Refund of Deposit Following Termination of Line of
                       Credit Agreement

Dear Genie Investments,

              We represent Wallingford Lodging Partners LLC (“Wallingford”) and North Haven
Lodging Partners LLC (“North Haven”) (“collectively, “Borrowers”). By this letter, Borrowers
demand Genie Investments NV (“Genie”) immediately refund the $1,800,000.00 ICA Deposits both
Wallingford and North Haven (together, totaling $3,600,000.00) made to Genie related to certain
Business Expansion Line of Credit Agreements and related instruments and conduct (the
“Agreements”) involving Wallingford, North Haven, Genie, and McMann Commercial Lending
LLC (“McMann”).

              On April 10, 2023, Borrowers entered into the Agreements for a total line of credit in
the amount of $36,000,000.00 (the "Line of Credit") for two different projects. In accordance with
the Agreements, on May 3, 2023, Borrowers advanced deposits in the total amount of $3,600,000.00
(the "ICA Deposit") to Genie pursuant to direction from McMann. Genie acknowledged the receipt
of the ICA Deposit from Borrowers. The ICA Deposit was to be held on the books and records of
Genie and McMann to serve as an Interest Credit Account (“ICA”) for the Line of Credit.

                Genie was required to make the first Advance under the Line of Credit within 75 days
of the Deposit by Borrowers. If the first Advance on funds under the Line of Credit was not made as
required, Borrowers were entitled to a full refund of the Deposit upon providing written notice of its
request for a refund. It is undisputed that Borrowers properly and timely terminated the Agreements
and demanded a refund of the ICA Deposit from Genie and McMann. Moreover, on multiple
 AUSTIN              DETROIT             MEXICO CITY             SACRAMENTO              TALLAHASSEE
 BOSTON              HOUSTON             MIAMI                   SALT LAKE CITY          TAMPA
 CHICAGO             JACKSONVILLE        MILWAUKEE               SAN DIEGO               WASHINGTON, D.C.
 DALLAS              LOS ANGELES         NEW YORK                SAN FRANCISCO           BRUSSELS
 DENVER              MADISON             ORLANDO                 SILICON VALLEY          TOKYO
                                                                                                             4889-1305-2297.1
            Case 3:24-bk-00496-BAJ             Doc 53-32        Filed 04/04/24        Page 3 of 91


:FOLEY
FOLEY & LARDNER LLP

Adam Walker
October 31, 2023
Page 2


occasions, Genie and Mr. David Hughes confirmed, both orally and in writing, Borrowers were
entitled to the refund of the ICA Deposit and the refund would occur on October 13, 2023. 1

                The refund was not made on October 13, 2023, as promised and required and Genie
has not provided a date certain when it intends to comply with its legal obligations to refund
Borrowers’ ICA Deposit. Instead, Genie has provided a litany of excuses on its clear obligation to
refund the ICA Deposit and claimed a dispute with its unnamed “capital provider” has prevented it
from refunding Borrowers. However, any issues Genie may have with its “capital provider” are
irrelevant to refunding Wallingford and North Haven. Genie was required to hold Borrowers’ funds
in trust as a deposit for Borrower’s obligations under the Agreements (if any were owed). Genie was
not allowed to convert Borrowers’ funds to their own and disperse the funds in any other way other
than for the benefit of Borrowers. Therefore, Wallingford and North Haven’s refunds of their
deposits are in no way related to any alleged dispute Genie has with its unnamed “capital provider.”

                Genie’s failure to refund the entrusted ICA Deposit has caused and continues to cause
substantial harm to Borrowers. Borrowers have suffered or will suffer damages including, but not
limited to: (1) unreturned ICA Deposit funds, including interest and attorney’s fees; (2) delays and
additional costs related to two construction projects; (3) lost deposit of $250,000.00 on land under
contract; and (4) significant reputational harm. Genie will be held responsible for these damages if
the funds are not immediately returned to Wallingford and North Haven. Failure to immediately
return Borrowers’ ICA Deposit will result in legal and other actions by Wallingford and North
Haven against Genie and its principals related to the apparent scheme to defraud Borrowers.

               If you wish to discuss this matter, please contact me. Borrowers’ demand is without
prejudice to and does not waive any rights, claims, and/or demands they may have against Genie or
others pursuant to the Agreements and/or applicable law. We urge you to take immediate action to
resolve this matter.

                                                         Sincerely,



                                                         Benjamin J. Morris


Enclosure


        1
            An additional summary of the relevant facts and related documents, agreements, and communications related
to this transaction are included in the enclosed October 24, 2023 letter from SWK Attorneys at Law (counsel for
McMann) to Genie.




                                                                                                               4889-1305-2297.1
          Case 3:24-bk-00496-BAJ        Doc 53-32      Filed 04/04/24    Page 4 of 91



                     500 SKOKIE BLVD., SUITE 600
                     NORTHBROOK, ILLINOIS 60062
                     (224) 260-3090
                                                                           DANIELS. KLAP:,.,tAN
                                                                           (224) 260-3087
ATTORNEYS AT LAW                                                          dklapman@swka11orneys.com



                                        October 24, 2023

 VIA U.S. Mail and Certified Mail                 VIA U.S. Mail. Certified Mail, and Facsimile
 Adam Walker                                      Courtney Riordan
 Walker Law Office, LLC                           9 E. Loockerman Street, Suite 202
 4050 Pennsylvania Ave., Suite 115-10             Dover, Del aware 1990 I
 Kansas City, Missowi 64111                       302-674-2100

 VIA EmaiL U.S. Mail and Ce1tified Mail          VIA U.S. Mail and Certified Mail
 David Hughes                                    Attn: GENIE INVESTMENTS NV
 John Michael Cohan                              C/O SPIEGEL & UTRERA.P.A.
 Genie Investments NV                            1840 Coral Way, 4th Floor
 P.O. Box 60443                                  Miami, FL 33145
 Jacksonville, Florida
 david@zoomeral.com
 d hughes@genieinvestments.corn

 VLA U.S. Mail. Certified Mail and Facsimile
 Jeff Beck
 Spiegel & Ultrera, P.A.
 2545 Chandler Ave., Suite 4
 Las Vegas, Nevada 89120
 702-458-2100

       Re:     McMann Commercial Lending LLC n/k/a McMann Professional Services LLC
               d/b/a McMann Capital ("McMann") and ICA Payment Refund Demands

Dear Genie Investments:

        Be advised that our firm represents McMann. This letter is primarily intended to demand
that Genie Investments NV ("Genie") immediately provide refunds to both Wallingford Lodging
Partners LLC and North Haven Lodging Partners LLC, two (2) borrowers under Business
Expansion Line of Credit Agreements ("BELOCS"), recognized by Genie as User !D's 2815 and
2816. The two (2) BELOCS are enclosed herewith as Exhibits A and B, respectively. On May
3, 2023, Wallingford and North Haven each wired separate ICA Payments of $1,800,000.00
(together, totaling $3,600,000.00) to Genie per Genie's wiring instructions. Confirmation of both
wires is enclosed herewith as Exhibit C. This letter also addresses additional failures of Genie
regarding its relationship with McMann, including, inter a/ia, Genie's failure to fund these
BELOCS, and dozens of other loans to which it committed, as well as its failures to issue refunds
per the terms of the said loans.
           Case 3:24-bk-00496-BAJ        Doc 53-32      Filed 04/04/24     Page 5 of 91
October 24, 2023
Page2



        As you are aware, due to Genie's inability to fund these and other BELOCS brought to
Genie by McMann (due to a purported failure of Genie's "capital provider"), both Wallingford
and North Haven have terminated their respective BELOCS pursuant to the terms of Section 13.7
of the BELOCS and both properly demanded the refund of their ICA Payments. To be clear, their
demands complied with each and every term of the BELOCS. Copies of their respective
termination notices and demands for refunds are enclosed herewith as Exhibit D.

       As evidenced by Genie's Zoomeral communications with McMann, Wallingford and
North Haven:

        (i)     Genie acknowledged receipt of the respective wires on May 4, 2023;
        (ii)    Genie acknowledged receipt of both termination requests on August 18, 2023;
        (iii)   Genie responded to requests for an update on refund dates on September 14, 2023;
        (iv)    Genie acknowledged its obligation to refund the ICA Payments; and
        (v)     Genie stated that both refunds were expected to be wired on October 13, 2023.

Copies of these communications are enclosed herewith as Exhibit E.

        On October 13, 2023, rather than make its agreed upon refund of the ICA Payments, Genie
instead issued letters to both borrowers claiming that due to a "force majcurc" it could not make
either of such refunds. These letters were sent by attorney Adam Walker, formerly of My RIA
Lawyer, and currently of Walker Law Office, LLC (the "Walker Law Office", formed on
September 16, 2023). Copies of these letters arc attached hereto as Exhibit F and G, respectively.

        As Genie well knows, any issues Genie may have with its purported "capital provider" are
wholly irrelevant to the refund of ICA Payments. Genie received the funds at issue from each
respective borrower on May 3, 2023. Genie was required to hold said funds in trust to cover
interest due under the respective BELOCS as it accrued, once (and it) funded. These refunds are
in no way dependent on outside capital or the availability of fund.r from any third-party,
including Genie's purported and yet to be identified wholesale lender. It appears this "force
majeure" explanation - the purported reason Genie was unable to fund these and various other
BELOCS procured by McMann - is an obvious attempt to fabricate an otherwise non-existent basis
for Genie's current and wholly unjustified refusal to issue refunds of ICA Payments received
directly from prospective borrowers. No such basis exists, as the refunds are wholly unrelated to
Genie's inability to fund these BELOCS, and in fact, arc specifically required upon receipt of the
termination notices, including those issued as a result of Genie's inability to fund the respective
loans.

        Accordingly, McMann demands the immediate refund of the two (2) deposits. McMann
further demands that Genie identify the location of the funds deposited by Wallingford and North
Haven from the time they were wired on May 3, 2023 to the present, as well as a full explanation
as to each and every reason Genie has failed to this point make these and any other properly
requested refunds. It is our understanding that Genie has provided refunds to at least five (5)
borrowers procured by McMann in amounts ranging from $30,000.00 to $1,100,000.00. Why
          Case 3:24-bk-00496-BAJ            Doc 53-32      Filed 04/04/24       Page 6 of 91
October 24, 2023
Page 3


exactly are these refunds to Wallingford and North Haven being treated any differently?

        Moreover, in multiple communications, including the October 13, 2023 letters to
borrowers, Genie stated it is participating in settlement discussions with its "capital provider" and
relying on efforts of Adam Walker and the Walker Law Office "on multiple fronts to compel the
capital provider to deliver the funds it owes, so that Genie can, in tum, provide refunds to its
borrowers" including "preparing legal action against the capital provider and its associates, which
[Genie] will file at [its] earliest opportunity unless [it] reaches a satisfactory settlement first." [See
Exhibits F and G hereto.] As noted in the letters, "Genie will make every reasonable effort to
keep you informed of the progress of its efforts doing this process" and that borrowers "can expect
further correspondence from [the Walker Law Office] with updates regarding the settlement
negotiations or the status of any legal action filed against the capital provider." McMann demands
such an update including the identity of this capital provider, as well as the identity of who, in
addition to the Walker Law Office, is participating in these discussions on Genie's behalf. If in
fact Genie has proceeded to litigation, please provide a copy of any filed complaints, including the
identity of the forum in which the litigation is proceeding, all case identifying information, and
counsel of record for all parties. Please also explain why Genie must receive any funds in order
to process the refunds.

         McMann is also aware of several instances in which Genie has approached borrowers
procured by McMann, offering to provide alternative funding under similar terms to loans that
failed to close, again, due to Genie's failure to fund. Genie is to cease and desist any such activity,
as it clearly constitutes tortious interference with McMann 's business with its customers.
Additionally, McMann has suffered extensive damages resulting from Genie's conduct relating to
many of the borrowers it has procured for Genie, beyond just Wallingford and North Haven as
mentioned above, including, inter alia, borrowers that intended to make their !CA Payments by
way of bridge loan agreements made directly with Genie. Genie is clearly attempting to hide
behind its purported claims directed to its as of yet unidentified "capital provider" but such tactics
do not excuse Genie's conduct. To be clear, McMann reserves and any and all rights, claims
and/or demands McMann has or may have against Genie pursuant to any and all agreements and/or
applicable law.

        As to Wallingford and North Haven, we expect Genie to issue the refunds and provide a
comprehensive response to this letter on or before the close of business on Friday, October 27,
2023. Short of full refunds to both Wallingford and North Haven and satisfactory responses to the
questions presented above, McMann will not only take action on its own behalf, but will cooperate
with and support any legal action taken by either Wallingford and/or North Haven not to mention
others that are likely to arise in the future. Govern yourself accordingly.

       Additionally, since this matter appears to be heading towards litigation, we hereby demand
you preserve all relevant evidence as set forth below.
          Case 3:24-bk-00496-BAJ          Doc 53-32      Filed 04/04/24      Page 7 of 91
October 24, 2023
Page 4


                        DEMAND FOR EVIDENCE PRESERVATION

        Given the prospect oflitigation, we demand that Genie immediately take all steps necessary
to preserve all evidence, documents and communications in Genie's possession, custody or control
concerning the above-described matters, including, without limitation, all evidence, documents
and communications in any way related to McMann and any applicant, bonower, or prospective
borrower, as well as Genie's relationship with McMann. Please provide a copy of this letter to the
persons whose job responsibilities cover the matters addressed herein. The above-listed
information should be preserved and handled in the manner set forth in this letter.

         We believe electronically stored information ("ESI") to be an important and irreplaceable
source of discovery and/or evidence in the event of litigation. The current dispute therefore
requires preservation of all information from your computer systems, removable electronic media,
and other locations. This includes, but is not limited to, email and other electronic communications,
including on the Zoomeral platform owned and controlled by David Hughes, word processing
documents, spreadsheets, databases, calendars, telephone logs, contact information, internet usage
files, and network access information.

        You should also preserve the following platforms in your possession and control (such as,
and including, the Zoomcral platform): databases, networks, computer systems, including legacy
systems (hardware and software), servers, archives, backup or disaster recovery systems, discs,
drives, USB devices, external hard drives, and other storage media, laptops, personal computers,
Internet data, mobile telephones, paging devices, audio systems (including voicemail), and any
other electronic device capable of containing or storing ESI.

    Unless described otherwise below, all of the information described in this letter should be
preserved since the inception of your dealings with McMann (the "Relevant Time Period").

                               PRESERVATION OBLIGATIONS

        The laws and rules prohibiting destruction of evidence apply to electronically stored
information in the same manner that they apply to other evidence. Due to its format, electronic
information is easily deleted, modified, or corrupted. Accordingly, you must take every reasonable
step to preserve this information until the final resolution of this matter. This includes, but is not
limited to, an obligation to:

   •   discontinue all data destruction and backup storage recycling policies;
   •   preserve and not dispose of relevant hardware unless an exact replica (a mirror image) is
       made;
   •   preserve and not destroy passwords, decryption procedures (and accompanying software),
       network access codes, ID names, manuals, tutorials, written instructions, and
       decompression or reconstruction software; and
   •   maintain all other pertinent information and tools needed to access, review, and reconstruct
       all requested or potentially relevant electronic data.
          Case 3:24-bk-00496-BAJ          Doc 53-32      Filed 04/04/24     Page 8 of 91
October 24, 2023
Page 5


                              DESCRIPTION OF DATA SOUGHT

        This dispute requires preservation of all information from your computer systems,
removable electronic media, and other locations relating in any way to McMann and its applicants,
borrowers, and prospective borrowers, including but not limited to the vehicles leased under said
VLSA, and Penske's relationship with A&M. This includes, but is not limited to, email and other
electronic communications, word processing documents, spreadsheets, databases, calendars,
telephone logs, contact manager information, Internet usage files, and network access information.

I.      Electronic Files. You have an obligation to preserve all digital or analog electronic files in
electronic format, regardless of whether hard copies of the information exist. This includes
preservmg

   a. active data (i.e., that which is immediately and easily accessible on your systems today);
   b. archived data (i.e., that which resides on backup tapes or other storage media);
   c. deleted data (i.e., that which has been deleted from a computer hard drive but is recoverable
      through computer forensic techniques; and
   d. legacy data (i.e., that which was created on old or obsolete hardware or software).

You must preserve active, archived, and legacy data, including but not limited to:

   a. word processed files, including drafts and revisions;
   b. spreadsheets, including drafts and revisions;
   c. databases;
   d. electronic communications and logs of same;
   e. computer-aided design (CAD) files, including drafts and revisions;
   f. presentation data or slide shows produced by presentation software (such as Microsoft
      PowerPoint);
   g. graphs, charts, and other data produced by project management software (such as Microsoft
      Project);
   h. data generated by calendaring, task management, and personal information manager (PIM)
      software (such as Microsoft Outlook);
   1. data created with the use of mobile phones or other portable electronic devices;
   J. data created with the use of document management software;
   k. data created with the use of paper and electronic mail logging and routing software; and
   I. animations, images, audio, video, and audiovisual recordings, MP3 players, and voicemail
      files.

You must preserve media used by your computers, including but not limited to:

   a. all storage media, including the hard drives, CD's, DVD's, USB devices, and all internal
      or external drives and storage devices used at any time with your computers;
   b. backup media and the software necessary to reconstruct the data contained on the media;
      and
   c. a mirror image copy of any media no longer in service but used during the Relevant Time
      Period.
           Case 3:24-bk-00496-BAJ         Doc 53-32     Filed 04/04/24     Page 9 of 91
October 24, 2023
Page 6


11.     Hardware. You have an obligation to preserve all electronic processing systems, even if
they are replaced. This includes computer servers, stand-alone personal computers, hard drives,
laptops, and other electronic devices capable of storing ESL You should retain copies of any
hardware no longer in service but used during the Relevant Time Period.

III.    Emails. You have an obligation to preserve all potentially relevant internal and external
emails and communications that were sent or received, including via the Zoomeral platform owned
and controlled by David I Iughes. Email and Zoomeral messages must be preserved in native
electronic format, regardless of whether hard copies of the information exist.

IV.     Internet Web Activity. You have an obligation to preserve all records ofinternet and Web
browser generated files in electronic format, regardless of whether hard copies of the information
exist. This includes Internet and Web browser generated history files, caches, and "cookies" files
stored on backup media or generated by you or an individual employed by you.

V.     Activity Logs. You must preserve all hard copy or electronic logs documenting computer
use and electronic communications by you.

VI.     Supporting Information. You must preserve all supporting information relating to the
requested electronic data and/or media including codebooks, keys, data dictionaries, diagrams,
handbooks, or other supporting documents that rud in reading or interpreting database, media,
email, hardware, software, or activity log information.

VII. Information for Employees. For each employee that has worked for you during the
Relevant Time Period in relation to any loans brought to Genie by McMann, and/or Genie's
relationship with McMann, you should preserve all data that contruns the following information:

     a. basic employee information, including name, date of birth, social security number,
        employee identification number, race, date hired (or rehired), and educational background;
     b. employment performance evaluations or reviews;
     c. for each position held by the employee during the Relevant Time Period, the job
        title/position, salary level, function or description, location, division, department,
        subsidiary, time in position, job status (covered or not covered), and whether the employee
        was full-time, part-time, or temporary;
     d. any disciplinary action or employment contract violations; and
     e. if the individual is a former employee, the date of departure and the reason for leaving.

VIIl.   Data Storage Devices.

     a. If you use online storage and/or direct access storage devices, you must immediately cease
modifying or deleting any electronic data unless a computer forensics expert makes a mirror image
of the electronic file, follows proper preservation protocols for assuring the accuracy of the file
(i.e., chain of custody), and makes the file available in the event of litigation.

   b. You should immediately suspend all activity that might result in destruction or
modification of all of the data stored on any offline media, which includes, but is not limited to,
backup and archival media, DVDs, CD-ROMs, USB devices, external drives, and other removable
media. This includes overwriting, recycling, or erasing all or part of the media. This request
          Case 3:24-bk-00496-BAJ           Doc 53-32      Filed 04/04/24      Page 10 of 91
October 24, 2023
Page 7


includes, but is not limited to, media used to store data from personal computers, laptops, desktop
computers, and servers.

   c. If you replace any electronic data storage devices, you may not dispose of the storage
devices.

    d. You may not modify, delete, or otherwise alter any electronic data, whether by data
compression, defragmentation, or optimization routines, unless a computer forensics expert makes
a mirror image of the electronic file, follows proper preservation protocols for assuring the
accuracy of the file (i.e., chain of custody). The expert must make a mirror image of active files,
restored versions of deleted files, and restored versions of deleted file fragments, hidden files, and
directory listings. This includes, but is not limited to, preserving electronic data (stored on online
or offiine storage devices) that came from the following hardware or software applications:

        I.      fixed and external drives on stand-alone personal computers or laptops;
        2.      network servers and workstations; and
        3.      software application programs and utilities.

IX.      Electronic Data Created After Receipt of This Letter. For any electronic data created after
this letter or for any electronic processing systems used after receipt of this letter, you must take
the proper steps to avoid destroying potentially relevant evidence. This includes following the
above preservation protocols.

        Compliance with your preservation obligations includes forwarding a copy of this letter to
all individuals or organizations that arc responsible for any of the items referred to in this letter. If
this correspondence is in any respect unclear, please call me immediately.

       If Genie or its counsel wish to discuss the matters raised herein, please contact the
undersigned. Again, this letter is without prejudice to, and is not a waiver of, any and all rights,
claims and/or demands McMann has or may have against Genie pursuant to any agreements and/or
applicable law. We look forward to your timely response.




cc: Walter Trock
    Robert S. Strauss, Esq.
    Joey B. Waldman, Esq.
Case 3:24-bk-00496-BAJ   Doc 53-32   Filed 04/04/24   Page 11 of 91




                    EXHIBIT A
Case 3:24-bk-00496-BAJ   Doc 53-32     Filed 04/04/24   Page 12 of 91




        BUSINESS EXPANSION LINE OF CREDIT AGREEMENT



                              among



             MCMANN COMMERCIAL LENDING LLC

                             as Lender



                                and




                  North Haven Lodging Partners LLC
                             as Borrower




                            dated as of

                           April 10, 2023




                                                          Initials:   <J{f S--x>
    Case 3:24-bk-00496-BAJ           Doc 53-32      Filed 04/04/24     Page 13 of 91




               BUSINESS EXPANSION LINE OF CREDIT AGREEMENT

       This Business Expansion Line of Credit Agreement (as the same may from time to time be
amended, restated, or otherwise modified, this "Agreement") is made and entered as of April 10,
2023, between McMann Commercial Lending LLC (the "Lender"), and North Haven Lodging
Partners LLC., a Connecticut Limited Liability Company ("Borrower").

                                         RECITALS

       A.       The Borrower desires to obtain from Lender an asset-backed line of credit loan
(the "LOC") in an aggregate principal amount not to exceed the Maximum Amount, as
hereinafter defined.

       B.     The Borrower desires to obtain the LOC from Lender for Business Expansion for
construction of a 105-room limited-service hotel (as more fully described in Exhibit D
attached hereto the "Project"). Acquired assets will be legally described on Exhibit E
attached hereto (the "Property").

        C.      The Borrower has agreed to pay a mlillIIlum contribution of the Project LOC
Amount to Lender, by establishing the Interest Reserve (as hereinafter defined) and the ICA (as
hereinafter defined), collectively,(the "Interest Reserve Account"), within seven (7) calendar
days after the fully executed LOC Documents (as hereinafter defined) are received by Lender.

       D.     The Borrower has agreed to pay, pursuant to Section 3.6 hereof, the aggregate
amount of One Million Eight Hundred Thousand Dollars and No Cents Dollars ($1,800,000),
(the "ICA Payment"), by bank wire to Lender. An account on the books and records of the
Lender shall be created to serve as an Interest Credit Account (the "ICA"). A credit equal to
the ICA Payment shall be noted in the ICA for purposes of satisfying interest payments under the
LOC and upon the terms and conditions set forth herein.

        E.     Lender has agreed to make Advances (as hereinafter defined) under the LOC to
Borrower in an aggregate amount, according to Exhibit B, an amount not to exceed the
Maximum Amount for the purposes outlined in these recitals and the Promissory Note attached
hereto as Exhibit A and upon the terms and subject to the conditions hereinafter set forth.

              NOW THEREFORE, for valuable consideration, the receipt and sufficiency of
which is hereby acknowledged, Borrower and Lender agree as follows:


                                         ARTICLE 1
                                        DEFINITIONS

       Section 1.1. Certain Defined Terms. Except as otherwise provided herein, accounting
terms not specifically defined shall be construed, and all accounting procedures shall be
performed per generally accepted accounting principles consistently applied. As used in this



                                                                          Initials:   P'f   3f
    Case 3:24-bk-00496-BAJ            Doc 53-32      Filed 04/04/24       Page 14 of 91




agreement, the following terms have the following meanings, which apply to both the singular
and plural forms:

        "Advance(s)" means any loan advance made by the Lender per the terms and conditions
of this Agreement.

       "Applicable Interest Rate" means the fixed interest rate specified in the Promissory Note.

       "Borrower" means that term as defined in the first paragraph of this Agreement.

        "Business Expansion" means any transaction or use, including for working capital, that
relates to the expansion of the business of the Borrower, or series of related transactions for
the purpose of or resulting, directly or indirectly, in (a) the expansion by the Borrower or any of
its subsidiaries of all or substantially any and all assets, or of any business or division, (b)
the expansion by the Borrower or any of its subsidiaries of capital stock, partnership
interests, membership interests or equity, or otherwise causing any business to become a
subsidiary of the Borrower or (c) a merger or consolidation or any other combination by the
Borrower or any of its subsidiaries with another Person or business (other than a Person that is a
subsidiary) provided that the Borrower (or a Person that succeeds to the Borrower in
connection with such transaction or series of related transactions) or a subsidiary of the
Borrower ( or a Person that becomes a subsidiary of the Borrower as a result of such transaction)
is the surviving entity; provided that any Person that is a subsidiary at the time of execution
of the definitive agreement related to any such transaction or series of related transactions (or,
in the case of a tender offer or similar transaction, at the time of filing of the definitive offer
document) shall constitute a subsidiary for purposes of this definition even if in connection with
such transaction or series of related transactions, such Person becomes a direct or indirect
holding company of the Borrower.

       "Business Plan" means the document(s) outlining the accurate and up-to-date business
operations of the End-Borrower, as previously provided by End-Borrower, substantially in the
form outlined in EXHIBIT D, and subject to review by Lender's Capital Partners as described in
Section 8.1 of this Agreement.

      "Closing Date" means the last date of signed execution of this Agreement by Lender and
Borrower.

        "Collateral" means all property securing repayment of the obligations of Borrower under
this Agreement, as such collateral is evidenced by a Security Document, including all additions
thereto, replacements, and proceeds, thereof.

       "Event(s) of Default" means any event or condition that shall constitute an event of default
as described in Article 13 of this Agreement.
       "ICA" means the definition given in Recital D of this Agreement.

       "ICA Payment" means the amount remitted pursuant to Recital D of this Agreement.




                                                                              Initials:   }I? 3f
     Case 3:24-bk-00496-BAJ             Doc 53-32      Filed 04/04/24       Page 15 of 91




        "Interest Reserve" means credit on the books and records of the Lender as an interest
reserve on Advances under the LOC. This credit is provided on behalf of the Borrower when
there is a contribution from a Borrower JV Partner, received by the Lender. When there is no
such contribution, the Interest Reserve exists with no credit available. This credit is
simultaneously created when the ICA is established.

        "Interest Reserve Account" means the definition given ii Recital C of this

        Agreement.

        "Lender" means that term as defined in the first paragraph of this Agreement.

       "Lender's Capital Partners" means one or more lender-clients of the Lender

        providing funding towards the LOC.

        "LOC" means that term as defined in Recital A of this Agreement.

       "LOC Disbursement Account" means that term as defined in Section 3 .12 hereof.

        "LOC Document(s)" means, collectively, this Agreement, the Promissory Note, and
each Security Document, as any of the foregoing may from time to time be amended, restated,
or otherwise modified or replaced, and any other document delivered pursuant thereto.

       "Maximum Amount" means Eighteen Million Nine Hundred Thousand Dollars and No
Cents ($18,900,000). The Maximum Amount is the Project LOC Amount plus all fees, costs, and
expenses which are the Borrower's responsibility to pay.

        "Organizational Documents" means, concerning any Person (other than an individual),
such Person's Articles (Certificate) of Incorporation or equivalent formation documents, and
regulations (Bylaws), operating agreement, N operating agreement, partnership agreement or
equivalent governing documents, and any amendments to any of the foregoing.

        "Other Taxes" means all present or future stamp or documentary taxes or any other
excise, ad valorem or property taxes, goods and services taxes, harmonized sales taxes and other
sales taxes, use taxes, value added taxes, transfer taxes, charges or similar taxes or levies arising
from any payment made hereunder or under any other LOC Document, or from the execution,
delivery or enforcement of, or otherwise concerning, this Agreement or any other LOC
Document.

         "Person" means any individual, sole proprietorship, partnership, joint venture,
unincorporated organization, corporation, limited liability company, unlimited liability company,
institution, trust, estate, governmental authority, or any other entity.

       "Project" means that term as defined in Recital B of this Agreement.



                                                                               Initials:   i/ j f
     Case 3:24-bk-00496-BAJ            Doc 53-32       Filed 04/04/24       Page 16 of 91




        "Project Costs" means the amount of the LOC proceeds/all Advances not to exceed the
Maximum Amount, to be utilized by the Borrower for implementation or execution of the Project
(including but not limited to the payment of taxes, insurance, and all items reasonably necessary
for the successful execution of the Project), as more specifically outlined in the Project budget set
forth on Exhibit C attached hereto.

       "Project    LOC     Amount"      means    Eighteen Million Dollars and No Cents
($18,000,000).

       "Property" means that term as defined in Recital B of this Agreement.

      "Promissory Note" means the Promissory Note, in the form attached hereto as
Exhibit A.

       "Security Agreement" means that certain Security Agreement, dated as of the Closing
Date, executed by the Borrower in favor of Lender, in the form attached hereto as Exhibit E.

        "Security Document" means each security agreement (including, without limitation, the
Security Agreement) each pledge agreement, each intellectual property security agreement, each
control agreement, each mortgage, each U.C.C. Financing Statement or similar filing filed in
connection herewith or perfecting any interest created in any of the foregoing documents, and any
other document pursuant to which any lien is granted by any Person to Lender, as security for the
obligations under this Agreement or the Promissory Note, or any part thereof, and each other
agreement executed or provided to the Lender in connection with any of the foregoing, as any of
the foregoing may from time to time be amended, restated or otherwise modified or replaced.

         "Scheduled Maturity Date" means the 10th anniversary of the Closing Date, as
  the same be extended pursuant to Section 3.2 hereof.

           "Subsidiary" means any entity (other than the Borrower) in an unbroken chain of
  entities beginning with the Borrower if each of the entities owns stock, units, or other interests
  that represent fifty percent (50%) or more of the total combined voting power of all classes of
  stock in one of the other corporations in such chain

          "Taxes" means all present or future taxes of any kind, including, but not limited to,
  levies, imposts, duties, assessments, surtaxes, charges, fees, deductions or withholdings
  (including backup withholding), or other charges now or hereafter imposed, levied, collected,
  withheld or assessed by any governmental authority (together with any interest, penalties, fines,
  additions to taxes or similar liabilities with respect thereto); provided that "Taxes" shall not
  include, concerning those imposed on Lender, income, capital gain, sales, use, franchise,
  excise, taxes or withholding on account of foreign investment in the United States or other taxes
  on Lender or the revenues derived by Lender concerning the LOC.

          "Term Sheet" means that document(s) dated as of 3/14/2023 between Borrower and
  Lender, setting forth a general summary of the terms of agreement memorialized more fully
  herein in final form.

        "Tranche Schedule" means the schedule of Advances to Borrowers from the Lender, based

                                                                                Initials:   :}d ,j f
     Case 3:24-bk-00496-BAJ             Doc 53-32       Filed 04/04/24        Page 17 of 91




upon the dates of the disbursements attached hereto as Exhibit B; provided that Borrower may
request in writing to Lender adjustments to the Tranche Schedule ~so long as the aggregate amount
of all Advances thereunder does not exceed the Maximum Amount), with any such adjustments
subject to the approval of Lender in its sole discretion.


     "UCC" means the Uniform Commercial Code as in effect from time to time in the State of Illinois or, when the
laws of any other state govern the method or manner of the perfection or enforcement of any security interest in any
of the Collateral, the Uniform Commercial Code as in effect from time to time in such state.

                                             ARTICLE2
                                            THE CREDIT

      Section 2.1. Line of Credit Amount. Subject to the terms and conditions of this
Agreement, Lender agrees to make Advances to the Borrower under the LOC in an aggregate
amount not to exceed the Maximum Amount. The obligatidn of Borrower to repay such
Advances, with interest thereon, shall be evidenced by the Promissory Note.

       Section 2.2. Line of Credit Documents. The obligation of the Borrower to repay the
Advances under the LOC shall be evidenced by the Promissory Note, this Agreement, and each
Security Document. The LOC shall be secured by the LOC Documents, all of which shall be in
form and substance satisfactory to the Lender and its counsel.


                                             ARTICLE3
                              TERM, INTEREST, AND PAYMENLfS

         Section 3.1. Initial Term. The initial term of the LOC is Ten (10) years and shall
  commence on the Closing Date and expire on the Scheduled Maturity Date. The aggregate
  outstanding amount of all Advances and any accrued but unpaid interest and fees shall be
  payable in full thereon and all other amounts due and owing hereunder and under the
  Promissory Note shall be repaid by Borrower on the Scheduled Maturity Date.

         Section 3.2. Extended Term. At the end of the initial term outlined in Section 3 .1 hereof,
 and at the end of each Extended Term (as defined below, if any), provided the LOC is not then and
 has not been in default beyond any applicable notice and cure period, and Borrower has been in
 full compliance with the terms and conditions of the LOC Documents, and Lender has not provided
 Borrower notice that an event then exists which, over time, the giving of notice and the expiration
 of any cure period would become an Event of Default, and further provided that all conditions to
 extension set forth below are fully satisfied, Borrower may elect to extend the term of the LOC
 and this Agreement for an additional twenty-four (24) month period, up to a total of one (1) such
 additional consecutive periods (separately, "Extended Term"; collectively, the "Extended
 Terms"). In connection with Lender's granting of each Extended Term, (a) Borrower shall
 execute all documents which Lender, in its reasonable discretion, deems necessary to implement
 such extension, and (b) Borrower will pay all reasonable costs and expenses incurred by Lender
 in connection with such extension, including but not limited to Lender's attorney's fees, as a one
 (1)-time fee equal to one percent (1 %) of the Project LOC Amount.


                                                                                  Initials   'l)( ,j{
     Case 3:24-bk-00496-BAJ            Doc 53-32       Filed 04/04/24       Page 18 of 91




       Section 3.3. Applicable Interest Period. The interest period concerning each Advance
under the LOC shall be the period commencing on the date such Advance was made to Borrower
by Lender, which shall commence the date such funds were withdrawn by Borrower from the LOC
Disbursement Account, and continuing until such Advance is repaid in full.

        Section 3.4. Interest Rate Calculation. Interest shall be calculated based on a 365-day
year and the actual number of days elapsed in a 365-day year and at the rate outlined in the
Promissory Note (the "Applicable Interest Rate"). The interest rate payable on Advances shall be
subject, however, to the limitation that such interest rate shall never exceed the highest rate which
the Borrower may contract to pay under applicable law (the "Maximum Interest Rate"). If Lender
shall receive interest in an amount that exceeds the Maximum Interest Rate, the excess interest
shall be applied to the unpaid principal balance outstanding under the Promissory Note or, if it
exceeds such unpaid principal, refunded to the Borrower.

        Section 3.5. Interest Pavments. Interest on the outstanding rincipal balance of Advances
under the LOC shall be paid from the Interest Reserve Account at fhe rate and at the times outlined
in the Promissory Note. Such interest payments shall be deducted lby Lender (a) first from the ICA
until such funds are depleted, and (b) second, from the Interest Reserve. Interest shall be
calculated on Advances made from the date of each Advance.

        Section 3.6. Reserves. Following the signing of this Agreement, the Borrower shall
remit One Million Eight Hundred Thousand Dollars and No Cents ($1 ,800,000) as the ICA
Payment per the terms and the time outlined in Recital D of this Agreement. Upon the funding of
the first Advance under the Tranche Schedule, the ICA shall remain part of the Interest Reserve
Account and subject to the provisions of this Agreement, and not refundable to the
Borrower unless otherwise specifically provided for in this Agreement. All credits to the Interest
Reserve Account shall be used, absent the occurrence of an Event of Default, for purposes of
payment on interest payable on the Advances as and when such interest payments are due and
payable.

        Section 3.7. Prepayment. The borrower may, without penalty, prepay all or any portion
of the outstanding principal balance of the LOC.

       Section 3.8. Interest Credit Account. If at any time, no balance remains in the Interest
Reserve Account (having been applied as provided in this Agreement), upon notice from Lender
to Borrower, which notice shall be delivered to and received by Borrower no less than thirty (30)
days before the date of the next interest payment date, Borrower shall remit into the ICA the
funds necessary to make such interest paid before the date such interest payment is due and
payableSection 3.9. Fees.
              (a) LOC Fee. At Closing and out of the initial Advance, the Borrower shall pay
                  Lender a nonrefundable fee for the LOC in an aggregate amount equal to Five
                  percent (5%) multiplied by the Project LOC Amount, which is equal to Nine
                  Hundred Thousand Dollars and No Cents ($900,000) (the "LOC Fee"). The
                    LOC Fee has been fully earned by Lender and is due and payable in full to Lender
                    commensurate with the funding of, and from the proceeds of, the first Advance
                    under the Tranche Schedule, without condition.




                                                                                Initials:   JL   <   ~\
    Case 3:24-bk-00496-BAJ            Doc 53-32        Filed 04/04/24       Page 19 of 91




                                                                   I
              (b) Promote Fee. At Closing and out of the initial Advance, the Borrower shall pay
                  Lender a nonrefundable success fee in an aggi,:egate amount equal to One
                  percent (1 %) multiplied by the Project LOC Amount, which is One
                  Hundred Eighty Thousand Dollars and No Cents (f 180,000) (the "Promote Fee").
                  The Promote Fee has been fully earned by Lender and is due and payable in full to
                  Lender commensurate with the funding of, and from the proceeds of, the first
                  Advance under the Tranche Schedule, without condition.

               (c) ICA Advance Fee. To the extent the Borrower used Lender to provide the
                   ICA Payment, at Closing and out of the initial Advance, the Borrower shall
                   reimburse Lender in an amount equal to the ICA Payment advanced by
                   Lender plus a nonrefundable fee in an aggrega e amount equal to
                   Zero percent (0%) of the ICA Payment, which is No Dollars and No Cents
                   Dollars($-) (the "ICA Advance Fee"). The ICA Advance Fee has been fully
                   earned by Lender and is due and payable in full to Lender commensurate with
                   the funding of, and from the proceeds of, the frrst Advance under the Tranche
                   Schedule, without condition. The borrower will take the Project LOC Amount
                   in full on the closing of the first tranche.


        Section 3.10. Line of Credit Extension Fees. Concurrently with the commencement of
each Extended Term, if any, Borrower shall pay to the Lenderr on the first date of each such
Extended Term, a nonrefundable LOC extension fee for each extension in an aggregate amount
equal to one percent (1 %) multiplied by the Maximum Amount.

        Section 3.11. Legal and Incidental Fees, Charges, and Costs. Borrower shall pay at
Closing, all reasonable out of pocket and up to Twelve Thousand, Five Hundred U.S. Dollars
($12,500) for legal fees, recording and filing fees, documentary stamps, taxes, service charges,
credit reports, UCC search costs, title company fees and costs, third party paymaster fees and
administrative expenses, attorneys' fees and expenses, and all ot?er charges or expenses incurred
by Lender including administrative fees and expenses (a) in connection with the LOC, (b) in
connection with efforts to collect any amount due under the LOC, or (c) in any action or proceeding
to enforce the provisions of any of the LOC Documents, including those incurred in post-judgment
collection efforts and in any bankruptcy proceeding (including any action for relief from the
automatic stay of any bankruptcy proceeding) or judicial or non-judicial proceeding; provided that
Lender will provide Borrower ten (10) days' advance notice of any legal fees pursuant to this
Section 3.11 that will exceed Twelve Thousand, Five Hundred U.S. Dollars ($12,500). Lender
shall not be required to pay any premium or other charge or any brokerage fee or commission or
similar compensation in connection with the LOC or with satisfying the conditions of any
commitment for standby or permanent financing. Borrower hereby agrees to indemnify and hold
Lender harmless against and from all claims for such fees, commissions,
                                                                  I
                                                                              and compensation in
connection with the LOC; provided that Lender shall not have the right to be indemnified under
this Section 3 .11 for its own gross negligence or willful misconduct.


       Section 3.12. Line of Credit Disbursement Account. The proceeds of each Advance
under the LOC shall be advanced into the LOC Disbursement Account with Lender to be used by
Borrower for payment of the Borrower's Project Costs, solely fol the purposes and in the manner

                                                                                Initials:   ~         Sf
     Case 3:24-bk-00496-BAJ           Doc 53-32      Filed 04/04/24      Page 20 of 91




outlined in this Agreement. The LOC Disbursement Account wilt be held jointly in the name of
the Borrower and Lender. Borrower hereby irrevocably assigns to Lender as additional security
for repayment of the LOC, all of Borrower's rights and interest in and to the LOC Disbursement
Account, which assignment will be effective only upon the occurrence and continuation of an
Event of Default, subject to an applicable Default Cure Period (as hereinafter defined).


       Section 3.13. Taxes.
        (a)      All payments made by the Borrower under any LOC Document shall be made free
and clear of, and without deduction or withholding for or on account of, any Taxes or Other Taxes.
If any Taxes or Other Taxes are required to be deducted or withheld from any amounts payable to
Lender hereunder, the amounts so payable to Lender shall be increased to the extent necessary to
yield to the Lender (after deducting, withholding, and payment of all Taxes and Other Taxes,
including such deductions, withholdings and payments of Taxes and Other Taxes applicable to
other sums payable under this Section 3.13) interest or any such other amounts payable hereunder
at the rates or in the amounts specified in the LOC Documents.

        (b)    Whenever any Taxes or Other Taxes are requiredi to be withheld and paid by the
Borrower, the Borrower shall timely withhold and pay such taxes to the relevant governmental
authorities. As promptly as possible thereafter, the Borrower shall send to the Lender a certified
copy of an original official receipt received by the Borrower showing payment thereof or other
evidence of payment reasonably acceptable to the Lender. If the Borrower shall fail to pay any
Taxes or OtherTaxes when due to the appropriate governmental !authority or fails to remit to the
Lender the required receipts or other required documentary I evidence, the Borrower shall
indemnify Lender on demand for any incremental Taxes or Other Taxes paid or payable by the
Lender as a result of any such failure .

     (c)    The agreements in this Section 3.13 shall survive the termination of the LOC
Documents and the payment of the Advances and all other amounts payable under the LOC
Documents.




                                   ARTICLE4
                   CONDITIONS FOR CLOSING AND DISBURSEMENT

        The obligation of Lender to provide the LOC and make any Advance hereunder will be
 subject to the satisfaction, at Borrower's cost and expense, of each of the following conditions,
 unless waived by Lender in writing:


        Section 4.1.   Delivery of the LOC Documents.

               (a)    As of the Closing Date, Borrower shall have executed and delivered to
 Lender in a manner satisfactory to Lender all of the LOC Documents.

                                                                             Initials:   ¢    Sf
     Case 3:24-bk-00496-BAJ            Doc 53-32       Filed 04/04/24       Page 21 of 91




              (b)    The Borrower shall have delivered to the Lender an executed Control
Agreement (as defined in the Security Agreement), for each Rayment Account and Security
Account (both as defined under UCC § 9-102 and as further defined in the Security Agreement)
maintained by the Borrower.

                (c)    Contemporaneously with Borrower's acquisition of the Property, Borrower
shall have delivered an executed and notarized mortgage or deed of trust in form and substance
required by Lender granting Lender a priority lien and security inte est in and to the Property (the
"Security Instrument"), and such Security Instrument shall be promptly recorded in the real
property records of the county in which such real property is looated. If required by Lender, (i)
the closing of such Advance and recording of the Security Instrument shall be completed through
the services of a title company chosen by Lender, and (ii) such title company shall issue, at
Borrower's expense and for the benefit of Lender, a loan policy of title insurance concerning the
Property. For the avoidance of doubt, this Section 4.l(c) shall not operate to preclude any
Advances to the Borrower to fund pre-acquisition costs.

        Section 4.2. Authority. On the Closing Date, the Borrower shall have delivered to the
Lender an officer's certificate (or comparable document) certifying the names of the officers,
members, or managers of the Borrower authorized to sign the LOC Documents, together with the
true signatures of such Persons and certified copies of (a) the resolutions of the board of directors
(or comparable document) of the Borrower evidencing approval of the execution, delivery, and
performance of the LOC Documents and the consummation of the transactions contemplated
thereby, (b) the Organizational Documents of the Borrower (including, if applicable, copies of the
partnership and corporate documentation of each of the general partners or members of Borrower
and copies of all equity participation agreements), and (c) a conteryporaneous certificate of good
standing concerning the Borrower.

         Section 4.3. Liens. The Project is free from any prior liens. All taxes and assessments
affecting the Project or any part thereof due and payable (including without limitation any taxes)
have been paid. The Project is not impaired by any existing undisc\osed covenants, conditions, or
restrictions. At the request of the Lender, the Borrower shall (i) deliver to the Lender the results
of UCC lien searches, satisfactory to the Lender, (ii) the results of federal and state tax lien and
judicial lien searches and pending litigation and bankruptcy searches, in each case satisfactory to
the Lender, and (iii) UCC or other lien termination statements reflecting termination of all liens
previously filed by any Person and not expressly permitted pursuant to the LOC Documents.
Borrower agrees that no lien, other than as required by this Agreement and the LOC Documents,
shall be placed on the Property, the Project, or any Collateral without the express written
permission of Lender.

        Section 4.4. Litigation. As of the Closing Date and as of the date of each Advance, there
shall be no material Litigation pending against Borrower which in Lender's reasonable business
judgment materially affects Borrower's ability to perform all of he terms and provisions of this
Agreement.

      Section 4.5. Events of Default. As of the Closing Date and as of the date of each Advance,
no Event of Default shall have occurred and be continuing, and the Borrower shall otherwise be in

                                                                               Initials: __,_?{--f---_____,_,
                                                                                                           <5d-1e~
     Case 3:24-bk-00496-BAJ             Doc 53-32        Filed 04/04/24        Page 22 of 91




full compliance with the terms and provisions of this Agreement.

       Section 4.6. Purchase and Agreement Contracts. Lender shall receive copies of all
material contracts entered in connection with the Property and the Project, and all other contracts
material to the Borrower' s operations and/or properties.

       Section 4.7. Compliance with Certain Requirements. Lender shall receive evidence
reasonably satisfactory to Lender that the business is in material compliance with all applicable
laws, regulations, ordinances, conditions, reservations, and restrictions imposed on the
business(es) under local, state, federal, and international laws, procedures, statutes, regulations,
and ordinances, conditions applicable to the Project.

        Section 4.8.   Evidence of Insurance.
        (a)     For the period beginning with the execution of this Agreement and continuing
throughout the term of the LOC, Borrower shall take out, pay for, and will keep in full force,
property and liability insurance on the Borrower and the Project against such risks, in such
amounts, and with such lenders' loss payable and additional insured clauses and endorsements as
shall be satisfactory to Lender and otherwise customarily carried by businesses of similar size and
character that of the business of the Borrower, and Borrower shall furnish Lender with the
satisfactory evidence of such underlying Borrower insurance and promptly notify Lender of any
changes to such insurance. Borrower shall include Lender as an additional insured under all
insurance policies applicable to the Project and the Property.
        (b)     Within five (5) business of receipt of End-Borrower insurance pursuant to Section 4.8(a),
Lender shall acknowledge receipt and communicate to Borrower the approval and sufficiency of such End-
Borrowers certificate of insurance.

       Section 4.9. Financial Statements. The lender shall have received all financial reports
required by Section 8.6 hereof.

       Section 4.10. Business Pro Forma. The lender shall receive a pro forma income and
expense statement annually in connection with the Project.

       Section 4.11. Management Plan. Lender shall receive a detailed management plan,
concurrently with delivery of the annual financials required pursuant to Section 8.6 hereof, which
will consist of the business operation, and budget for all expenses of Borrower's business.

       Section 4.12. Material Change. Throughout the term of the LOC, Borrower shall advise
Lender of any material change in conditions affecting the Borrower' s ability to perform under this
Agreement or the Project that would materially alter the documentation and information submitted
by Borrower to satisfy the above conditions precedent and will submit amended documentation
and information reflecting these changed conditions for the reasonable approval of Lender.

        Section 4.13. Non-Subordination. Under this Agreement, the payment and performance
obligations of the Borrower and/or its subsidiaries shall never put the Lender in a position
subordinate to any indebtedness owing to any other creditor o~ the Borrower and/or any such
Subsidiary (excepting interim obligations for labor and materials incurred in the normal course of
development and construction of the Project, which obligations will be timely satisfied in the

                                                                                  Initials:   ___,9r{
                                                                                                   ,_,,___S
                                                                                                          ~ f_
     Case 3:24-bk-00496-BAJ            Doc 53-32        Filed 04/04/24       Page 23 of 91




normal and reasonable management of the Project).
       Section 4.14. Securitization. The lender may in its sole discretion securitize the LOC
funding through an insurer of its choosing. Should Lender decide to securitize this transaction,
Borrower agrees to cooperate with any preliminary determination or reasonable due diligence
required by the insurer.

                                      ARTICLES
                           USE OF LINE OF CREDIT PROCEEDS

       Section 5.1.    Project Costs: Business Expansion Costs.

       (a)     Proceeds of Advances under the LOC shall be utilized by Borrower solely to
finance the Project Costs, as more fully described in the attached Exhibit C, in connection with
Borrower Business Expansion as further detailed in the Business Plan, updated yearly by
Borrower.

        (b)    The proceeds of the LOC shall be used exclusively for the purposes outlined in this
Agreement. Borrower warrants and represents that the use of the LOC proceeds as set forth herein
is for business and commercial purposes only and that the LOC proceeds will not be used for
personal, family, or household purposes. The borrower will not, directly or indirectly, use the
proceeds of the Advances under the LOC, or lend, contribute, or otherwise make available such
proceeds to any joint venture partner or other Person, (i) to fund any activities or business of or
with any Person, or in any country or territory, that, at the time of such funding, is, or whose
government is, the subject of Sanctions, or (ii) in any other manner that would result in a violation
of Sanctions by any Person.

                                           ARTICLE 6
                                          INSPECTIONS

        Section 6.1. Project Inspection. Lender, through its officers, agents, contractors, affiliates,
or employees, shall have the right, at all reasonable times during business hours upon fifteen (15)
days prior written notice to Borrower to enter on-site offices of the Project site and to inspect the
operations in connection with the Project; provided that the foregoing inspections shall be limited
to twice per year absent the occurrence of an Event of Default.

       Section 6.2. Books and Records. Lender shall have the ~ight, at all reasonable times, to
examine the books, records, accounting data, and other documents of Borrower about the Project,
the Property, and the Borrower and to make extracts therefrom or copies thereof.

        Section 6.3. Force Majeure Event Inspection Right. In the event of a Force Majeure
Event (as hereinafter defined) which interrupts, stops, or otherwise impedes the Borrower's ability
to continue with the Project, upon notice by Borrower to Lender in writing of such Force Majeure
Event occurrence, Lender shall have the right to periodically inspect the Project, surrounding
conditions, and interview employees, contractors, vendors involved in the development of the
Project until Lender is satisfied with Borrower's ability to resume operations to develop the
Project. Following a Force Majeure Event, Lender has the right to modify the terms upon which
future Advances may be made as a result of a change in circumstances as detennined by the
Lender

                                                                                 Initials:   V/ ~Sf
     Case 3:24-bk-00496-BAJ             Doc 53-32       Filed 04/04/24       Page 24 of 91




in Lender's sole discretion, that the Borrower can perform or continue to perform the Project
scope of work. Borrower shall execute any additional documents, amendments, or other
agreement of terms required by Lender, before Lender's obligation to continue to make Advances
shall resume.

                                   ARTICLE7
                                ADVANCE OF FUNDS

        Section 7.1. Timing and Advances to Payee. Advances will be made as outlined in the
Tranche Schedule and shall be transferred into the LOC Disbursement Account. So long as all
conditions precedent to an Advance has been met pursuant to the terms of this Agreement, Lender
agrees that the first Advance will be funded no later than seventy-five (75) calendar days following
the opening of the ICA by the Lender with its wholesale lender. Lender shall deliver the written
notice to Borrower of the commencement of such seventy-five (75)-day period. Lender shall
deliver the written notice to Borrower via the ZOOMERAL messaging system of the
commencement of such seventy-five (75)-day period.

      Section 7.2. Conditions Precedent to Advance Funds. Lender's obligation to make
Advances hereunder shall be conditioned upon fulfillment ofthe terms outlined in Article 4 hereof.

        Section 7.3. Unpaid Lien Claims. If Lender receives notice of nonpayment from a
potential lien claimant or a lien is filed that is not insured over, or if contested then offset with a
segregated loss reserve account, or until the potential lien claimant acknowledges payment or
otherwise rescinds its notice in such form and with such other acknowledgments as Lender may
require, per applicable law, Lender, at its option may (a) refuse to make any further Advances to
Borrower, or (b) withhold one hundred percent ( 100%) of the l~en amount claimed from future
Advances.

        Section 7.4. Mandatorv Advances. Notwithstanding ant other term or provision of this
Agreement, it is understood that interest on Advances under the LOC shall be paid from the ICA
and that such method of interest payment is mandatory and not optional. If Lender agrees that
Borrower may pay the interest directly, Lender shall have the right to advance the LOC proceeds
to pay said interest if not otherwise paid when due. If the LOC funds allocated for these purposes
are depleted, Borrower is not relieved from paying directly when ldue these or any other expenses
or amounts required under the terms of this Agreement or any oth'.er LOC Document.

                                    ARTICLES
                        BORROWER'S AFFIRMATIVE COVENANTS

         As a material inducement to Lender to make the LOC to Borrower, and until payment in
full of the Advances and other amounts outstanding under the LOC and performance of all other
obligations of Borrower under the LOC Documents, Borrower agrees to do all of the following
unless Lender shall otherwise consent in writing:

     Section 8.1. Project. (a) Complete, on an ongoing basis, all due diligence required or necessary in
connection with the Project, and (b) be the entity that is the counterparty to each material primary contract
and agreement related to (i) the Project and (ii) the development, construction, operation, and management
of the Project.

                                                                                 lnifolsc   if ,J
     Case 3:24-bk-00496-BAJ             Doc 53-32        Filed 04/04/24       Page 25 of 91




     Section 8.2. Compliance with Laws. Comply with and provide to Lender upon Lender's reasonable request
evidence of material compliance with, all applicable state, local federal, and international laws, procedures, acts,
ordinances, and regulations applicable to the Project.

       Section 8.3. Compliance with Documents. Perform and comply with all the terms and
conditions of this Agreement and the other LOC Documents.

        Section 8.4. Books and Records. Keep and maintain complete and accurate books of
account, per generally accepted accounting principles consistently, applied, reflecting all financial
transactions of the Borrower and the Project.

        Section 8.5. Payment of Obligations. Pay and discharge before the same shall become
delinquent all material obligations, claims, indebtedness, taxes, and other obligations (except only
those so long as and to the extent that the same shall be contested ~ good faith by appropriate and
timely proceedings and for which adequate provisions have been established per generally
accepted accounting principles).

        Section 8.6. Financial Reports. Deliver to Lender, concerning Borrower as soon as
available and in any event (a) within sixty (60) days after the end of each calendar quarter during
the term of the LOC, financial statements of Borrower for such quarter and (b) within ninety (90)
days after the end of each fiscal year of the Borrower, annual financial statements of the
Borrower, in each case of the foregoing, certified as true and correct (which reports shall be
prepared per generally accepted accounting principles consistently applied) and operating
statements in a form reasonably satisfactory to Lender. Borrower shall also deliver to Lender,
promptly upon request therefor, such other financial information of the Borrower (and its
subsidiaries, if any) as may reasonably be requested by Lender. :]he borrower must also complete
their ZOOMERAL business profile and keep the business profile up to date throughout the term
of this agreement.

        Section 8.7. Notification to Lender. Promptly after learning thereof, notify Lender of:
(a) the details of any material action, proceeding, investigation, or claim against or affecting the
Borrower, the Property, or the Project instituted before any court, arbitrator, or governmental
                                                                   1
authority or to the Borrower's knowledge threatened in writing to be instituted; (b) any material
dispute between Borrower and any governmental authority involving or related to the Property or
the Project; (c) any labor controversy which has resulted in o~, to the Borrower's knowledge,
threatens to result in a strike or disruption which would reasonably be expected to have a material
adverse effect on the business of the Borrower of the Project; ( d) the occurrence of any Event of
Default; and (e) any written agreement to purchase any part of the Borrower or the Project or any
application for any refinancing of the LOC.




         Section 8.8. Partnership/Corporate Existence. Preserve and maintain its existence,
rights, franchises, and privileges in the jurisdiction of its formation.

                                                                                  Initials:   yd?   <,s '{
     Case 3:24-bk-00496-BAJ              Doc 53-32        Filed 04/04/24        Page 26 of 91




                                         ARTICLE9
                               BORROWER'S NEGATIVE COVENANTS
        Until payment in full of the Advances under the LOC and the performance of all other
obligations of Borrower under the LOC, and in addition to all other covenants and agreement of
Borrower contained herein or in any other LOC Documents, Bofliower agrees that unless Lender
shall otherwise consent in writing Borrower shall not:

        Section 9.1. Liquidation, Merger, and Sale of Assets. Liquidate, merge, or consolidate
with any other Person or otherwise transfer to an unrelated Perso9- fifteen percent (15%) or more
of the equity securities of Borrower, or sell, lease or transfer or otherwise dispose of any assets to
any Person other than in the ordinary course of business. Notwithstanding, any initial public
offering or acquisition by another company will require the Lender's approval or full payment of
the outstanding loan balance.

        Section 9.2. Liens. Create or incur any mortgage, security interest, lien, or other
encumbrance of any kind upon the assets of the Borrower or constituting the Project or any portion
thereof other than (a) any lien securing indebtedness owing to Lender, (b) liens for taxes not yet
due or that are being actively contested in good faith by appropriate proceedings and for which
adequate reserves shall have been established in accordance with generally accepted accounting
principles, (c) other statutory liens, including, without limitatiop, statutory liens of landlords,
carriers, warehousers, utilities, mechanics, repairmen, workers and material-men, incidental to the
ownership and/or development of the Project that (i) were not incurred in connection with the
incurring of indebtedness or the obtaining of advances or credit, and (ii) do not in the aggregate
materially detract from the value of the Borrower's property or assets or the Project, (d) easements
or other minor defects or irregularities in title of the Property not interfering in any material respect
with the use of such property in the development of the Project, and (e) liens existing on the Closing
Date and previously disclosed to and approved by Lender (but only to the extent that the amount
of debt secured thereby, and the amount and description of property subject to such liens,shall not
be increased).

        Section 9.3. Indebtedness. Create, incur, or have outstanding any indebtedness of any kind, other
        than (a) indebtedness owing to the Lender under this Agreement and the other LOC Documents, and
        (b) indebtedness of the Borrower existing as of the Closing Date as disclosed to and approved by
        the Lender (and any extension, renewal, or refinancing thereof but only to the extent that the
        principal amount thereof does not increase after the Closing Date).

        Section 9.4. Investments, Loans, and Guarantees. (a) Create, acquire, or hold any
        subsidiary, (b) make or hold any investment in any stocks, bonds, or securities of any kind
        (c) be or become a party to any joint venture or other partnership, (d) make or keep
        outstanding any advance or loan to any Person, or (e) be or become a guarantor of any kind.


        Section 9.5. Acquisitions. Enter into any transaction or series ofrelated transactions for or
resulting, directly or indirectly, in (a) the acquisition of all or substantially all of the assets of any
Person, or any business or division of any Person, (b) the acquisition of any of the outstanding
capital stock (or other equity interest) of any Person, or (c) the acquisition of another


                                                                                   Initials:   qL    <se
     Case 3:24-bk-00496-BAJ            Doc 53-32       Filed 04/04/24      Page 27 of 91




Person by a merger, amalgamation, or consolidation or any other combination with such Person,
unless specifically stated and approved before execution of this Agreement.

       Section 9.6. Organizational Documents. (a) Amend its Organizational Documents in any
manner adverse to Lender, or (b) amend its Organizational Documents to change its name or state,
province or other jurisdiction of organization, or its form of organization.



       Section 9.7. Project and Project Documents. Willfully or voluntarily abandon the Project or its
       activities to develop, construct, operate, or maintain the Project. If the same would (i) be a major
       decision under the Organizational Documents of Borrower or (ii) have a material adverse effect on
       the Lender and is not necessary or desirable for continued clevelopment of the Project.

               (a) terminate or cancel or consent to or accept an cancellation or termination of;
amend, modify or supplement any provision in any material respect; or grant consent under or
waive any material default under, or material breach of, or material provision of or the performance
of a material obligation by any other Person under, any contracts or agreements (A) related to the
Property, (B) between the Borrower and contractors for the Project, or (C) otherwise related to the
development, construction, operation, and maintenance of the Project, in each case that would
have an adverse effect on the Lender; or

               (b)    sell, assign (other than to Lender) or otherwise dispose of any of its rights
or interest under, any contracts or agreements (A) related to the Property, (B) between the
Borrower and contractors for the Project, or (C) otherwise related the development, construction,
operation, and maintenance of the Project without Lender's consent, which consent shall not be
unreasonably withheld.

                                     Article 10
                         REPRESENTATIONS AND WARRANTIES

       Borrower hereby represents and warrants to Lender that:

        Section 10.1. Validity of Agreement. The Borrower has the right and power and is duly
authorized and empowered to enter, execute and deliver the LOC Documents to which it is a party
and to perform and observe the provisions of the LOC Documents. The LOC and the execution,
delivery, and performance of the LOC Documents have been duly authorized by all necessary
action, and when executed and delivered by Borrower will constitute the valid and binding
agreements of Borrower, enforceable per their terms. The execution, delivery, and performance
of the LOC Documents do not conflict with, result in a breach in any of the provisions of,
constitute a default under, or result in the creation of a lien (other than liens permitted under
Section 9 .2 hereof) upon any assets or property of the Borrower under the provisions of, the
Borrower's Organizational Documents or any material agreement to which the Borrower is a party.

        Section 10.2. Existing Defaults. As of the date of execution of this Agreement, Borrower
(or any subsidiary of Borrower) is not in material default in the performance or observance of any
material obligation, agreement, covenant, or condition contained in any bond, debenture, note, or
other evidence of indebtedness or in any contract, indenture, mortgage, agreement, lease, or other

                                                                              Initials:   ?4    ,s ~
     Case 3:24-bk-00496-BAJ             Doc 53-32       Filed 04/04/24       Page 28 of 91




agreement or instrument to which Borrower (or any subsidiary of Borrower) is a party or by which
it or any of its properties, subsidiaries, partners, or other related entities may be bound.


        Section 10.3. No Default in Other Agreements. The execution and delivery and
performance of this Agreement and all other LOC Documents, the incurrence of the obligations
herein set forth, and the consummation of the transactions herein contemplated, will not result in
the creation of a lien on any of its property (except the liens created by the LOC Documents), and
will not conflict with, result in a breach of any bond, debenture, note, contract, indenture,
mortgage, lease, or any other evidence of indebtedness, agreement or instrument to which it is a
party or by which it or any of its properties, subsidiaries, partners or other related entities may be
bound, or result in the violation by it of any law, order, rule, ordinance, or regulation of any court
or governmental agency or body having jurisdiction over it or any of its properties, subsidiaries,
partners or other related entities.


        Section 10.4. No Consents. No consent, approval, authorization, or other acknowledgment
of any court or governmental agency or body, other than those specifically referenced herein, is
required for the consummation by Borrower of any of the transactions contemplated by this
Agreement, except those permits and licenses required in the ordinary course of construction of
the Project.

        Section 10.5. Litigation. There is no material litigation at law or in equity and no
proceedings before any commission or other administrative authority ("Litigation") pending or to
Borrower's knowledge threatened against or affecting Borrower, its principals, subsidiaries,
partners, or other related entities, or the Project, except as disclosed to and approved in writing by
Lender. There is no material Litigation currently contemplated, threatened, or pending by Borrower
against any entity or person which would have a material effect on Lender, this Agreement, the
LOC, or the transactions contemplated hereunder. Borrower's failure to timely disclose to Lender
any Litigation that is pending, threatened, or contemplated by Borrower as of the date of
Borrower's execution of the LOC Documents shall constitute a material breach of this
Agreement and shall justify Lender's excuse from the performance of any terms hereof, including
funding of any Advance, until Lender is satisfied that such Litigation bas been resolved in
Lender's sole discretion.

        Section 10.6. Financial Statements. All balance sheets, statements of income or loss,
reconciliation of surplus, and financial data of any other kind furnished to Lender by or on behalf
of Borrower are true and correct in all material respects, have been prepared per generally
accepted accounting principles consistently applied, and fully and accurately present the
financial condition of the subjects thereof as of the dates thereof and no material adverse change
has occurred in the financial condition reflected therein since the dates of the most recent thereof.

        Section 10.7. Legal Requirements. The Borrower (a) holds permits, certificates, licenses,
orders, registrations, franchises, authorizations, and other approvals from any governmental
authority necessary for the conduct of its business and is in compliance with all applicable laws
relating thereto, and (b) is in compliance with all federal, state, local, or international applicable
statutes, rules, regulations, ordinances, and orders including, without limitation, those relating to


                                                                               Initials: -h/-l-u-   2---=-.;_
                                                                                                         f>_
     Case 3:24-bk-00496-BAJ             Doc 53-32       Filed 04/04/24       Page 29 of 91




environmental protection, occupational safety and health, zoning, and equal employment practices.

        Section 10.8. Taxes. The Borrower has filed all tax returns and reports required of it, has
paid all taxes which are due and payable, and has provided adequate reserves for payment of any
tax whose payment is being contested; the charges, accruals, and reserves on the books of the
Borrower in respect of taxes for all fiscal periods to date are accurate; and there are no questions
or disputes between the Borrower and any governmental authority concerning any taxes except as
otherwise previously disclosed to the Lender in writing.

       Section 10.9. Organization and Good Standing. The Borrower is a duly formed or
organized, validly existing, and in good standing under the laws of the State of its formation or
organization as outlined in the first paragraph of this Agreement, and is qualified as a foreign entity
and in good standing in each jurisdiction where the Property and the Project are located.

        Section 10.10. Insurance. The Borrower maintains with financially sound and reputable
insurers insurance with coverage (including, if applicable, flood insurance on all mortgaged
property that is in a Special Flood Hazard Zone, from such providers, on such terms and in such
amounts as required by the Flood Disaster Protection Act as amended from time to time or as
otherwise required by Lender) and limits as required by law and as is customary with Persons
engaged in the same business(es) as the Borrower.

               Section 10.11. Accurate and Complete Statements. Neither the LOC Documents
nor any written statement made by the Borrower in connection with any of the LOC Documents
contains any untrue statement of a material fact or omits to state ai material fact necessary to make
the statements contained therein or in the LOC Documents not misleading. Lender represents to
Borrower:

       Section 10.12. Timing of Lender Funding. Provided Borrower has met the conditions to
Advances in this Agreement, including without limitation the timing for requests outlined in this
Section, Lender shall fund Advances per under the Tranche Schedule, but in no event anymore
frequently than every sixty (60) day, unless otherwise consented to in writing by Lender. The
borrower must deliver Advance requests to Lender thirty (30) business-banking days before the
week represented on the Tranche Schedule for which the Borrower wishes to receive the
proceeds of such Advance from the LOC Disbursement Account. Upon notice of an Advance
Request from the Borrower, Lender has a forty (40) international business-banking day window
based on the Tranche Schedule ( except for the first Advance according to Section 7 .1) to
Payment the requested Advance into the LOC Disbursement Account. Absent a written Advance
request from Borrower, per the conditions and requirements set forth herein, Lender is not
obligated to disburse the next scheduled Advance under the Tranche Schedule.

                                  ARTICLEll
                  NATURE OF REPRESENTATIONS AND WARRANTIES

        Section 11.1. Generally. The representations and warranties made by Borrower herein and
otherwise in connection with the LOC are and shall remain true and correct in all material respects
as of the Closing Date and as of the date of each Advance, omit no materials facts, and shall survive


                                                                                 Initials:   lK ~ f
     Case 3:24-bk-00496-BAJ            Doc 53-32      Filed 04/04/24       Page 30 of 91




so long as any of Borrower's obligations under the LOC Documents have not been satisfied and/or
the LOC or any part thereof shall remain outstanding. Each request by Borrower for an Advance
shall constitute an affirmation that the representations and warramties remain true and correct in
all material respects (or, as to any representations and warranties which are subject to a
materiality qualifier, true and correct in all respects) as of the date hereof, except for any
representations and warranties that are made as of a specific date. All representations and
warranties made in any document delivered to Lender by or on behalf of Borrower according to
or in connection with the LOC shall be deemed to have been relied upon by Lender.


                                        ARTICLE 12
                                    EVENTS OF DEFAULT

Any of the following specified events shall constitute an Event of Default (each an "Event of
Default"):

       Section 12.1. Nonpayment. Failure to make any payment required by the Promissory
Note, this Agreement, or any other LOC Documents and such failure continues for thirty (30)
days after notice of such default is sent by Lender to Borrower.

        Section 12.2. Other Covenants and Agreements. Failure by Borrower to perform or
comply with any of the other covenants or agreements contained in this Agreement (other than
those referred to in Section 12.6 hereof), or any of the LOC Documents and such failure shall not
have been fully corrected, by the performance of or compliance with such covenants or
agreements, within twenty (20) days after notice of such default is sent by Lender to Borrower.

       Section 12.3. Representations and Warranties. If any representation, warranty, or
statement made in or according to this Agreement or any other LOC Document or any other material
information furnished by the Borrower to the Lender, shall be fa1se or erroneous in any material
respect when made or when deemed made. Such Event of Default can be corrected by the
presentation of accurate and current material information furnished by the Borrower to the
Lender to correct the false or erroneous representation, warranty, or statement within ten (10)
days after notice of such default is sent by Lender to Borrower.

         Section 12.4. Security. If any lien granted in this Agreement or any other LOC Document
 in favor of the Lender, shall be determined to be (a) void, voidable or invalid, or is subordinated
 or not otherwise given the priority contemplated by this Agreement and the Borrower has failed to
 promptly execute, but in no event, more than five (5) business days from the date such change in
 lien status occurs appropriate documents to correct such matters, or (b) unperfected as to any
 material amount of Collateral (as determined by the Lender, in its reasonable discretion) and the
 Borrower has failed to promptly execute, but in no event, more than five (5) business days from
 the date such change in the lien status occurs appropriate documents to correct such matters.

        Section 12.5. Validity of LOC Documents. If (a) any material provision, in the sole
 opinion of the Lender, of any LOC Document, shall at any time cease to be valid, binding, and
 enforceable against the Borrower, and the Borrower has failed to promptly execute appropriate
 documents to correct such matters; (b) the validity, binding effect or enforceability of any LOC


                                                                              Initials: ---Y-'126d----'-S_,___J>
                                                                                                             -+---
     Case 3:24-bk-00496-BAJ            Doc 53-32       Filed 04/04/24       Page 31 of 91




Document against the Borrower shall be contested by the Borrower; ( c) the Borrower shall deny
that it has any or further liability or obligation under any LOC Document; or (d) any LOC
Document shall be terminated, invalidated or set aside, or be declared ineffective or inoperative or
in any way cease to give or provide to the Lender the benefits purported to be created thereby, and
the Borrower has failed to promptly execute appropriate documents to correct such matters.


      Section 12.6. Petition for Bankruptcy, Insolvency. ~e insolvency of; the filing by
Borrower in any jurisdiction of a petition for bankruptcy, liquidation, or reorganization, seeking,
consenting to or appointment of any trustee, receiver, liquidator, or custodian of it or of all or
substantially all of its property; or any such proceedings shall have been voluntarily or
involuntarily instituted against Borrower; the failure of Borrower to generally pay its debts as they
come due or any admission in writing in that regard; the making by Borrower of a general
assignment for the benefit of creditors; the entry against Borrower, -voluntarily or involuntarily, of
any order for relief in any bankruptcy reorganization, liquidation, or similar proceeding or the
declaration of or action taken by any governmental authority which operates as a moratorium on
the payment of debts of Borrower, which such order or declaration or action shall have remained
in place and undischarged or unstayed for ninety (90) days; or the taking of the action by
Borrower to authorize any of the actions outlined in this Section 12.6.

         Section 12.7. Material Litigation. Any action, suit, proceeding, or investigation of any
kind involving or threatened in writing against, Borrower or any subsidiary thereof, or the Project,
before any court or arbitrator or any other authority which (a) would reasonably be expected to
have a material adverse effect, or (b) calls into question the validity or enforceability of, or
otherwise seeks to invalidate, any LOC Documents. Promptly after the commencement thereof of
any Litigation, Borrower shall deliver to Lender notice of aU actions, suits, investigations,
litigation, and proceedings before any court or governmental department, commission, board,
bureau, agency or instrumentality, domestic or foreign, affecting Borrower or any of its
subsidiaries, partners, or other related entities, or the Project and promptly after the occurrence
thereof, a notice of any adverse change in the status or the financial effect on Borrower or any of
its subsidiaries, partners, or other related entities, or the Project of the disclosed Litigation.


                                           ARTICLE13
                                           REMEDIES

        Section 13.1. General. Following the occurrence of one (1) or more Events of Default, a
default cure period of sixty (60) days begins ("Default Cure Period"), except as otherwise provided
in Section 13.3 or Section 13.4. If Borrower fails to cure the Event of Default (in the manner
specified for each Event of Default according to Article 12) wit!yn the Default Cure Period, then
the Lender at its option, may (a) declare all outstanding indebtedness evidenced by the Promissory
Note, including principal and interest, immediately due and payable; (b) terminate all obligations
to make further Advances under the LOC; and (c) pursue and enforce, either successively or
concurrently, all rights and remedies outlined in the Promissory Note, in the LOC Documents, or
any other Collateral instrument held by Lender or accruing to Lender by law, and such other
rights and remedies as Lender may have in law or equity, including such rights as are provided in
this Article 13. If a Bankruptcy Event referred to in Section 12.6 hereof occurs, (i) all obligations

                                                                                Initials: --ll---V---
                                                                                           v (_              f_
                                                                                                        &-=------
                                                                                                           ·
     Case 3:24-bk-00496-BAJ               Doc 53-32        Filed 04/04/24         Page 32 of 91




of the Lender to make further Advances under the LOC shall ~utomatically and immediately
terminate, if not previously terminated, and the Lender thereafter shall not be under any obligation
to make any further Advance, and (ii) the principal of and interest then outstanding on the LOC,
and all of the other obligations owing under the LOC Documents, shall thereupon become and
thereafter be immediately due and payable in full (if not already due and payable), all without any
presentment, demand or notice of any kind, which are hereby waited by the Borrower.


    Upon the occurrence of any Event of Default hereunder under Section 12.1 whereby Borrower has
missed more than two (2) scheduled payments if Borrower does not have any interest reserve account
established for the benefit of the Lender, Borrower shall have a) sixty (60) days Default Cure Period to cure
the Event of Default and must (b) Payment an additional one yearrs worth of interest payments into the
Interest Reserve Account.

        Section 13.2. Default and Right to Acquire.

        In the event, the Borrower is unable to cure the Event of Default (in the manner specified
        to correct each Event of Default according to Article 12 or within the Default Cure
        Period,

       (a)     Upon the occurrence of an Event of Default, Lender shall have the right, in person
or by agent, in addition to all other rights and remedies available to Lender hereunder or under
the LOC documents, to enter into possession of the Project and perform or cause enforce
any liquidity plan.
         (b)     The lender may enter into possession of the Project and perform or cause to be performed
all work and labor necessary to complete the Project, to operate and maintain the Project, and/or to
otherwise run the business of the Borrower. All sums expended by the Lender in doing so, together with
interest on such total amount at the Default Rate (as defined in the Promissory Note), shall be repaid by the
Borrower to the Lender upon demand and shall be secured by the LOC documents, notwithstanding that such
expenditures may, together with amounts advanced under this Agreement, exceed the Maximum Amount.

        (c)   Borrower thereby, following such Bankruptcy Event or relevant cure periods
under Section 13.2 constitutes and appoints the Lender as its true and lawful attorney-in-fact, with
the full power of substitution, in the name of the Borrower to complete the Project, to operate
and maintain the Project, and/or to otherwise run the business of the Borrower, and hereby
empowers such attorney or attorneys as follows:


               (i)    to enter and endorse all agreements, instruments, and documents m
        connection therewith.
                                                                         I
               (ii)    to use any unadvanced proceeds of the !LOC to complete, operate, or
        maintain the Project.

                (iii)  to make such changes and corrections in the applicable plans and
        specifications of the Project as reasonably shall be necessary or desirable to complete the
        work on the Project.


                                                                                     Initials:   ff;{ ~~
    Case 3:24-bk-00496-BAJ             Doc 53-32        Filed 04/04/24       Page 33 of 91




              (iv)    to employ such managers, contractors, subcontractors, agents, architects,
       and inspectors as reasonably shall be required for the foregoing purposes.

               (v)     to pay, settle or compromise all bills and J aims which may be or become
       liens against the Project or the Collateral or any part thereof, unless a bond or other security
       satisfactory to the Lender has been provided.

              (vi)   to execute applications and certificates in the name of the Borrower which
       reasonably may be required by the LOC Documents or any other agreement or instrument
       executed by or on behalf of the Borrower in connection with the Project.

              (vii) to prosecute and defend all actions or proceedings in connection with the
       Project or the Collateral or any part thereof, and to take such action and require such
       performance as such attorney reasonably deems necessary under any performance and
       payment bond and the LOC Documents; and

              (viii) to do any and every act which the Borrower might do on its behalf
       concerning the Collateral or any part thereof, or the Proj~ct and to exercise any or all of
       the Borrower's rights and remedies under any or all of the agreements and documents for
       the Project.

        This power of attorney shall be deemed to be a power coupled with an interest and shall be
(A) irrevocable, (B) exercisable by the Lender at any time and without any request upon the
Borrower by the Lender, and (C) exercisable in the name of the Lender or the Borrower. The
Lender shall not be bound or obligated to take any action to preserve any rights therein against
prior parties thereto.

       Section 13.3. Curing of Defaults by Advances. Upon the occurrence of an Event of
Default under Section 12.2 through 12.4 hereof which may be cured by the payment of money,
Lender, without waiving any right of acceleration or foreclosure under the LOC Documents which
Lender may have because of such Event of Default or any othe right Lender may have against
                                                                  1
Borrower because of said Event of Default, shall have the right to make such payment from the
LOC, thereby curing the Event of Default. Any cash so remitted, and interest thereon will be
disbursed by Lender per the terms hereof before any additional proceeds of the LOC are
disbursed.

        Section 13.4. Remedies Are Cumulative. No remedy conferred upon or reserved to
Lender in the LOC Documents shall be exclusive of any other remedy provided in the LOC
Documents or by law or in equity, but each shall be cumulative and shall be in addition to every
other remedy given Lender, under any of the LOC Documents or now or hereafter existing at law
or in equity or by statute. Lender, at its sole option and without limiting or affecting any rights and
remedies hereunder, may exercise any of the rights and remedies to which it may be entitled under
the LOC Documents concurrently or in such order as it may determine. The exercise of any
rights of Lender shall not in any way constitute a cure or waiver of Event of Default or invalidate
any act done according to any notice of default, or prejudice Lender in the exercise of any of its
other rights or elsewhere unless, in the exercise of said rights, Lender realizes all amounts owed to
it hereunder and under the Promissory Note, and any other LOC Documents.
     Case 3:24-bk-00496-BAJ            Doc 53-32       Filed 04/04/24       Page 34 of 91




        Section 13.5. Offsets. If there shall occur or exist any Event of Default referred to in
Section 12.6 hereof or if the maturity of the obligations owing under the Promissory Note or the
other LOC documents is accelerated according to Section 13 .1 hereof, the Lender shall have the
right at any time to set off against, and to appropriate and apply toward the payment of, all of
such obligations then owing by the Borrower, whether or not the same shall then have matured,
all Payment (general or special) balances, and all balances in the Interest Reserve Account and all
other indebtedness then held or owing by the Lender to or for the credit or account of the
Borrower, all without notice to or demand upon the Borrower or any other Person or entities, all
such notices and demands being hereby expressly waived by the Borrower.

         Section 13.6. Collateral. The Lender shall at all times have the rights and remedies of a
secured party under the UCC, in addition to the rights and remedies of a secured party provided
elsewhere within this Agreement, in any other LOC Documents executed by the Borrower or
otherwise provided in law or equity. Upon the occurrence of an Event of Default and at all times
thereafter, the Lender may require the Borrower to assemble the Collateral securing the obligations
under the LOC documents, which the Borrower agrees to do, and make it available to the Lender
at a reasonable convenient place to be designated by the Lender. 'Dp.e Lender may, with or without
notice to or demand upon the Borrower and with or without the aid of legal process, make use of
such reasonable force as may be necessary to enter any premises where such Collateral, or any
thereof, may be found and to take possession thereof (including anything found in or on such
Collateral that is not specifically described in this Agreement or any other LOC document, each of
which findings shall be considered to be an accession to and a part of such Collateral) and for
that purpose may pursue such Collateral wherever the same may be found, without liability for
trespass or damage caused thereby to the Borrower. After any delivery or taking of possession of
the Collateral securing the obligations under the LOC documents, or any portion thereof, under
this Agreement, then, with or without resort to the Borrower petsonally or any other person or
property, all of which the Borrower hereby waives, and upon such terms and in such manner as
the Lender may deem advisable, the Lender, in its discretion, may sell, assign, transfer and deliver
any of such Collateral at any time, or from time to time. No prior notice need be given to the
Borrower or to any other Person in the case of any sale of such Collateral that the Lender
determines to be perishable or to be declining speedily in value or that is customarily sold in any
recognized market, but in any other case, the Lender shall give the Borrower not fewer than ten
(10) calendar days prior notice of either the time and place of any public sale of such Collateral
or of the time after which any private sale or other intended disposition thereof is to be made.
The Borrower waives advertisement of any such sale and (except to the extent specifically
required by the preceding sentence) waives notice of any kind in respect of any such sale. At any
such public sale, Lender may purchase such Collateral, including 9y credit bid, or any part thereof,
free from any right of redemption, all of which rights the Borrower hereby waives and releases.
After deducting all costs and expenses, and after paying all claims, if any, secured by liens
having precedence over this Agreement, Lender may apply the net proceeds of each such sale to
or toward the payment of the obligations under the LOC documents, whether or not then due, in
such order and by such division as the Lender, in its sole discretion, may deem advisable. Any
excess, to the extent permitted by law, shall be paid to Borrower, and Borrower shall remain
liable for any deficiency. In addition, after the occurrence of an Event of Default, the Lender shall
at all times have the right to obtain new appraisals of the Borrower or any Collateral securing the
obligations under the LOC documents, the cost of which shall be paid by the Borrower.


                                                                               Initials:   --t,,,2£
                                                                                                  c.+---~- f_ _
Case 3:24-bk-00496-BAJ             Doc 53-32        Filed 04/04/24        Page 35 of 91




 Section 13.7. Default by Lender and Borrower's Sole Remedy.

(a)      Provided Borrower has fully satisfied and complied with all conditions to Advance
  if Lender fails to provide the first (1 st) Advance when due, under the Tranche Schedule
  and Section 7 .1, Borrower shall have the option to terminate this Agreement and request a
  full refund of the ICA Payment. Upon the occurrence of such default, Borrower shall
  deliver a written notice in the form of a notarized termination letter, a copy of which is
  attached hereto as Exhibit F ("the Termination Letter"), to Lender by certified mail.
  Upon receipt of such notice, Lender shall have forty (40) international business-banking
  days from the date of receipt ("Refund Period") within which to return the ICA Payment
  to the Borrower.

(b)      If Lender is unable or unwilling to deliver good funds to Borrower, such failure to
  deliver an Advance other than the first Advance shall constitute a "Lender Default"
  hereunder. Upon the occurrence of a Lender Default, Borrower shall provide written
  notice in the fonn of a notarized Termination Letter          tb the Lender by certified mail.
  Within forty (40) international business-banking days from the date of receipt of such
  notice by Lender, Borrower shall be entitled to (a) refund of the ICA Payment, minus any
  interest outstanding and unpaid as of the date of the Lender Default, (b) release of all
  security interests granted by Borrower to Lender hereunder and under the other LOC Documents,
  and (c) termination of Borrower's obligations to Lender hereunder except Borrower's obligation
  to repay to Lender the outstanding principal balance of the I,>romissory Note including accrued
  and unpaid interest thereon up to and including the date of the Lender Default, upon which date
  interest under the Promissory Note shall cease to accrue. Notwithstanding any other provision of
  this Agreement to the contrary, in no event shall Lender or its affiliates be liable to the Borrower
  or any other non-party Person, Borrower's subsidiaries, partners, or other related entities, for any
  indirect, special, incidental, or consequential damages, losses or expenses in connection with
  Borrower's or another Person's activities related to, or otherwise because of, the LOC, the
  Advances, the Agreement or the other LOC documents.

 (c)       Notwithstanding anything to the contrary in the subpart (a) above or anywhere else
   in this Agreement or the other LOC documents, Lender shall not be liable or
   responsible to the Borrower, nor be deemed to have defaulted under or breached this
   Agreement, for any failure or delay in funding Advances according to this
   Agreement, when and to the extent such failure or delay is caused by or results from
   acts beyond Lender's control, including, without limitation, the following force
   majeure events ("Force Majeure Event(s)"): (i) acts of God; (ii) flood, fire,
   earthquake, explosion or prolonged break-down of transport, telecommunications or
   electric current; (iii) war (whether declared or not), armed conflict or the serious threat of
   the same (including but not limited to hostile attack, blockade, military embargo),
   hostilities, invasion, an act of a foreign enemy, extensive military mobilization, civil war,
   riot, rebellion, revolution, military or usurped power, insurrection, civil commotion or
   disorder, mob violence, an act of civil disobedience, an act of terrorism, sabotage or
   piracy; (iv) plague, epidemic, pandemic, outbreaks of infectious disease or any other
   public health crisis, including quarantine, or other restrictions; (v) act of authority
   whether lawful or unlawful, compliance with any law or governmental order, rule,
   regulation or direction, curfew                                            Initials: --------.i, l,{_,_,__ +
                                                                                                              c'§-
                                                                                                                -+(.7..,___
     Case 3:24-bk-00496-BAJ           Doc 53-32       Filed 04/04/24      Page 36 of 91




        restriction, expropriation, compulsory acquisition, seizure of works, requisition,
        nationalization; (vi) embargoes or blockades in effect on or after the date of this
        Agreement; (vii) national or regional emergency; (viii) strikes, labor stoppages, or
        slowdowns or other industrial disturbances; (ix) failure of the Lender's wholesale lender
        from performing under the terms of the agreement between the Lender and the
        wholesale lender. Lender shall give notice of the Force Majeure Event to the Borrower
        within a reasonable period from the date Lender realizes such Force Majeure Event has
        or will have an impact on Lender's ability to fund, stating the period the occurrence is
        expected to continue. The lender shall use reasonably diligent efforts to end the failure
        or delay and ensure the effects of such Force Majeure Event are minimized. The lender
        shall resume the performance of its obligations as soon as reasonably practicable after
        the removal of the cause. The cure periods provided for in subparts (a) and (b) above
        shall be tolled during the pendency of a Force Majeure Event.

        Section 13.8 Binding Arbitration. Any dispute, claim, or controversy arising out of or
relating to this Agreement, or the breach, termination, enforcement, interpretation, or validity
thereof, including the determination of the scope or applicability of this agreement to arbitrate,
shall be determined by binding arbitration in Illinois, before one (1) arbitrator. The arbitration
shall be administered by JAMS under its Comprehensive Arbitration Rules and Procedures or by
ADR Services under its Arbitration Rules, at the election of the party initiating the arbitration.
The Party initiating a demand for arbitration shall serve notice of such demand according to the
notice requirements outlined in Section 14.5 herein. Within three (3) banking-business days of
service of any demand for arbitration, the Parties to the dispute shall work cooperatively to
mutually select an agreeable arbitrator. If the Parties to the dispute are unable to reach an
agreement on an arbitrator, then the arbitration shall be selected under the JAMS or ADR
Services arbitration selection protocol. Each side shall be entitled to propound one (1) set of
requests for the production of documents. The requests in each set shall not number more than
twenty-five (25) and shall be limited to documents relevant to the issues to be arbitrated. Each
side shall further be entitled to notice and take no more than three (3) depositions, which shall
last no more than three (3) hours per deponent, including reasonable breaks and objections. No
other discovery shall be permitted, except upon a showing of good cause to the arbitrator. Any
discovery disputes shall be submitted to and decided by the arbitrator. The prevailing party shall
be entitled to an award of its reasonable costs and expenses, including but not limited to,
attorneys' fees, in addition to any other available remedies. Any award rendered therein shall
be final and binding on each and all of the parties thereto and their representatives, and judgment
may be entered thereon in any court of competent jurisdiction. This clause shall not
preclude Parties from seeking provisional remedies in aid of arbitration from a court of
appropriate jurisdiction. Any action or proceeding brought to interpret or enforce this agreement
to arbitrate shall be governed by the laws of the State of Illinois. This agreement to arbitrate is
intended by the Parties to constitute a waiver of any right to trial by jury, or the right to
proceed in any state or federal court for resolution of any dispute arising concerning the
enforcement or interpretation of this Agreement, this agreement to arbitrate, or any of the LOC
Documents.

                                       ARTICLE 14
                                   GENERAL PROVISIONS

       Section 14.1. Disclaimer of Liability. Lender has no liability or obligation in connection

                                                                             Initials:   tJ' Sf
     Case 3:24-bk-00496-BAJ            Doc 53-32       Filed 04/04/24       Page 37 of 91




with the Project except to make Advances under the LOC as agreed under the terms of the LOC
Documents and makes no warranties or representations in connection therewith. No claim may be
made by the Borrower or any other Person against the Lender or the Affiliates, directors, officers,
employees, attorneys, or agents of the Lender for any damages other than actual compensatory
damages in respect of any claim for breach of contract or any other theory of liability arising out
of or related to the transactions contemplated by this Agreement, or any act, omission or event
occurring in connection therewith; and the Borrower and Lender hereby, to the fullest extent
permitted under applicable law, waive, release and agree not to sue or counterclaim upon any such
claim for any special, indirect, consequential or punitive damages, whether or not accrued and
whether or not known or suspected to exist in their favor and regardless of whether Lender has
been advised of the likelihood of such loss of damage. Borrower 1further agrees that, in the event
of a delay in funding by the wholesale lender that causes a de1ay in funding from Lender to
Borrower, Borrower shall not file for arbitration or otherwise pursue legal claims against Lender
for such delay to the extent Lender takes reasonable steps to purs~e claims it may have against the
wholesale lender; provided, further, that this provision is superseded by the limitations ofliability
otherwise provided for in this Agreement and is not intended to create any rights in favor of
Borrower.

         Section 14.2. Publicity. Lender and Borrower shall have the right to issue periodic news
releases concerning the Project and its financing in such form as mutually approved by each of
them, such approval not to be unreasonably withheld. The lender shall have the right to indicate
that it has provided the financing for the Project.

       Section 14.3. Confidentiality. Borrower agrees that the specific terms of this Agreement,
the LOC, and the related terms regarding Lender's agreement to fund the Project, including
Lender's related entities, partners, subsidiaries, and vendors are proprietary, and Borrower hereby
agrees to maintain confidential this Agreement, the LOC documents, and any infonnation
disclosed by Lender related to the terms upon which funding of the LOC is to take place.
Borrower's disclosure of confidential terms shall constitute a material breach of this Agreement,
and will subject Borrower to injunctive relief, pecuniary damages, or other remedies available to
Lender in law or at equity. All such remedies are cumulative.

        Section 14.4. Responsibility for Application of Funds. Lender shall have no obligation
to see that funds advanced under the LOC are used for the purpose outlined in this Agreement.
Borrower shall be fully responsible for the proper application according to the terms of this
Agreement of funds advanced under this Agreement. The lender may rely solely upon the
Borrower's requests for Advances, affidavits, statements, and reports in making said Advances,
and the Borrower does hereby release and indemnify the Lender and hold the Lender harmless
from any losses, claims, demands, or expenses which may arise or result from misapplication or
misuse of the LOC proceeds by Borrower or its agents. Borrower's indemnification of Lender shall
not extend to losses arising from Lender's material breach of this Agreement or Lender's gross
negligence or willful misconduct (in each case as determined by a court of competent jurisdiction
in a final and non-appealable decision).

        Section 14.5. Non-Disparagement. Borrower agrees and covenants that Borrower shall
not at any time make, publish, or communicate to any person or entity or in any public forum any
defamatory, maliciously false, or disparaging remarks, comments, or statements concerning the

                                                                               Initials:   ttY' s~
     Case 3:24-bk-00496-BAJ             Doc 53-32       Filed 04/04/24       Page 38 of 91




The lender or its businesses, or any of its employees, officers, or directors, and its existing and
prospective clients, suppliers, investors, and other associated third parties, now or in the future.
For the avoidance of doubt, a breach of this Section 10.04 shall constitute an Event of Default
under Section 7.02 under which Lender has the right to terminate all obligations under the Loan
Documents under Section 9.0l(b).

        Section 14.6 Opportunitv to Consult with Counsel. Borrower acknowledges that it has
had an opportunity to consult with and be represented by counsel of Borrower' s choosing in the
review of the Loan Documents, that it has been advised by Lender to do so, that the Borrower is
fully aware of the contents of the Loan Documents and its legal effect, and that Borrower enters
into these Loan Documents freely, without duress or coercion, and based on Borrower's
judgment and wishes and not in reliance upon any representation or promise made by the Lender,
other than those contained herein.
        Section 14.7 Notices. All notices given under this Agreement, unless otherwise specified
herein, must be in writing and will be effectively served by: (i) submission through the
zoomeral.com portal using the Borrower's ZOOMERAL account and (ii) upon delivery or, if sent
by certified mail, upon the first to occur of receipt by the addressee or the expiration of ninety-six
(96) hours after deposit in first-class certified United States mail, postage prepaid, return receipt
requested, or two (2) business days if sent by pre-paid nationally recognized overnight courier
service, sent to the Party at its address set forth below, or such other address as a Party may
designate from time to time by written notice given according to this paragraph:

  To Borrower:          North Haven Lodging Partners LLC



  To Lender:            McMann Commercial Lending LLC
                        205 N Michigan Avenue, Ste 810
                        Chicago, lllinois 60601


        Section 14.8. Applicable Law. This Agreement and, unless otherwise specifically
provided for therein, each other LOC document, shall be governed by and construed per the laws
of the State of Illinois and the United States.

       Section 14.9. Successors and Assigns. The terms of this Agreement will bind and benefit
the successors and assigns of the Parties, provided that except as permitted under the LOC
Documents, Borrower may not assign this Agreement or any proceeds from the LOC or assign or
delegate any of its rights or obligations hereunder without the prior written consent of Lender,
which may be withheld in Lender's sole discretion.

        Section 14.10. Severability. The invalidity or unenforceability of any one or more of the
provisions of this Agreement will in no way affect any other provision, except that if a condition
to an Advance is held to be illegal or invalid, Lender will not be required to make the Advance
which was the subject of that condition. In the event of any conflict or inconsistency between the
terms and provisions of this Agreement and any of the LOC Documents, the terms and provisions
of this Agreement shall control.


                                                                                Initials:   vr se
     Case 3:24-bk-00496-BAJ            Doc 53-32      Filed 04/04/24       Page 39 of 91




        Section 14.11. Amendments. This Agreement may not be modified or amended except by
a written agreement signed by the Borrower and Lender.

       Section 14.12. Headings; Attachments. The several headings to articles, sections, and
subsections herein are inserted for convenience only and shall be ignored in interpreting the
provisions of this Agreement. Each schedule or exhibit attached to this Agreement shall be
incorporated herein and shall be deemed to be a part thereof.

        Section 14.13. No Third-Party Rights. This Agreement js made entirely for the benefit
of the Borrower, the Lender, and their successors in interest (including any participants). No
third party shall have any rights hereunder.

        Section 14.14. Indemnification. The Borrower agrees to defend, indemnify and hold
harmless the Lender (and its affiliates, officers, directors, attorneys, agents and employees) from
and against any and all liabilities, obligations, losses, damages, penalties, actions, judgments,
suits, costs, expenses (including attorneys' fees), or disbursements of any kind or nature
whatsoever that may be imposed on, incurred by or asserted against the Lender in
connection with any investigative, administrative or judicial proceeding (whether or not the
Lender shall be designated a party thereto) or any other claim by any Person relating to or arising
out of the Project, the LOC Documents or any actual or proposed use of proceeds of the
Advances, or any activities of the Borrower or its affiliates; provided that the Lender shall not
have the right to be indemnified under this Section 14.12 for its own gross negligence or willful
misconduct, as determined by a final and non-appealable decision in arbitration as for any
dispute between the Parties, or by judgment of a court of competent jurisdiction when such
dispute involves another third party Person. All obligations provided for in this Section 14.12
shall survive any termination of this Agreement. The Borrower hereby agrees to indemnify,
defend and hold harmless the Lender, the managers of the Lender, and all of their members,
managers, affiliates, and advisors, from any damages, losses, liabilities, costs, and
expenses (including reasonable attorneys' fees and costs) that they may incur because
Borrower failed to fulfill all of the terms and conditions of this agreement or because of the
untruth or inaccuracy of any of the representations, warranties or agreements contained
herein or in any other documents the Borrower has furnished to any of the foregoing
in connection with this transaction. This indemnification includes, but is not limited
to, any damages, losses, liabilities, costs, and expenses (including attorneys' fees and
costs) incurred by Lender, the managing members of Lender, or any of its members,
managers, affiliates, or advisors, defending against any alleged violation of federal or state
securities laws which is based upon or related to any untruth or inaccuracy of any of the
representations, warranties or agreements contained herein or in any other documents the
Borrower has furnished in connection with this transaction.

        Section 14.15. General Limitation of Liability. No claim may be made by the
Borrower or any other Person against the Lender or the affiliates, directors, officers, employees,
attorneys, or agents of the Lender for any damages other than actual compensatory damages in
respect of any claim for breach of contract or any other theory of liability arising out of or
related to the



                                                                             Initials:   --"'---f-wi~S~f -
     Case 3:24-bk-00496-BAJ             Doc 53-32       Filed 04/04/24       Page 40 of 91




transactions contemplated by this Agreement or any of the LOC Documents, or any act,
omission, or event occurring in connection therewith; and the Borrower and Lender hereby, to
the fullest extent permitted under applicable law, waive, release and agree not to sue or
counterclaim upon any such claim for any special, indirect, consequential or punitive damages,
whether or not accrued and whether or not known or suspected to exist in their favor and
regardless of whether Lender has been advised of the likelihood of such loss of damage. In
addition to the tolling provided under Section 6.3 , Borrower further agrees that, in the event of a
delay in funding by the wholesale lender that causes a delay in funding from Lender to Borrower,
Borrower shall not file for arbitration or otherwise pursue legal claims against Lender for such
delay to the extent Lender takes reasonable steps to pursue claims it may have against the
wholesale lender; provided, further, that this provision is superseded by the limitations of
liability otherwise provided for in this Agreement and is not intended to create any rights in favor
of Borrower.

        Section 14.16. Entire Agreement. This Agreement, the Promissory Note, and any other
LOC Document or other agreement, document, or instrument attached hereto or executed on or
as of the Closing Date integrate all of the terms and conditions r.ientioned herein or incidental
hereto and supersede all oral representations and negotiations and prior writings concerning the
subject matter hereof.

       Section 14.17. Execution in Counterparts. This Agreement may be executed in any
number of counterparts and by different parties hereto in separate counterparts, and by facsimile
or other electronic signature, each of which when so executed together shall constitute the same
Agreement.

        Section 14.18. Legal Representation of the Parties. The LOC Documents were
negotiated by the Parties with the benefit of legal representation and any rule of construction or
interpretation otherwise requiring this Agreement or any other LOC Document to be construed or
interpreted against any Party shall not apply to any construction or interpretation hereof or thereof.

     Section 14.19. JURY TRIAL WAIVER. THE BORROWER AND THE LENDER, TO
THE EXTENT PERMITTED BY LAW, HEREBY WAIVE ANY   I
                                                  RIGHT TO HAVE A JURY
PARTICIPATE IN RESOLYING ANY DISPUTE, WHETHER SOUNDING IN CONTRACT,
TORT, OR OTHERWISE, BETWEEN THE BORROWER AND THE LENDER, ARISING
OUT OF, IN CONNECTION WITH, RELATED TO, OR INCIDENTAL TO THE
RELATIONSHIP ESTABLISHED BETWEEN THEM IN CONNECTION WITH THIS
AGREEMENT OR ANY NOTE OR OTHER INSTRUMENT, DOCUMENT OR
AGREEMENT EXECUTED OR DELIVERED IN CONNECTION HEREWITH OR THE
TRANSACTIONS RELATED THERETO.




                  [Remainder of page intentionally left blank; Signatures follow]



                                                                               Initials   042 :S,'
      Case 3:24-bk-00496-BAJ                    Doc 53-32       Filed 04/04/24   Page 41 of 91




               IN WITNESS WHEREOF, the parties have executed this Agreement as of the
day and year first written above.


LENDER: MCMANN COMMERCIAL LENDING LLC

By:            ~~              ~
       Name: Walter P Trock III




                  e: Shailesh Pa el/         Vihang Patel
            Title:M.                              /l 4 e,!JY'.) )yd/(
                                   I




       .:
                                                            My Commission Expires:


                                       ADAM PRICE
                                       Notary Public
                                           SEAL
                                       South Dakota




                          Mv Ccm:-;ilc::;ion E~r,:;\r~$:
                          • ~ -7..7 - ;;l.3




                                                                                     Initials: - - ~
                                                                                                   .,___________._
                                                                                                               Sf?-,1-\l------
Case 3:24-bk-00496-BAJ   Doc 53-32   Filed 04/04/24   Page 42 of 91




                    EXHIBIT B
Case 3:24-bk-00496-BAJ   Doc 53-32        Filed 04/04/24   Page 43 of 91




       BUSINESS EXPANSION LINE OF C I DIT AG           EMENT



                              among



            MCMANN COMMERCIAL L NDING LI C

                            as Lender



                               and



                 Wallingford Lodging Par ners LLC
                            as Borrower




                            dated as of

                          April 10, 2023




                                                           Initials:   1/f   ~~
     Case 3:24-bk-00496-BAJ           Doc 53-32      Filed 04/04/24      Page 44 of 91




               BUSINESS EXPANSION LINE OF cLnIT Ar                    EMENT

       This Business Expansion Line of Credit AgreemJnt (as the sal e may from time to time be
amended, restated, or otherwise modified, this "Agreedtent") is ~ide and entered as of April
10, 2023, between McMann Commercial Lending LLC {the "Lende~"), and Wallingford Lodging
Partners LLC., a Connecticut Limited Liability Companl ("Borro~t ").

                                         RECITALS

       A.       The Borrower desires to obtain from L] nder an asset-backed line of credit loan
(the "LOC") in an aggregate principal amount not to exceea the Maximum Amount, as
hereinafter defined.

       B.     The Borrower desires to obtain the LO from Lendfr for Business Expansion for
                                                    I
construction of a 105-room limited-service hotel (~s more ~lly described in Exhibit D
attached hereto the "Project"). Acquired assets wi 1 be legaliy described on Exhibit E
attached hereto (the "Property").

        C.      The Borrower has agreed to pay a m imum conk bution of the Project LOC
Amount to Lender, by establishing the Interest Reserv (as hereinafter defined) and the ICA (as
hereinafter defined), collectively,(the "Interest Reser e Accourtb , within seven (7) calendar
days after the fully executed LOC Documents (as herein fter defineJ! are received by Lender.

       D.     The Borrower has agreed to pay, purs ant to Sect10n 3.6 hereof, the aggregate
amount of One Million Eight Hundred Thousand Do lars and No Cents Dollars ($1,800,000),
(the "ICA Payment"), by bank wire to Lender. An ccount o~ the books and records of the
Lender shall be created to serve as an Interest Credit Account (the "ICA"). A credit equal to
the ICA Payment shall be noted in the ICA for purpose of satisfyi_,ig interest payments under the
LOC and upon the terms and conditions set forth herein.        ~

        E.

                                                      f
              Lender has agreed to make Advances ( •s herein ter defined) under the LOC to
Borrower in an aggregate amount, according to Ex ibit B, an amount not to exceed the
Maximum Amount for the purposes outlined in these citals anti fhe Promissory Note attached
hereto as Exhibit A and upon the terms and subject tot e conditi, ns hereinafter set forth.

              NOW THEREFORE, for valuable consi eration, re receipt and sufficiency of
which is hereby acknowledged, Borrower and Lender ag ee as follows:


                                         ARTICLE 1
                                        DEFINITION
                                                                 I
       Section 1.1. Certain Defined Terms. Except rs otherwise provided herein, accounting
terms not specifically defined shall be construed, fnd all abcounting procedures shall be
performed per generally accepted accounting principles rnsistent' lapplied. As used in this



                                                                          Initials:   if   3~
      Case 3:24-bk-00496-BAJ            Doc 53-32       Filed 04/04/24      Page 45 of 91




                                                                    I
agreement, the following terms have the following mean· gs, which apply to both the singular
and plural forms:                                                       I
        "Advance(s)" means any loan advance made by he LendJ per the terms and conditions
of this Agreement.                                          I I



       "Applicable Interest Rate" means the fixed inter .st rate spec!ed in the Promissory Note.

       "Borrower" means that term as defined in the firl t paragraJh of this Agreement.

        "Business Expansion" means any transaction o use, incll&ng for working capital, that
relates to the expansion of the business of the Borro'rer, or sei~eb of related transactions for
the purpose of or resulting, directly or indirectly, in (a) tlhe expans~on by the Borrower or any of
its subsidiaries of all or substantially any and all ass~~s, or of rtly business or division, (b)
the expansion by the Borrower or any of its subsidiaries ofl capital stock, partnership
interests, membership interests or equity, or otherwi~e causin~ any business to become a
subsidiary of the Borrower or (c) a merger or consolidlation or ~ny other combination by the
Borrower or any of its subsidiaries with another Person~r busines~ (other than a Person that is a
subsidiary) provided that the Borrower (or a Pers n that stdceeds to the Borrower in
connection with such transaction or series of relate transactions) or a subsidiary of the
Borrower (or a Person that becomes a subsidiary of the torrower ~s a result of such transaction)
is the surviving entity; provided that any Person that is a subsid~azy at the time of execution
of the definitive agreement related to any such transa tion or s9ri~s of related transactions (or,
in the case of a tender offer or similar transaction, at he time of r ling of the definitive offer
document) shall constitute a subsidiary for purposes oft¥,s definition even if in connection with
such transaction or series of related transactions, su ,h PersonIbecomes a direct or indirect
holding company of the Borrower.

       "Business Plan" means the document(s) out!" • g the accJ ate and up-to-date business
operations of the End-Borrower, as previously provide by End~Borrower, substantially in the
form outlined in EXHIBIT D, and subject to review by ender's Capital Partners as described in
Section 8.1 of this Agreement.                                      II
      "Closing Date" means the last date of signed ex cution of this Agreement by Lender and
Borrower.

        "Collateral" means all property securing repay ent of the obligations of Borrower under
this Agreement, as such collateral is evidenced by a Se[urity Do ument, including all additions
thereto, replacements, and proceeds, thereof.

       "Event(s) of Default" means any event or condit~on that sh 1~constitute an event of default
as described in Article 13 of this Agreement.          I         I
       "ICA" means the definition given in Recital D o1this Agreement.

        "ICA Payment" means the amount remitted purJuant to Recital D of this Agreement.




                                                                              Initials: -tH-t{
                                                                                            -----=
                                                                                                 S=---..:,:c
                                                                                                      ~ -
      Case 3:24-bk-00496-BAJ            Doc 53-32       Filed 04/04/24        Page 46 of 91




        "Interest Reserve" means credit on the books nd recor s lo f the Lender as an interest
reserve on Advances under the LOC. This credit is pr vided on lbehalf of the Borrower when
there is a contribution from a Borrower JV Partner, re eived by fhe Lender. When there is no
such contribution, the Interest Reserve exists wit no credit available. This credit is
simultaneously created when the ICA is established.             I
       "Interest Reserve Account" means the definitio given in Recital C of this

       Agreement.

       "Lender" mean.s that term as defined in the first r aragraph I f this Agreement

       "Lender's Capital Partners" means one or mor . lender-clients of the Lender

       providing funding towards the LOC.

       "LOC" means that term as defined in Recital Ao this Agreement.

       "LOC Disbursement Account" means that term as defined in Section 3 .12 hereof.

        "LOC Docurnent(s)" means, collectively, this Agreemi l, the Promissory Note, and
each Security Document, as any of the foregoing may rrom timelt0 time be amended, restated,



                                                                    r.
or otherwise modified or replaced, and any other documint deliverled pursuant thereto.

       "Maximum Amount" means Eighteen Million ine Hundred Thousand Dollars and No
                                                                     1

Cents ($18,900,000). The Maximum Amount is the Proj ct LOC ount plus all fees, costs, and
expenses which are the Borrower's responsibility to pay.

        "Organizational Documents" means, concemi g any Pe son (other than an individual),
such Person's Articles (Certificate) of Incorporation r equivalent formation documents, and
regulations (Bylaws), operating agreement, JV operati g agreen:ient, partnership agreement or
equivalent governing documents, and any amendments t any oftlie foregoing.

        "Other Taxes" means all present or future s mp or dJcumentary taxes or any other
excise, ad valorem or property taxes, goods and servicet taxes, h~onized sales taxes and other
                                                                    1
sales taxes, use taxes, value added taxes, transfer taxes, charges ol~ similar taxes or levies arising
from any payment made hereunder or under any other LOC Do ument, or from the execution,
delivery or enforcement of, or otherwise concernin , this A eement or any other LOC
Document.

         "Person" means any individual, sole pro rietorship partnership, joint venture,
unincorporated organization, corporation, limited liabili compa~y, unlimited liability company,
institution, trust, estate, governmental authority, or any ther entity.
                                                                     I
       "Project" means that term as defined in Recital      of this Agreement.


                                                                                 Initials: J...,.l!f''----_ _S.L&(_ _ __ J
      Case 3:24-bk-00496-BAJ            Doc 53-32       Filed 04/04/24          Page 47 of 91




        "Project Costs" means the amount of the LOC roceeds/ 11 Advances not to exceed the
Maximum Amount, to be utilized by the Borrower for i plementa ion or execution of the Project
(including but not limited to the payment of taxes, ins r.nce, and al[ items reasonably necessary
for the successful execution of the Project), as more spe ifically o tlined in the Project budget set
forth on Exhibit C attached hereto.
                                                                          I
       "Project    LOC Amount"          means Eighteen Million       I   opars and No Cents
($18,000,000).

       "Property" means that term as defined in Recita I B of this        kreement.
                                                                          I
      "Promissory Note" means the Promissory Note, n the fo              i ttached hereto as
Exhibit A.

       "Security Agreement" means that certain Securr· Agree , ent, dated as of the Closing
Date, executed by the Borrower in favor of Lender, in th form attAched hereto as Exhibit E.

        "Security Document" means each security agre ment (in~ll ding, without limitation, the
Security Agreement) each pledge agreement, each intellf ctual property security agreement, each
control agreement, each mortgage, each U.C .C. FinanJing State~6nt or similar filing filed in
connection herewith or perfecting any interest created in any of the foregoing documents, and any
other document pursuant to which any lien is granted by any Perso ~~ Lender, as security for the
obligations under this Agreement or the Promissory Npte, or an~ f art thereof, and each other
agreement executed or provided to the Lender in conne9 ion with ~ y of the foregoing, as any of
the foregoing may from time to time be amended, restatr or othet ise modified or replaced.
                                                       th
       "Scheduled Maturity Date" means the 10 Jnniversary I f the Closing Date, as the
 same be extended pursuant to Section 3.2 hereof.

         "Subsidiary" means any entity (other than t e Borro e ) in an unbroken chain of
                                                                     1
 entities beginning with the Borrower if each of the entf· ies owns tock, units, or other interests
 that represent fifty percent (50%) or more of the total ombined dting power of all classes of
 stock in one of the other corporations in such chain

         "Taxes" means all present or future taxes of . y kind, eluding, but not limited to,
 levies, imposts, duties, assessments, surtaxes, char]1es, fees, deductions or withholdings
 (including backup withholding), or other charges now or hereafter imposed, levied, collected,
 wit~eld or assessed b~ a~y go~e~ental_ authority (to• ether wit' f1Y interest, penalties, fines,
 additions to taxes or slillllar habihtles with respect ereto); pr~vrded that "Taxes" shall not
 include, concerning those imposed on Lender, incm e, capita gain, sales, use, franchise,
 excise, taxes or withholding on account of foreign inve ent int , e!United States or other taxes
 on Lender or the revenues derived by Lender concern· g the LO<C.
                                                                     I
         "Term Sheet" means that document(s) dated ~s of 3/ 14/2023 between Borrower and
 Lender, setting forth a general summary of the terms of agree ent memorialized more fully
 herein in final form.

       "Tranche Schedule" means the schedule of Adv nces to B , q owers from the Lender, based

                                                                                  Initials: .   J/0   ()~
      Case 3:24-bk-00496-BAJ              Doc 53-32        Filed 04/04/24       Page 48 of 91




upon the dates of the disbursements attached hereto as xhibit B; provided that Borrower may
request in writing to Lender adjustments to the Tranche S hedule (sb long as the aggregate amount
of all Advances thereunder does not exceed the Maxim        Amou , t), with any such adjustments
subject to the approval of Lender in its sole discretion.


     "UCC" means the Uniform Commercial Code as in effe t from ti e to time in the State of Illinois or, when the
laws of any other state govern the method or manner of the , erfection ,r fnforcement of any security interest in any
of the Collateral, the Uniform Commercial Code as in effect •om time t , tim
                                                                          l e in such state.

                                             ARTICLE2
                                            THE CREDI

      Section 2.1. Line of Credit Amount. Subje t to the tepns and conditions of this
Agreement, Lender agrees to make Advances to the Bprrower der the LOC in an aggregate
amount not to exceed the Maximum Amount. The f bligatio~ hf Borrower to repay such
Advances, with interest thereon, shall be evidenced by tlr Promissof Note.

                                                            f
       Section 2.2. Line of Credit Documents. The bligation of the Borrower to repay the
Advances under the LOC shall be evidenced by the Pro issory ' ote, this Agreement, and each
Security Document. The LOC shall be secured by the OC Docu pnts, all of which shall be in
form and substance satisfactory to the Lender and its co nsel.


                                       ARTICLE3
                              TERM,INTEREST,AND AYME TS

         Section 3.1. Initial Term. The initial term       J
                                                       the LOG is Ten (10) years and shall
  commence on the Closing Date and expire on the Sdheduled *-~turity Date. The aggregate
  outstanding amount of all Advances and any accrue! but unpaid interest and fees shall be
  payable in full thereon and all other amounts due Iand ow1: hereunder and under the
  Promissory Note shall be repaid by Borrower on the Scheduled i aturity Date.

        Section 3.2. Extended Term. At the end of the L tial term outlined in Section 3.1 hereof,
and at the end of each Extended Term (as defined below, if any), p~ovided the LOC is not then and
has not been in default beyond any applicable notice a d cure perod, and Borrower has been in
full compliance with the terms and conditions ofthe LO Docume~_ts, and Lender has not provided
Borrower notice that an event then exists which, over ti , e, the giv~·g of notice and the expiration
of any cure period would become an Event of Default, nd furthe provided that all conditions to
extension set forth below are fully satisfied, Borrower ay elect o extend the term of the LOC
and this Agreement for an additional twenty-four (24) onth peri , d, up to a total of one (1) such
additional consecutive periods (separately, "Extende Term\ collectively, the "Extended
Terms"). 1n connection with Lender's granting of each Extentled Term, (a) Borrower shall
execute all documents which Lender, in its reasonable 1iscretion, ldeems necessary to implement
such extension, and (b) Borrower will pay all reasonable costs ~d expenses incurred by Lender
in connection with such extension, including but not l~ ited to Lender's attorney's fees, as a one
(1)-tirne fee equal to one percent (1 %) of the Project LOC Amoun.


                                                                                   Initials: --=~
                                                                                              - ----'5{::__
                                                                                                         _ __
      Case 3:24-bk-00496-BAJ            Doc 53-32       Filed 04/04/24       Page 49 of 91




       Section 3.3. Applicable Interest Period. The terest p.er,hct concerning each Advance
under the LOC shall be the period commencing on the date such Ajdyance was made to Borrower
by Lender, which shall commence the date such funds were withdraiWn by Borrower from the LOC
Disbursement Account, and continuing until such AdvaJe is repall in full.

        Section 3.4. Interest Rate Calculatio_n. Interes shall be f~lculated based o~ a 3~5-day
year and the actual number of days elapsed m a 365- i ay year and at the rate outlmed m the
Promissory Note (the "Applicable Interest Rate"). The ~terest rate payable on Advances shall be
subject, however, to the limitation that such interest rate fhall nevef Jxceed the highest rate which
the Borrower may contract to pay under applicable law (fl1e "MaxififUf Interest Rate"). If Lender
shall receive interest in an amount that exceeds the Ma, imum Interest Rate, the excess interest
                                                                      1
shall be applied to the unpaid principal balance outstan ing und} the Promissory Note or, if it
exceeds such unpaid principal, refunded to the Borrower

        Section 3.5. Interest Payments. Interest on the o tstandin ,principal balance of Advances
under the LOC shall be paid from the Interest Reserve A count at tlie rate and at the times outlined
                                                                   1
in the Promissory Note. Such interest payments shall be 1educted b lender (a) first from the ICA
until such funds are depleted, and (b) second, from Ithe Inter ,st Reserve. Interest shall be
calculated on Advances made from the date of each Ad1nce.

        Section 3.6. Reserves. Following the signing of this A!greement, the Borrower shall
remit One Million Eight Hundred Thousand Dollars nd No Cbnts ($1,800,000) as the ICA
Payment per the terms and the time outlined in Recital ~of this Agreement. Upon the funding of
the first Advance under the Tranche Schedule, the ICA shall remain part of the Interest Reserve
Account and subject to the provisions of this A eement, I and not refundable to the
Borrower unless otherwise specifically provided for in)iis Agreefuent. All credits to the Interest
Reserve Account shall be used, absent the occurrence of an Evdnt of Default, for purposes of
payment on interest payable on the Advances as and hen such !interest payments are due and
payable.


                                                         j
        Section 3.7. Prepayment. The borrower may, wi hout penalty, prepay all or any portion
of the outstanding principal balance of the LOC.

       Section 3.8. Interest Credit Account. If at an time, no balance remains in the Interest
Reserve Account (having been applied as provided in ;~is Agreement), upon notice from Lender
to Borrower, which notice shall be delivered to and re~clved by Borrower no less than thirty (30)
days before the date of the next interest payment datj Borrowef shall remit into the ICA the
funds necessary to make such interest paid before th date sue interest payment is due and
payableSection 3.9. Fees.
              (a) LOC Fee. At Closing and out of the initial Advance, the Borrower shall pay
                  Lender a nonrefundable fee for the Lpc in an aggregate amount equal to Five
                  percent (5%) multiplied by the Proje<et LOC ~ount, which is equal to Nine
                   Hundred Thousand Dollars and Nol Cents ($?00,000) (the "LOC Fee"). The
                   LOC Fee has been fully earned by Lender and is due and payable in full to Lender
                   commensurate with the funding of, a1d from the proceeds of, the first Advance
                   under the Tranche Schedule, without co (lition.




                                                                               Initials:_- yf
                                                                                           ____   ,S_f___
      Case 3:24-bk-00496-BAJ             Doc 53-32       Filed 04/04/24        Page 50 of 91




               (b) Promote Fee. At Closing and out oft e initial Arvance, the Borrower shall pay
                   Lender a nonrefundable success fee in an agl regate amount equal to One
                   percent (1 %) multiplied by the ProJect LOC Amount, which is One
                   Hundred Eighty Thousand Dollars and Nb Cents($ 80,000) (the "Promote Fee").
                   The Promote Fee has been fully earned b~ Lender anf \S due and payable in full to

                                                           f
                   Lender commensurate with the funding of, and from the proceeds of, the first
                   Advance under the Tranche Schedule, ithout co dition.

               (c) ICA Advance Fee. To the extent the.~ orrower used Lender to provide the
                   ICA Payment, at Closing and out of tlie initial Pl.dvance, the Borrower shall
                                                            1
                   reimburse Lender in an amount equ 1 to the ICA Payment advanced by
                   Lender plus a nonrefundable fee in an aggregate amount equal to
                   Zero percent (0%) of the ICA Payme t, which i? ~o Dollars and No Cents
                   Dollars($-) (the "ICA Advance Fee" . The IC:r,- Advance Fee has been fully
                   earned by Lender and is due and paya le in full fo Lender commensurate with
                   the funding of, and from the proceeds of, the first Advance under the Tranche
                   Schedule, without condition. The bornower will !take the Project LOC Amount
                   in full on the closing of the first tranc e.


        Section 3.10. Line of Credit Extension Fees. oncurren ly with the commencement of
each Extended Term, if any, Borrower shall pay to th . Lender, onI the first date of each such
Extended Term, a nonrefundable LOC extension fee fo each extension in an aggregate amount
equal to one percent (1 %) multiplied by the Maximum ! ount. I

        Section 3.11. Le al and Incidental Fees Ch r es anJ Costs. Borrower shall pay at
Closing, all reasonable out of pocket and up to Twelv Thous~d, Five Hundred U.S. Dollars
($12,500) for legal fees, recording and filing fees, docymentary ?tamps, taxes, service charges,
credit reports, UCC search costs, title company fees amd costs, third party paymaster fees and
administrative expenses, attorneys' fees and expenses, a~d all othdr charges or expenses incurred
by Lender including administrative fees and expenses l(a) in connection with the LOC, (b) in
connection with efforts to collect any amount due under tfu.e LOC, or (c) in any action or proceeding
to enforce the provisions of any of the LOC Documents, ~ncluding those incurred in post-judgment
collection efforts and in any bankruptcy proceeding (mcluding any action for relief from the
automatic stay of any bankruptcy proceeding) or judicialior non-judicial proceeding; provided that
Lender will provide Borrower ten (10) days' advance r,otice of an!Y legal fees pursuant to this
Section 3 .11 that will exceed Twelve Thousand, Five r undred UJ .S. Dollars ($ I 2,500). Lender
shall not be required to pay any premium or other chargf or any hf okerage fee or commission or
similar compensation in connection with the LOC of. with sat~sfying the conditions of any
commitment for standby or permanent financing. Barro er hereby agrees to indemnify and hold
Lender harmless against and from all claims for such ees, commissions, and compensation in
connection with the LOC; provided that Lender shall not have thJ right to be indemnified under
this Section 3 .11 for its own gross negligence or willful r isconduct.


       Secfion 3.12. Line of Credit Disbursement ,J,count. ~ he proceeds of each Advance
under the LOC shall be advanced into the LOC Disbursdment Account with Lender to be used by
Borrower for payment of the Borrower's Project Costs, olely for the purposes and in the manner

                                                                                 Initials: -t,i"-''Jf~_ _,,_sSJ-f...,..__ _
      Case 3:24-bk-00496-BAJ            Doc 53-32      Filed 04/04/24       Page 51 of 91




outlined in this Agreement. The LOC Disbursement Ac ,ount will be held jointly in the name of
the Borrower and Lender. Borrower hereby irrevocablylassigns to I!.,ender as additional security
                                                         f
for repayment of the LOC, all of Borrower's rights and terest in ia?d to the LOC Disbursement
Account, which assignment will be effective only upo1jl the occurrence and continuation of an
Event of Default, subject to an applicable Default Cure eriod (as ! ereinafter define_d).


       Section 3.13. Taxes.

        (a)      All payments made by the Borrower under any LO I Document shall be made free
and clear of, and without deduction or withholding for or1 n accourit of, any Taxes or Other Taxes.
If any Taxes or Other Taxes are required to be deducted r withheltl from any amounts payable to
Lender hereunder, the amounts so payable to Lender sh 11 be incr{ased to the extent necessary to
yield to the Lender (after deducting, withholding, and payment ti all Taxes and Other Taxes,
including such deductions, withholdings and payments lof Taxes and Other Taxes applicable to
other sums payable under this Section 3.13) interest or a y such ot er amounts payable hereunder
at the rates or in the amounts specified in the LOC Docu ents.

        (b)    Whenever any Taxes or Other Taxes are required o be withheld and paid by the
Borrower, the Borrower shall timely withhold and pay such taxe~I     iothe relevant governmental
authorities. As promptly as possible thereafter, the Borr wer shall send to the Lender a certified
copy of an original official receipt received by the Borlower shot ing payment thereof or other
evidence of payment reasonably acceptable to the Lender. If the r-'orrower shall fail to pay any
Taxes or OtherTaxes when due to the appropriate goveijnmental apthority or fails to remit to the
Lender the required receipts or other required documentary evidence, the Borrower shall
indemnify Lender on demand for any incremental Taxds or Othef Taxes paid or payable by the
Lender as a result of any such failure.

     (c)    The agreements in this Section 3.13 sh 11 survivt the termination of the LOC
Documents and the payment of the Advances and all other amounts payable under the LOC
Documents.                                                  I




                                   ARTICLE4
                   CONDITIONS FOR CLOSING   D DISB                    SEMENT

                                                         I
       The obligation of Lender to provide the LOC a d make i y Advance hereunder will be
subject to the satisfaction, at Borrower's cost and expe , se, of ea ,h of the following conditions,
unless waived by Lender in writing:


        Section 4.1.   Delivery of the LOC Document .

              (a)    As of the Closing Date, BorrowL shall h ve executed and delivered to
Lender in a manner satisfactory to Lender all of the LOC Documents.

                                                                              Initials:   _1{'-¥-_ _J
                                                                                                    ~~f~--
      Case 3:24-bk-00496-BAJ             Doc 53-32       Filed 04/04/24       Page 52 of 91




              (b)    The Borrower shall have delive ed to the Lender an executed Control
Agreement (as defined in the Security Agreement), for each P yment Account and Security
Account (both as defined under UCC § 9-1 02 and as J I her defi] 1ed in the Security Agreement)
maintained by the Borrower.

                (c)    Contemporaneously with Borrow r's acquis tion of the Property, Borrower
shall have delivered an executed and notarized mortgag or deed bf trust in form and substance
required by Lender granting Lender a priority lien and s~curity intdrest in and to the Property (the
"Security Instrument"), and such Security Instrumenl shall be]romptly recorded in the real
property records of the county in which such real propdrty is loc ted. If required by Lender, (i)
the closing of such Advance and recording of the Securiiv Instrum tit shall be completed through
the services of a title company chosen by Lender, an& (ii) sue I title company shall issue, at
Borrower's expense and for the benefit of Lender, a loa policy o title insurance concerning the
Property. For the avoidance of doubt, this Section 4 l(c) shal not operate to preclude any
Advances to the Borrower to fund pre-acquisition costs.

        Section 4.2. Authoritv. On the Closing Date, t e Borrowet shall have delivered to the
Lender an officer's certificate (or comparable documeipt) certifytg the names of the officers,
members, or managers of the Borrower authorized to sigln the LO t Documents, together with the
true signatures of such Persons and certified copies of (aJ) the resol tions of the board of directors
(or comparable document) of the Borrower evidencing hpproval <ii the execution, delivery, and
performance of the LOC Documents and the consu~ation of !the transactions contemplated
thereby, (b) the Organizational Documents of the Borro er (inclu~g, if applicable, copies of the
partnership and corporate documentation of each of the eneral parttlers or members of Borrower
and copies of all equity participation agreements), and([ ) a conte ! poraneous certificate of good
standing concerning the Borrower.

         Section 4.3. Liens. The Project is free from anJ prior liens. All taxes and assessments
affecting the Project or any part thereof_due and payabld (includin~ without limitation any taxes)
have been paid. The Project is not impaired by any existing undiscfosed covenants, conditions, or
restrictions. At the request of the Lender, the Borrower ban (i) d~liver to the Lender the results
of UCC lien searches, satisfactory to the Lender, (ii) th&results of federal and state tax lien and
judicial lien searches and pending litigation and bankruptcy searches, in each case satisfactory to
the Lender, and (iii) UCC or other lien termination statements reflecting termination of all liens
previously filed by any Person and not expressly pe~ itted pur~uant to the LOC Documents.
Borrower agrees that no lien, other than as required by t is Agreet!nt
                                                                    I
                                                                       nt and the LOC Documents,
shall be placed on the Property, the Project, or any Collatera without the express written
permission of Lender.

        Section 4.4. Litigation. As of the Closing Date . nd as oft e date of each Advance, there
shall be no material Litigation pending against Borrower which , Lender's reasonable business
judgment materially affects Borrower's ability to perforin all of the terms and provisions of this
Agreement.                                              I
      Section 4.5. Events of Default. As of the Closing Date and as of the date of each Advance,
no Event of Default shall have occurred and be continuin1 , and the orrower shall otherwise be in

                                                                                Initials:   --;1,_.,(l_ _ S__,,f' - - _
      Case 3:24-bk-00496-BAJ             Doc 53-32       Filed 04/04/24       Page 53 of 91




full compliance with the terms and provisions ofthis A         ement.
                                                           1
       Section 4.6. Purchase and Agreement Contracts. Lender shall receive copies of all
material contracts entered in connection with the Prope~ and the oject, and all other contracts
material to the Borrower's operations and/or properties.         7

       Section 4.7. Com liance with Certain Re ui ements. ender shall receive evidence
reasonably satisfactory to Lender that the business is in material , ompliance with all applicable
laws, regulations, ordinances, conditions, reservations, and restrictions imposed on the
business(es) under local, state, federal, and internationa laws, pr , cedures, statutes, regulations,
and ordinances, conditions applicable to the Project.

        Section 4.8. Evidence of Insurance.
        (a)     For the period beginning with the exec tion of ·s Agreement and continuing
throughout the term of the LOC, Borrower shall take ,ut, pay £ r, and will keep in full force,
property and liability insurance on the Borrower and lthe Projebt against such risks, in such
amounts, and with such lenders' loss payable and additic])Ilal insurJd clauses and endorsements as
shall be satisfactory to Lender and otherwise customaril~ carried b~ businesses of similar size and
character that of the business of the Borrower, and .Eorrower hall furnish Lender with the
satisfactory evidence of such underlying Borrower ins~ ance and romptly notify Lender of any
changes to such insurance. Borrower shall include Lepder as a !additional insured under all
insurance policies applicable to the Project and the Property.
                                                           1
        (b)     Within five (5) business ofreceipt of End-B rrower ins ance pursuant to Section 4.8(a),
                                                                      1
Lender shall acknowledge receipt and communicate to Borro er the app o al and sufficiency of such End-
Borrowers certificate of insurance.

       Section 4.9. Financial Statements. The lender shall hav . received all financial reports
required by Section 8.6 hereof.

      Section 4.10. Business Pro Forma. The lend r shall re , eive a pro forma income and
expense statement annually in connection with the Proje~t.

       Section 4.11. Management Plan. Lender shap receive Ia detailed management plan,
concurrently with delivery of the annual financials requited pursuant to Section 8.6 hereof, which
will consist of fue business operation, and budget for all expenses f f Borrower's business.

       Section 4.12. Material Change. Throughout the1 term of the LOC, Borrower shall advise
Lender of any material change in conditions affecting th~ Borrowe~' s ability to perform under this
Agreement or the Project that would materially alter the diocumendtion and information submitted
                                                                        Sf
by Borrower to satisfy the above conditions precedent knd will bmit amended documentation
and information reflecting these changed conditions for he reasonr le approval of Lender.

        Section 4.13. Non-Subordination. Under this Agreement the payment and performance
                                                       1
                                                                        j
obligations of the Borrower and/or its subsidiaries stall never put the Lender in a position
subordinate to any indebtedness owing to any other c editor of fhe Borrower and/or any such
Subsidiary (excepting interim obligations for labor and aterials ~curred in the normal course of
development and construction of the Project, which o !ligations iWill be timely satisfied in the

                                                                                                         ,\ 0~ - -
                                                                                                   ·_ ___,._,_1....,_~
                                                                                 Initials: -----11¥'--'
      Case 3:24-bk-00496-BAJ             Doc 53-32       Filed 04/04/24        Page 54 of 91




normal and reasonable management of the Project).
       Section 4.14. Securitization. The lender may • its sole discretion securitize the LOC
funding through an insurer of its choosing. Should Len er decid tol securitize this transaction,
Borrower agrees to cooperate with any preliminary de enninatio1 or reasonable due diligence
required by the insurer.

                                       ARTICLES
                            USE OF LINE OF CREDIT PROCE

       Section 5.1.    Project Costs: Business Expansi n Costs.

       (a)     Proceeds of Advances under the LOC hall be u ilized by Borrower solely to
finance the Project Costs, as more fully described in the attached xhibit C, in connection with
Borrower Business Expansion as further detailed in the Bus· 1ess Plan, updated yearly by
Borrower.

        (b)    The proceeds of the LOC shall be used e lusively for the purposes outlined in this
Agreement. Borrower warrants and represents that the ur of the L<DC proceeds as set forth herein
is for business and commercial purposes only and that the LOC 1oceeds will not be used for
personal, family, or household purposes. The borrowe will not, ~irectly or indirectly, use the
proceeds of the Advances under the LOC, or lend, con ,'bute, or b~erwise make available such
proceeds to any joint venture partner or other Person,    c4 to fund 1ny activities or business of or
with any Person, or in any country or territory, that, a~ the time of such funding, is, or whose
government is, the subject of Sanctions, or (ii) in any oth r manner hat would result in a violation
of Sanctions by any Person.

                                           ARTICLE 6
                                          INSPECTION

        Section 6.1. Project Inspection. Lender, through 'ts officers, agents, contractors, affiliates,
or employees, shall have the right, at all reasonable time! during bJsiness hours upon fifteen (15)
days prior written notice to Borrower to enter on-site of~ces of thd Project site and to inspect the
operations in connection with the Project; provided that uhe foregoi!ng inspections shall be limited
to twice per year absent the occurrence of an Event of Dj fault.

       Section 6.2. Books and Records. Lender shall ave the ri~ht, at all reasonable times, to
                                                                      f1
examine the books, records, accounting data, and other dpcuments Borrower about the Project,
the Property, and the Borrower and to make extracts therefrom or copies thereof.

        Section 6.3. Force Majeure Event Inspection bght. In the event of a Force Majeure
Event (as hereinafter defined) which interrupts, stops, or ~therwise pedes the Borrower's ability
to continue with the Project, upon notice by Borrower to l ender in riting of such Force Majeure
Event occurrence, Lender shall have the right to periotlically inspect the Project, surrounding
conditions, and interview employees, contractors, vendbrs invol~ed in the development of the
Project until Lender is satisfied with Borrower's abili I to resu,ne operations to develop the
Project. Following a Force Majeure Event, Lender has t , e right tolmodify the terms upon which
future Advances may be made as a result of a change in circumstances as determined by the
Lender

                                                                                Initials: ~t,c/-4-
                                                                                                 V------------"
                                                                                                             ~_ f __
      Case 3:24-bk-00496-BAJ             Doc 53-32        Filed 04/04/24       Page 55 of 91




in Lender's sole discretion, that the Borrower can per rm or c~ntinue to perform the Project
scope of work. Borrower shall execute any additio al doc ents, amendments, or other
agreement of terms required by Lender, before Lender's bligation to continue to make Advances
shall resume.

                                   ARTICLE7
                                ADVANCE OF FUNDS

        Section 7.1. Timing and Advances to Payee. Advances ill be made as outlined in the
Tranche Schedule and shall be transferred into the LO¢ Disburs~ment Account. So long as all
conditions precedent to an Advance has been met pursuart to the terms of this Agreement, Lender
agrees that the first Advance will be funded no later than ~eventy-fif e (75) calendar days following
the opening of the ICA by the Lender with its wholesale lender. Dender shall deliver the written
notice to Borrower of the commencement of such seJ enty-five 1(75)-day period. Lender shall
deliver the written notice to Borrower via the Z OMEJ messaging system of the
commencement of such seventy-five (75)-day period.

      Section 7.2. Conditions Precedent to Advance Fund .. Lender's obligation to make
                                                                  1
Advances hereunder shall be conditioned upon fulfillme]~ ofthe tef s outlined in Article 4 hereof.

        Section 7.3. Unpaid Lien Claims. If Lender receives otice of nonpayment from a
potential lien claimant or a lien is filed that is not insur Id over, or if contested then offset with a
segregated loss reserve account, or until the potential tien claimant acknowledges payment or
otherwise rescinds its notice in such form and with sue~ other acRnowledgments as Lender may
require, per applicable law, Lender, at its option may (a refuse to!make any further Advances to
Borrower, or (b) withhold one hundred percent (100%) of the lie amount claimed from future
Advances.

        Section 7.4. Mandatory Advances. Notwithsta ding any other term or provision of this
Agreement, it is understood that interest on Advances U1i1der the Lpc shall be paid from the ICA
and that such method of interest payment is mandato~ and not optional. If Lender agrees that
Borrower may pay the interest directly, Lender shall ha1e the right to advance the LOC proceeds
                                                                   1
to pay said interest if not otherwise paid when due. If the LOC    ds allocated for these purposes
are depleted, Borrower is not relieved from paying direcfly when ue these or any other expenses
or amounts required under the terms of this Agreement or any othe LOC Document.

                                    ARTICLES
                        BORROWER'S AFFIRMATI E COVE tNTS
                                                                      I
         As a material inducement to Lender to make the LOC to Borrower, and until payment in
full of the Advances and other amounts outstanding un~er the LOf and performance of all other
obligations of Borrower under the LOC Documents, Borrower aJ rees to do all of the following
unless Lender shall otherwise consent in writing:

     Section 8.1. Project. (a) Complete, on an ongoing basis, a 1 due diligence required or necessary in
connection with the Project, and (b) be the entity that is the coun erparty to each material primary contract
and agreement related to (i) the Project and (ii) the development, construction, operation, and management
of the Project.
      Case 3:24-bk-00496-BAJ              Doc 53-32       Filed 04/04/24        Page 56 of 91




     Section 8.2. Compliance with Laws. Comply with an~ provide o ILender upon Lender's reasonable request
evidence of material compliance with, all applicable state, llocal fede alj and international laws, procedures, acts,
ordinances, and regulations applicable to the Project.

       Section 8.3. Compliance with Documents. Perform and comply with all the terms and
conditions of this Agreement and the other LOC Documents.  I
        Section 8.4. Books and Records. Keep and u+intain cofplete and accurate books of
account, per generally accepted accounting principles consistently .applied, reflecting all financial
transactions of the Borrower and the Project.           I          1



       Section 8.5. Payment of Obligations. Pay and discharge before the same shall become
delinquent all material obligations, claims, indebtedness,ltaxes, and other obligations (except only
those so long as and to the extent that the same shall be cpntested i? good faith by appropriate and
timely proceedings and for which adequate provisions have been established per generally
accepted accounting principles).

        Section 8.6. Financial Reports. Deliver to L9nder, concerning Borrower as soon as
available and in any event (a) within sixty (60) days after the end of1each calendar quarter during
the term of the LOC, financial statements of Borrower f@r such quarter and (b) within ninety (90)
days after the end of each fiscal year of the Borror er, annual financial statements of the
Borrower, in each case of the foregoing, certified as rue and cbrrect (which reports shall be
prepared per generally accepted accounting principles consistently applied) and operating
statements in a form reasonably satisfactory to Lender[ Borrower shall also deliver to Lender,
promptly upon request therefor, such other financial! information of the Borrower (and its
subsidiaries, if any) as may reasonably be requested by Lender. T~e borrower must also complete
their ZOOMERAL business profile and keep the busindss profile uJ to date throughout the term
of this agreement.                                        I
        Section 8.7. Notification to Lender. Promptly after learning thereof, notify Lender of:
(a) the details of any material action, proceeding, inves igation, or alaim against or affecting the
Borrower, the Property, or the Project instituted befor~~any court, arbitrator, or governmental
authority or to the Borrower's knowledge threatened in \vriting to be instituted; (b) any material
dispute between Borrower and any governmental authorfty involvtg or related to the Property or
the Project; (c) any labor controversy which has resulfed in or, to the Borrower's knowledge,
threatens to result in a strike or disruption which would ~easonabl)1 be expected to have a material
adverse effect on the business of the Borrower of the Prpj ect; (d) the occurrence of any Event of
Default; and (e) any written agreement to purchase any , art of the Borrower or the Project or any
application for any refinancing of the LOC.




         Section 8.8. Partnership/Corporate Existence. Preserve and maintain its existence,
rights, franchises, and privileges in the jurisdiction of its formation.

                                                                                  Initials:   Uf    Jf
      Case 3:24-bk-00496-BAJ              Doc 53-32        Filed 04/04/24       Page 57 of 91




                                             ARTICL 9
                             BORROWER'S NEGATif E COV~NANTS
        Until payment in full of the Advances under th LOC and the performance of all other
obligations of Borrower under the LOC, and in addition to all oth~r !covenants and agreement of
Borrower contained herein or in any other LOC Docum nts, Borr~wer agrees that unless Lender
shall otherwise consent in writing Borrower shall not:

        Section 9.1. Liquidation, Merger, and Sale of !Assets. Liqt date, merge, or consolidate
with any other Person or otherwise transfer to an unrela~ed Personlfifteen percent (15%) or more
of the equity securities of Borrower, or sell, lease or transfer or other\vise dispose of any assets to
any Person other than in the ordinary course of businbss. No~tb.standing, any initial public
                                                            1
offering or acquisition by another company will require[ e Lendet's approval or full payment of
the outstanding loan balance.                                            J




        Section 9.2. Liens. Create or incur any mo I gage, secupty interest, lien, or other
encumbrance of any kind upon the assets of the Borrowe~or constituting the Project or any portion
thereof other than (a) any lien securing indebtedness owiing to Lendbr, (b) liens for taxes not yet
due or that are being actively contested in good faith by approprikt~ proceedings and for which
adequate reserves shall have been established in accord~nce with lg ~nerally accepted accounting
principles, (c) other statutory liens, including, without! limitation, !statutory liens of landlords,
carriers, warehousers, utilities, mechanics, repairmen, w9rkers and lmaterial-men, incidental to the
ownership and/or development of the Project that (i) were not incfured in connection with the
incurring of indebtedness or the obtaining of advances Ir credit, ana (ii) do not in the aggregate
materially detract from the value of the Borrower's property or assetd or the Project, (d) easements
or other minor defects or irregularities in title of the PropJrty not inter(ering in any material respect
with the use of such property in the development of the Prb ect, and (e) liens existing on the Closing
Date and previously disclosed to and approved by Lend6r (but only ~o the extent that the amount
of debt secured thereby, and the amount and description f property subject to such liens,shall not
be increased).

        Section 9.3. Indebtedness. Create, incur, or have outstanding any indebtedness of any kind, other
        than (a) indebtedness owing to the Lender under fhis Agreement and the other LOC Documents, and
        (b) indebtedness of the Borrower existing as of die Closing Date as disclosed to and approved by
        the Lender ( and any extension, renewal, or refinancing
                                                          I
                                                                         I
                                                                thereof but only to the extent that the
        principal amount thereof does not increase after r e Closing ate).

        Section 9.4. Investments, Loans, and Guarantees. (a) Oreate, acquire, or hold any
        subsidiary, (b) make or hold any investment in arty stocks, bonds, or securities of any kind
        (c) be or become a party to any joint venture o ! other pa~ership, (d) make or keep
        outstanding any advance or loan to any Person, or (e) be or beaome a guarantor of any kind.


        Section 9.5. Acquisitions. Enter into any transaction or series ofrelated transactions for or
resulting, directly or indirectly, in (a) the acquisition of all or substantially all of the assets of any
Person, or any business or division of any Person, (b) he acquisitibn of any of the outstanding
capital stock (or other equity interest) of any Person, or ( c) the ac~~isition of another
                                                             I
                                                                                   Initials: ____,,   _____,J~ ell--------
                                                                                               o/---+-!
      Case 3:24-bk-00496-BAJ            Doc 53-32       Filed 04/04/24      Page 58 of 91




Person by a merger, amalgamation, o, consolidation or a y other co~ bination with such Peraon,
unless specifically stated and approved before execution of this AJe ment.

       Section 9.6. Organizational Documents. (a)
                                                                        1
                                                          lend its orkanizational Documents in any
manner adverse to Lender, or (b) amend its Organization 1Documents to change its name or state,
province or other jurisdiction of organization, or its fo of organization.



       Section 9.7. Project and Project Documents. illfully hr voluntarily abandon the Project or its
       activities to develop, construct, operate, or maint I in the Prdject. If the same would (i) be a major
       decision under the Organizational Documents ofBorrower,lor (ii) have a material adverse effect on
       the Lender and is not necessary or desirable for c 1 ntinued de elopment of the Project.

               (a) terminate or cancel or consent to or f cept any cancellation or termination of;
amend, modify or supplement any provision in any material respedt; or grant consent under or
waive any material default under, or material breach of, of material provision of or the performance
of a material obligation by any other Person under, any qontracts o;r agreements (A) related to the
Property, (B) between the Borrower and contractors fort e Project or (C) otherwise related to the
development, construction, operation, and maintenance of the Project,1      in each case that would
have an adverse effect on the Lender; or

               (b)    sell, assign (other than to Lender) or othe ~se dispose of any of its rights
or interest under, any contracts or agreements (A) related to ~e Property, (B) between the
Borrower and contractors for the Project, or (C) otherwi~e related the development, construction,
operation, and maintenance of the Project without Lender's consent, which consent shall not be
unreasonably withheld.                                   1
                                                                     I
                                     Article 10
                         REPRESENTATIONS AND r A ~111ES

       Borrower hereby represents and warrants to Len er that:

        Section 10.1. Validity of Agreement. The Borrhwer has ie right and power and is duly
authorized and empowered to enter, execute and deliver fhe LOC Documents to which it is a party
and to perform and observe the provisions of the LOC Documents. The LOC and the execution,
delivery, and performance of the LOC Documents ha e been dJly authorized by all necessary
                                                         1
action, and when executed and delivered by Borrower will coilstitute the valid and binding
agreements of Borrower, enforceable per their terms. 1ie execution, delivery, and performance
of the LOC Documents do not conflict with, result l. · a breaci in any of the provisions of,
constitute a default under, or result in the creation of a lien ( other than liens permitted under
Section 9.2 hereof) upon any assets or property of th , Borrower r,nder the provisions of, the
Borrower' s Organizational Documents or any material agi-eement td which the Borrower is a party.
                                                                        I
        Section 10.2. Existing Defaults. As of the date of execution of this Agreement, Borrower
(or any subsidiary of Borrower) is not in material default in the pe!iformance or observance of any
                                                                   ih
material obligation, agreement, covenant, or condition contained any bond, debenture, note, or
other evidence of indebtedness or in any contract, indenture, mortgage, agreement, lease, or other

                                                                              Initials:   1,{   3~
      Case 3:24-bk-00496-BAJ             Doc 53-32       Filed 04/04/24       Page 59 of 91




agreement or instrument to which Borrower (or any subsidiary of Borrower) is a party or by which
it or any of its properties, subsidiaries, partners, or other related en1ftf es may be bound.


        Section 10.3. No Default in Other Agreements. The execution and delivery and
performance of this Agreement and all other LOC Documents, the incurrence of the obligations
herein set forth, and the consummation of the transactions herein do~templated, will not result in
the creation of a lien on any of its property (except the liJns created by the LOC Documents), and
will not conflict with, result in a breach of any bond, debenture, note, contract, indenture,
mortgage, lease, or any other evidence of indebtedness, agreement or instrument to which it is a
party or by which it or any of its properties, subsidiaries, partners or other related entities may be
bound, or result in the violation by it of any law, order, rule, ordinance, or regulation of any court
or governmental agency or body having jurisdiction over it or any of its properties, subsidiaries,
partners or other related entities.


        Section 10.4. No Consents. No consent, approval authorization, or other acknowledgment
of any court or governmental agency or body, other than those specifically referenced herein, is
required for the consummation by Borrower of any of the transactions contemplated by this
Agreement, except those permits and licenses required fu the ordinary course of construction of
the Project.

        Section 10.5. Litigation. There is no materiaI litigation at law or in equity and no
proceedings before any commission or other administrative authority ("Litigation") pending or to
Borrower's knowledge threatened against or affecting Borrower, its principals, subsidiaries,
partners, or other related entities, or the Project, except as disclosed to and approved in writing by
Lender. There is no material Litigation currently contemplated, threatened, or pending by Borrower
against any entity or person which would have a material effect on Lender, this Agreement, the
LOC, or the transactions contemplated hereunder. Borrower's failure to timely disclose to Lender
any Litigation that is pending, threatened, or contem,plated by Borrower as of the date of
Borrower's execution of the LOC Documents shal constitute a material breach of this
Agreement and shall justify Lender's excuse from the performance of any terms hereof, including
funding of any Advance, until Lender is satisfied that such Litigation has been resolved in
Lender's sole discretion.

        Section 10.6. Financial Statements. All balant ~ sheets, statements of income or loss,
reconciliation of surplus, and financial data of any other l~ d furnished to Lender by or on behalf
of Borrower are true and correct in all material respects, have been prepared per generally
accepted accounting principles consistently applied, and fully and accurately present the
financial condition of the subjects thereof as of the dates thereof and no material adverse change
has occurred in the financial condition reflected therein since the dates of the most recent thereof.

        Section 10.7. Legal Requirements. The Borrower (a) holds permits, certificates, licenses,
orders, registrations, franchises, authorizations, and other approvals from any governmental
authority necessary for the conduct of its business and is in comp~iance with all applicable laws
relating thereto, and (b) is in compliance with all federal, state, local, or international applicable
statutes, rules, regulations, ordinances, and orders including, without limitation, those relating to


                                                                                Initials: - t~&
                                                                                              ~ - -...::,
                                                                                                     ~=·"{.,._
                                                                                                          - __
      Case 3:24-bk-00496-BAJ             Doc 53-32       Filed 04/04/24       Page 60 of 91




environmental protection, occupational safety and health, zoning, and equal employment practices.

        Section 10.8. Taxes. The Borrower has filed all ax returns and reports required of it, has
                                                                       1
paid all taxes which are due and payable, and has provi~ed adequ~te reserves for payment of any
tax whose payment is being contested; the charges, accruals, and reserves on the books of the
Borrower in respect of taxes for all fiscal periods to dat~ are accurate; and there are no questions
or disputes between the Borrower and any govemmenta~ authority concerning any taxes except as
otherwise previously disclosed to the Lender in writing.


        Section 10.9. Organization and Good Standing. The Borrower is a duly formed or
organized, validly existing, and in good standing under the laws of the State of its formation or
organization as outlined in the first paragraph of this Agreement, and is qualified as a foreign entity
and in good standing in each jurisdiction where the Propi rty and the [Project are located.

        Section 10.10. Insurance. The Borrower maintains with financially sound and reputable
insurers insurance with coverage (including, if applicfble, flood !insurance on all mortgaged
property that is in a Special Flood Hazard Zone, from Sl!lch providers, on such terms and in such
amounts as required by the Flood Disaster Protection Act as amended from time to time or as
otherwise required by Lender) and limits as required by law and as is customary with Persons
engaged in the same business( es) as the Borrower.

               Section 10.11. Accurate and Complete Statements. Neither the LOC Documents
nor any written statement made by the Borrower in connection w~th any of the LOC Documents
contains any untrue statement of a material fact or omits to state a mJterial fact necessary to make
the statements contained therein or in the LOC Documents not misleading. Lender represents to
Borrower:

       Section 10.12. Timing of Lender Funding. Provided Borrower has met the conditions to
Advances in this Agreement, including without limitation the timing for requests outlined in this
Section, Lender shall fund Advances per under the Tranche Schedule, but in no event anymore
frequently than every sixty (60) day, unless otherwise consented to in writing by Lender. The
borrower must deliver Advance requests to Lender thirty (30) business-banking days before the
week represented on the Tranche Schedule for whio~ the Borrower wishes to receive the
proceeds of such Advance from the LOC Disbursement Account. Upon notice of an Advance
Request from the Borrower, Lender has a forty ( 40) intbmational business-banking day window
based on the Tranche Schedule (except for the first Advance according to Section 7. l) to
Payment the requested Advance into the LOC Disbursement Account. Absent a written Advance
request from Borrower, per the conditions and requiiements set forth herein, Lender is not
obligated to disburse the next scheduled Advance under the Tranche Schedule.

                                  ARTICLE 11 1
                  NATURE OF REPRESENTATIONS AND WARRANTIES

       Section 11.1. Generally. The representations and warranties made by Borrower herein and
otherwise in connection with the LOC are and shall remain true and correct in all material respects
as ofthe Closing Date and as of the date of each Advance, omit no rriaterials facts, and shall survive


                                                                                 Initials:   - - 1,vt'- - -"--- -=-sf~
      Case 3:24-bk-00496-BAJ            Doc 53-32       Filed 04/04/24       Page 61 of 91




so long as any of Borrower's obligations under the LOC Documents have not been satisfied and/or
the LOC or any part thereof shall remain outstanding. Each request by Borrower for an Advance
shall constitute an affirmation that the representations and warranties remain true and correct in
all material respects (or, as to any representations a,nd warranties which are subject to a
materiality qualifier, true and correct in all respects) as of th9 date hereof, except for any
representations and warranties that are made as of a specific fuclate. All representations and
warranties made in any document delivered to Lender by or on be alf of Borrower according to
or in connection with the LOC shall be deemed to have been relied upon by Lender.


                                        ARTICLE 12
                                    EVENTS OF DEFAULT

Any of the following specified events shall constitute an Event of Default (each an "Event of
Default"):

       Section 12.1. Nonpayment. Failure to make any paymeyt required by the Promissory
Note, this Agreement, or any other LOC Documents and such failure continues for thirty (30)
days after notice of such default is sent by Lender to Borrower.

        Section 12.2. Other Covenants and Agreements. Failure by Borrower to perform or
comply with any of the other covenants or agreements contained in this Agreement (other than
those referred to in Section 12.6 hereof), or any of the LOC Documents and such failure shall not
have been fully corrected, by the performance of oC compliance with such covenants or
agreements, within twenty (20) days after notice of such default is sent by Lender to Borrower.

       Section 12.3. Representations and Warranties. If any representation, warranty, or
statement made in or according to this Agreement or any other LOC Document or any other material
information furnished by the Borrower to the Lender, sBall be false or erroneous in any material
respect when made or when deemed made. Such Event of Default can be corrected by the
presentation of accurate and current material information furnished by the Borrower to the
Lender to correct the false or erroneous representation, warranty, or statement within ten (10)
days after notice of such default is sent by Lender to Borrower.

        Section 12.4. Security. If any lien granted in this Agreement or any other LOC Document
in favor of the Lender, shall be determined to be (a) voii:l, voidable or invalid, or is subordinated
or not otherwise given the priority contemplated by this Agreement and the Borrower has failed to
promptly execute, but in no event, more than five (5) business days from the date such change in
lien status occurs appropriate documents to correct such matters or (b) unperfected as to any
material amount of Collateral (as determined by the Lender, in its reasonable discretion) and the
Borrower has failed to promptly execute, but in no event, more than five (5) business days from
the date such change in the lien status occurs appropriate documents to correct such matters.

       Section 12.5. Validity of LOC Documents. If (a) any material provision, in the sole
opinion of the Lender, of any LOC Document, shall at any time cease to be valid, binding, and
enforceable against the Borrower, and the Borrower has failed to promptly execute appropriate
documents to correct such matters; (b) the validity, binding effect or enforceability of any LOC


                                                                               Initials: __,,_(d-"--_(,,_
                                                                                                       ~.....,_~~ - -
      Case 3:24-bk-00496-BAJ            Doc 53-32       Filed 04/04/24       Page 62 of 91




Document against the Borrower shall be contested by the Borrower; (c) the Borrower shall deny
that it has any or further liability or obligation under any LOO Document; or (d) any LOC
Document shall be terminated, invalidated or set aside, or be declared ineffective or inoperative or
in any way cease to give or provide to the Lender the benefits purported to be created thereby, and
the Borrower has failed to promptly execute appropriate document to correct such matters.


      Section 12.6. Petition for Bankruptcy, lnsolvencv. The insolvency of; the filing by
Borrower in any jurisdiction of a petition for bankruptcy, liquidation, or reorganization, seeking,
consenting to or appointment of any trustee, receiver, liquidator, or custodian of it or of all or
substantially all of its property; or any such proceedings shall have been voluntarily or
involuntarily instituted against Borrower; the failure of Borrower to generally pay its debts as they
come due or any admission in writing in that regard; the making by Borrower of a general
assignment for the benefit of creditors; the entry against Borrower, voluntarily or involuntarily, of
any order for relief in any bankruptcy reorganization, liquidation, or similar proceeding or the
declaration of or action taken by any governmental authbrity which operates as a moratorium on
the payment of debts of Borrower, which such order or declaration or action shall have remained
in place and undischarged or unstayed for ninety (90) days; or the taking of the action by
Borrower to authorize any of the actions outlined in this Section 12.6.

         Section 12. 7. Material Litigation. Any action, suit, proceeding, or investigation of any
kind involving or threatened in writing against, Borrowe~ or any subsidiary thereof, or the Project,
before any court or arbitrator or any other authority which (a) would reasonably be expected to
have a material adverse effect, or (b) calls into question the validity or enforceability of, or
otherwise seeks to invalidate, any LOC Documents. Promptly after the commencement thereof of
any Litigation, Borrower shall deliver to Lender notice of all actions, suits, investigations,
litigation, and proceedings before any court or governmental department, commission, board,
bureau, agency or instrumentality, domestic or foreign, affecting Borrower or any of its
subsidiaries, partners, or other related entities, or the Project and promptly after the occurrence
thereof, a notice of any adverse change in the status or tljie financial effect on Borrower or any of
its subsidiaries, partners, or other related entities, or the Project of the disclosed Litigation.


                                          ARTICLE13
                                          REMEDIES

        Section 13.1. General. Following the occurrence of one (1) or more Events of Default, a
default cure period of sixty (60) days begins ("Default CUfe Period"), except as otherwise provided
in Section 13.3 or Section 13.4. If Borrower fails to cure the Event of Default (in the manner
specified for each Event of Default according to Article 12) within the Default Cure Period, then
the Lender at its option, may (a) declare all outstanding indebtedness evidenced by the Promissory
Note, including principal and interest, immediately due and payable; (b) terminate all obligations
to make further Advances under the LOC; and (c) pursue and enforce, either successively or
concurrently, all rights and remedies outlined in the Promissory Note, in the LOC Documents, or
any other Collateral instrument held by Lender or accruing to Lender by law, and such other
rights and remedies as Lender may have in law or equity, including such rights as are provided in
this Article 13. If a Bankruptcy Event referred to in Section 12.6 hereof occurs, (i) all obligations


                                                                               Initials:   -1+-w-- S~f-+- - - - - --
      Case 3:24-bk-00496-BAJ               Doc 53-32         Filed 04/04/24         Page 63 of 91




of the Lender to make further Advances under the LOC shall antomatically and immediately
terminate, if not previously terminated, and the Lender thereafter shall not be under any obligation
to make any further Advance, and (ii) the principal of and interest then outstanding on the LOC,
and all of the other obligations owing under the LOC Documentsr shall thereupon become and
thereafter be immediately due and payable in full (if not already due and payable), all without any
presentment, demand or notice of any kind, which are hereby waived by the Borrower.

                                                                          I
    Upon the occurrence of any Event of Default hereunder under $ection 12. 1 whereby Borrower has
missed more than two (2) scheduled payments if Borrower does not have any interest reserve account
established for the benefit of the Lender, Borrower shall have a) si~ty (60) days Default Cure Period to cure
the Event of Default and must (b) Payment an additional one year•d worth of interest payments into the
Interest Reserve Account.

        Section 13.2. Default and Right to Acquire.

        In the event, the Borrower is unable to cure the Event of Detault (in the manner specified
        to correct each Event of Default according to Article
                                                          I
                                                              12 or • ithin the Default Cure
        Period,

         (a)     Upon the occurrence of an Event of Default, Lenderr shall have the right, in person
or by agent, in addition to all other rights and remedies available lto Lender hereunder or under
the LOC documents, to enter into possession of the Project and perform or cause enforce
any liquidity plan.
         (b)     The lender may enter into possession of the Project and perform or cause to be performed
all work and labor necessary to complete the Project, to operate an~ maintain the Project, and/or to
otherwise run the business of the Borrower. All sums expended by the Lender in doing so, together with
interest on such total amount at the Default Rate (as defined in the Promifsory Note), shall be repaid by the
Borrower to the Lender upon demand and shall be secured by the LOC doouments, notwithstanding that such
expenditures may, together with amounts advanced under this Agreeme t, exceed the Maximum Amount.

        (c)    Borrower thereby, following such Bankruptcy Eyent or relevant cure periods
under Section 13.2 constitutes and appoints the Lender as its true and lawful attorney-in-fact, with
the full power of substitution, in the name of the Borrower to complete the Project, to operate
and maintain the Project, and/or to otherwise run the business lof the Borrower, and hereby
empowers such attorney or attorneys as follows:


               (i)    to enter and endorse all agreements, iJ truments, and documents in
        connection therewith.

               (ii)    to use any unadvanced proceeds of the                  OC to complete, operate, or
        maintain the Project.

                (iii)  to make such changes and corrections lin the applicable plans and
        specifications of the Project as reasonably shall be necess~ or desirable to complete the
        work on the Project.

                                                                                      Initials: _v(
                                                                                                 :...._L..__   __:-s=-- _f _ _
      Case 3:24-bk-00496-BAJ             Doc 53-32       Filed 04/04/24       Page 64 of 91




              (iv)    to employ such managers, contractors, subcontractors, agents, architects,
       and inspectors as reasonably shall be required for the foreg6ing purposes.

               (v)     to pay, settle or compromise all bills and c1l ims which may be or become
       liens against the Project or the Collateral or any part thereof, unless a bond or other security
       satisfactory to the Lender has been provided.

              (vi)   to execute applications and certificates in the name of the Borrower which
       reasonably may be required by the LOC Documents or anylother agreement or instrument
       executed by or on behalf of the Borrower in connection with the Project.

              (vii) to prosecute and defend all actions or proceedings in connection with the
       Project or the Collateral or any part thereof, and to take such action and require such
       performance as such attorney reasonably deems necessary under any performance and
       payment bond and the LOC Documents; and

               (viii) to do any and every act which the Borrower might do on its behalf
       concerning the Collateral or any part thereof, or the Proje~t and to exercise any or all of
       the Borrower's rights and remedies under any or all of the ~greements and documents for
       the Project.

        This power of attorney shall be deemed to be a power coupled with an interest and shall be
(A) irrevocable, (B) exercisable by the Lender at any time and without any request upon the
Borrower by the Lender, and (C) exercisable in the name of thejLender or the Borrower. The
Lender shall not be bound or obligated to take any action to preserve any rights therein against
prior parties thereto.

       Section 13.3. Curing of Defaults by Advances. Upon tihe occurrence of an Event of
Default under Section 12.2 through 12.4 hereof which may be cured by the payment of money,
Lender, without waiving any right of acceleration or foreclosure under the LOC Documents which
Lender may have because of such Event of Default or any other right Lender may have against
Borrower because of said Event of Default, shall have the right to make such payment from the
LOC, thereby curing the Event of Default. Any cash so remitted, and interest thereon will be
disbursed by Lender per the terms hereof before any additional proceeds of the LOC are
disbursed.

        Section 13.4. Remedies Are Cumulative. No remedy conferred upon or reserved to
Lender in the LOC Documents shall be exclusive of any other remedy provided in the LOC
Documents or by law or in equity, but each shall be cumulative and shall be in addition to every
other remedy given Lender, under any of the LOC Documents or riow or hereafter existing at law
or in equity or by statute. Lender, at its sole option and without limiting or affecting any rights and
remedies hereunder, may exercise any of the rights and remedies to which it may be entitled under
the LOC Documents concurrently or in such order as it may determine. The exercise of any
rights of Lender shall not in any way constitute a cure o; waiver of Event of Default or invalidate
any act done according to any notice of default, or prejudice Lender in the exercise of any of its
other rights or elsewhere unless, in the exercise of said rights, Lende realizes all amounts owed to
                                                                        1
it hereunder and under the Promissory Note, and any other LOC Dr ouments.

                                                                                 Initials:   - kY
                                                                                               JL-H--------~s~e-
      Case 3:24-bk-00496-BAJ             Doc 53-32       Filed 04/04/24       Page 65 of 91




        Section 13.5. Offsets. If there shall occur or exist any E~ept of Default referred to in
Section 12.6 hereof or if the maturity of the obligations owing undeu the Promissory Note or the
other LOC documents is accelerated according to Section 13.1 heredf, the Lender shall have the
                                                                     f
right at any time to set off against, and to appropriate and apply or ard the payment of, all of
such obligations then owing by the Borrower, whether or not the rame shall then have matured,
all Payment (general or special) balances, and all balances in the In erest Reserve Account and all
other indebtedness then held or owing by the Lender to or for the credit or account of the
Borrower, all without notice to or demand upon the Borrower or a y other Person or entities, all
such notices and demands being hereby expressly waived by the B@rrower.
                                                                     I
          Section 13.6. Collateral. The Lender shall at all times have the rights and remedies of a
secured party under the UCC, in addition to the rights and remedies of a secured party provided
elsewhere within this Agreement, in any other LOC Documents executed by the Borrower or
otherwise provided in law or equity. Upon the occurrence of an E ent of Default and at all times
                                                                     1

thereafter, the Lender may require the Borrower to assemble the Col~ateral securing the obligations
under the LOC documents, which the Borrower agrees to do, and rlke it available to the Lender
at a reasonable convenient place to be designated by the Lender. T~e ~ender may, with or without
notice to or demand upon the Borrower and with or without the aid of legal process, make use of
such reasonable force as may be necessary to enter any premises w~ere such Collateral, or any
thereof, may be found and to take possession thereof (including anything found in or on such
Collateral that is not specifically described in this Agreement or an other LOC document, each of
which findings shall be considered to be an accession to and a p~ of such Collateral) and for
that purpose may pursue such Collateral wherever the same may ~e found, without liability for
trespass or damage caused thereby to the Borrower. After any delivery or taking of possession of
the Collateral securing the obligations under the LOC documents, or any portion thereof, under
this Agreement, then, with or without resort to the Borrower pedonally or any other person or
property, all of which the Borrower hereby waives, and upon sue~ terms and in such manner as
the Lender may deem advisable, the Lender, in its discretion, may sefil, assign, transfer and deliver
any of such Collateral at any time, or from time to time. No prior notice need be given to the
Borrower or to any other Person in the case of any sale of such Collateral that the Lender
determines to be perishable or to be declining speedily in value or that is customarily sold in any
recognized market, but in any other case, the Lender shall give the Borrower not fewer than ten
(10) calendar days prior notice of either the time and place of any public sale of such Collateral
or of the time after which any private sale or other intended disposition thereof is to be made.
The Borrower waives advertisement of any such sale and (except to the extent specifically
required by the preceding sentence) waives notice of any kind in respect of any such sale. At any
 such public sale, Lender may purchase such Collateral, including b} credit bid, or any part thereof,
 free from any right of redemption, all of which rights the Borrowfr hereby waives and releases.
After deducting all costs and expenses, and after paying all claims, if any, secured by liens
having precedence over this Agreement, Lender may apply the ne~ proceeds of each such sale to
 or toward the payment of the obligations under the LOC documents, whether or not then due, in
 such order and by such division as the Lender, in its sole discretion, may deem advisable. Any
 excess, to the extent permitted by law, shall be paid to Borrower, and Borrower shall remain
 liable for any deficiency. In addition, after the occurrence of an Event of Default, the Lender shall
 at all times have the right to obtain new appraisals of the Borrower or any Collateral securing the
 obligations under the LOC documents, the cost of which shall be paid by the Borrower.


                                                                                Initials:   -+t,<-+4_ _S
                                                                                                       =------:f_
Case 3:24-bk-00496-BAJ              Doc 53-32        Filed 04/04/24         Page 66 of 91




                                                                   I




Section 13.7. Default by Lender and Borrower's Sole ReL edy.

(a)      Provided Borrower has fully satisfied and complied f"ith all conditions to Advance
  if Lender fails to provide the first (1 st) Advance when due, under the Tranche Schedule
  and Section 7.1, Borrower shall have the option to terminate this Agreement and request a
  full refund of the ICA Payment. Upon the occurrence o:fl' such default, Borrower shall
  deliver a written notice in the form of a notarized terminatibn letter, a copy of which is
  attached hereto as Exhibit F ("the Termination Letter"), ~o Lender by certified mail.
  Upon receipt of such notice, Lender shall have forty (40) international business-banking
  days from the date of receipt ("Refund Period") within whidh to return the ICA Payment
  to the Borrower.

(b)      If Lender is unable or unwilling to deliver good fun~ to Borrower, such failure to
  deliver an Advance other than the first Advance shall constitute a "Lender Default"
  hereunder. Upon the occurrence of a Lender Default, Bbrrower shall provide written
  notice in the form of a notarized Termination Letter to lthe Lender by certified mail.
  Within forty (40) international business-banking days from the date of receipt of such
  notice by Lender, Borrower shall be entitled to (a) refund ofthe ICA Payment, minus any
  interest outstanding and unpaid as of the date of the Ledder Default, (b) release of all
  security interests granted by Borrower to Lender hereunder and under the other LOC Documents,
                                                                   1
  and (c) termination of Borrower's obligations to Lender hereundbr      except Borrower's obligation
  to repay to Lender the outstanding principal balance of the Pr~rnissory Note including accrued
  and unpaid interest thereon up to and including the date of the :iJ nder Default, upon which date
  interest under the Promissory Note shall cease to accrue. Notwithbtanding any other provision of
  this Agreement to the contrary, in no event shall Lender or its affiliates be liable to the Borrower
  or any other non-party Person, Borrower's subsidiaries, partners, or other related entities, for any
  indirect, special, incidental, or consequential damages, losses or expenses in connection with
  Borrower's or another Person's activities related to, or otherwise because of, the LOC, the
  Advances, the Agreement or the other LOC documents.

(c)       Notwithstanding anything to the contrary in the subpart (a) above or anywhere else
  in this Agreement or the other LOC documents, Lender !shall not be liable or
  responsible to the Borrower, nor be deemed to have defaulted under or breached this
  Agreement, for any failure or delay in funding Advances according to this
  Agreement, when and to the extent such failure or delay is caused by or results from
  acts beyond Lender's control, including, without limitation, the following force
  majeure events ("Force Majeure Event(s)"): (i) acts lof God; (ii) flood, fire,
  earthquake, explosion or prolonged break-down of transpor!, telecommunications or
  electric current; (iii) war (whether declared or not), armed f onflict or the serious threat of
  the same (including but not limited to hostile attack, blockade, military embargo),
  hostilities, invasion, an act of a foreign enemy, extensive military mobilization, civil war,
  riot, rebellion, revolution, military or usurped power, inslllirection, civil commotion or
  disorder, mob violence, an act of civil disobedience, an act of terrorism, sabotage or
  piracy; (iv) plague, epidemic, pandemic, outbreaks of infect" ous disease or any other
  public health crisis, including quarantine, or other restrictions; (v) act of authority
  whether lawful or unlawful, compliance with any law or governmental order, rule,
  regulation or direction, curfew
                                                                                                             f-=---
                                                                              Initials: ---1-,1---ij(.,___-=-S
      Case 3:24-bk-00496-BAJ            Doc 53-32       Filed 04/04/24      Page 67 of 91




        restriction, expropriation, compulsory acquisition, seizure of works, requisition,
        nationalization; (vi) embargoes or blockades in effect on or after the date of this
        Agreement; (vii) national or regional emergency; (viii) strikes, labor stoppages, or
        slowdowns or other industrial disturbances; (ix) failure of the Lender's wholesale lender
        from performing under the terms of the agreement between the Lender and the
        wholesale lender. Lender shall give notice of the Force Majeure Event to the Borrower
        within a reasonable period from the date Lender realizes such Force Majeure Event has
        or will have an impact on Lender's ability to fund, stating the period the occurrence is
        expected to continue. The lender shall use reasonably diligen~ efforts to end the failure
        or delay and ensure the effects of such Force Majeure Event ~re minimized. The lender
        shall resume the performance of its obligations as soon as rea~onably practicable after
        the removal of the cause. The cure periods provided for in supparts (a) and (b) above
        shall be tolled during the pendency of a Force Majeure Event.
                                                                      I
         Section 13.8 Binding Arbitration. Any dispute, claim, or controversy arising out of or
relating to this Agreement, or the breach, termination, enforceme*t, interpretation, or validity
thereof, including the determination of the scope or applicability of this agreement to arbitrate,
shall be determined by binding arbitration in Illinois, before one (~) arbitrator. The arbitration
shall be administered by JAMS under its Comprehensive Arbitration Rules and Procedures or by
ADR Services under its Arbitration Rules, at the election of the p~rty initiating the arbitration.
The Party initiating a demand for arbitration shall serve notice of such demand according to the
notice requirements outlined in Section 14.5 herein. Within three 13) banking-business days of
service of any demand for arbitration, the Parties to the dispute shall work cooperatively to
mutually select an agreeable arbitrator. If the Parties to the disljlute are unable to reach an
agreement on an arbitrator, then the arbitration shall be selected under the JAMS or ADR
Services arbitration selection protocol. Each side shall be entitled to propound one (1) set of
requests for the production of documents. The requests in each set shall not number more than
twenty-five (25) and shall be limited to documents relevant to the ·ssues to be arbitrated. Each
side shall further be entitled to notice and take no more than three (3) depositions, which shall
last no more than three (3) hours per deponent, including reasonab 1e breaks and objections. No
other discovery shall be permitted, except upon a showing of good cause to the arbitrator. Any
discovery disputes shall be submitted to and decided by the arbitrator. The prevailing party shall
be entitled to an award of its reasonable costs and expenses, ricluding but not limited to,
attorneys' fees, in addition to any other available remedies. Any award rendered therein shall
be final and binding on each and all of the parties thereto and their iepresentatives, and judgment
may be entered thereon in any court of competent jurisdictio . This clause shall not
preclude Parties from seeking provisional remedies in aid of arbitration from a court of
 appropriate jurisdiction. Any action or proceeding brought to interpretI
                                                                            or enforce this agreement
 to arbitrate shall be governed by the laws of the State of Illinois. :ryus agreement to arbitrate is
 intended by the Parties to constitute a waiver of any right to tr~al by jury, or the right to
 proceed in any state or federal court for resolution of any dispute arising concerning the
 enforcement or interpretation of this Agreement, this agreement to Iarbitrate, or any of the LOC
 Documents.

                                        ARTICLE 14
                                    GENERAL PROVISIONS

        Section 14.1. Disclaimer of Liability. Lender has no liability or obligation in connection

                                                                              Initials: l 4      ~\
       Case 3:24-bk-00496-BAJ            Doc 53-32       Filed 04/04/24       Page 68 of 91




with the Project except to make Advances under the LOC as agreeb under the terms of the LOC
Documents and makes no warranties or representations in connectionltherewith. No claim may be
made by the Borrower or any other Person against the Lender or the f ffiliates, directors, officers,
employees, attorneys, or agents of the Lender for any damages other than actual compensatory
damages in respect of any claim for breach of contract 01: any other theory of liability arising out
of or related to the transactions contemplated by this Agreement,     H any act, omission or event
occurring in connection therewith; and the Borrower and Lende~ hereby, to the fullest extent
permitted under applicable law, waive, release and agree not to sue orlcounterclaim upon any such
claim for any special, indirect, consequential or punitive damages, rhether or not accrued and
whether or not known or suspected to exist in their favor and regardless of whether Lender has
been advised of the likelihood of such loss of damage. Borrower further agrees that, in the event
of a delay in funding by the wholesale lender that causes a delay Iin funding from Lender to
Borrower, Borrower shall not file for arbitration or otherwise pursNe legal claims against Lender
for such delay to the extent Lender takes reasonable steps to pursue claims it may have against the
wholesale lender; provided, further, that this provision is superseded by the limitations of liability
otherwise provided for in this Agreement and is not intended to create any rights in favor of
Borrower.

         Section 14.2. Publicity. Lender and Borrower shall have the right to issue periodic news
releases concerning the Project and its financing in such form as mutually approved by each of
them, such approval not to be unreasonably withheld. The lender shall have the right to indicate
that it has provided the financing for the Project.                 I
       Section 14.3. Confidentiality. Borrower agrees that the specific terms of this Agreement,
the LOC, and the related terms regarding Lender's agreement to jfund the Project, including
Lender's related entities, partners, subsidiaries, and vendors are prop:rietary, and Borrower hereby
agrees to maintain confidential this Agreement, the LOC dodnbents, and any information
disclosed by Lender related to the terms upon which funding of the LOC is to take place.
Borrower's disclosure of confidential terms shall constitute a material breach of this Agreement,
and will subject Borrower to injunctive relief, pecuniary damages,lor other remedies available to
Lender in law or at equity. All such remedies are cumulative.

        Section 14.4. Responsibility for Application of Funds. Lender shall have no obligation
to see that funds advanced under the LOC are used for the purpose outlined in this Agreement.
Borrower shall be fully responsible for the proper application according to the terms of this
Agreement of funds advanced under this Agreement. The lende~ may rely solely upon the
Borrower's requests for Advances, affidavits, statements, and reports in making said Advances,
and the Borrower does hereby release and indemnify the Lender and hold the Lender harmless
from any losses, claims, demands, or expenses which may arise or ~esult from misapplication or
misuse of the LOC proceeds by Borrower or its agents. Borrower's indemnification of Lender shall
not extend to losses arising from Lender's material breach of this 4 greement or Lender's gross
negligence or willful misconduct (in each case as determined by a court of competent jurisdiction
in a final and non-appealable decision).

        Section 14.5. Non-Disparagement. Borrower agrees and covenants that Borrower shall
not at any time make, publish, or communicate to any person or entity or in any public forum any
defamatory, maliciously false, or disparaging remarks, comments, or statements concerning the

                                                                                          1£
                                                                                           CL.____ g-- - \'- - __
                                                                                Initials: 41
       Case 3:24-bk-00496-BAJ            Doc 53-32       Filed 04/04/24       Page 69 of 91




The lender or its businesses, or any of its employees, officers, or directors, and its existing and
prospective clients, suppliers, investors, and other associated thirdjparties, now or in the future.
For the avoidance of doubt, a breach of this Section 10.04 shall constitute an Event of Default
                                                                     1
under Section 7.02 under which Lender has the right to terminate al~obligations under the Loan
Documents under Section 9.0l(b).

         Section 14.6 Opportunity to Consult with Counsel. Borrower acknowledges that it has
had an opportunity to consult with and be represented by counsel of Borrower's choosing in the
review of the Loan Documents, that it has been advised by Lender to do so, that the Borrower is
fully aware of the contents of the Loan Documents and its legal e:f(fect, and that Borrower enters
into these Loan Documents freely, without duress or coercioh, and based on Borrower's
judgment and wishes and not in reliance upon any representation o promise made by the Lender,
                                                                      7
other than those contained herein.                                    I
         Section 14.7 Notices. All notices given under this Agreement, unless otherwise specified
herein, must be in writing and will be effectively served by: (i) submission through the
zoomeral.com portal using the Borrower's ZOOMERAL account and (ii) upon delivery or, if sent
by certified mail, upon the first to occur of receipt by the addressee!or the expiration of ninety-six
(96) hours after deposit in first-class certified United States mail, postage prepaid, return receipt
                                                                      1
requested, or two (2) business days if sent by pre-paid nationallyjl recognized overnight courier
 service, sent to the Party at its address set forth below, or such other address as a Party may
designate from time to time by written notice given according to this paragraph:

  To Borrower:          Wallingford Lodging Partners LLC



  To Lender:            McMann Commercial Lending LLC
                        205 N Michigan Avenue, Ste 810
                        Chicago, Illinois 60601


        Section 14.8. Applicable Law. This Agreement and, lunless otherwise specifically
provided for therein, each other LOC document, shall be governed by and construed per the laws
of the State of Illinois and the United States.

        Section 14.9. Successors and Assigns. The terms of this Agreement will bind and benefit
the successors and assigns of the Parties, provided that except Ias permitted under the LOC
Documents, Borrower may not assign this Agreement or any proceeds from the LOC or assign or
delegate any of its rights or obligations hereunder without the pr or written consent of Lender,
which may be withheld in Lender's sole discretion.

        Section 14.10. Severabilitv. The invalidity or unenforceal::lility of any one or more of the
provisions of this Agreement will in no way affect any other provision, except that if a condition
to an Advance is held to be illegal or invalid, Lender will not be ~equired to make the Advance
which was the subject of that condition. In the event of any conflidt or inconsistency between the
terms and provisions of this Agreement and any of the LOC Docurilents, the terms and provisions
of this Agreement shall control.


                                                                                Initials: ---Yt
                                                                                            1fl--------"
                                                                                                       ~ =--
                                                                                                           e-
      Case 3:24-bk-00496-BAJ            Doc 53-32      Filed 04/04/24      Page 70 of 91




        Section 14.11. Amendments. This Agreement may not be modified or amended except by
a written agreement signed by the Borrower and Lender.

       Section 14.12. Headings; Attachments. The several headings to articles, sections, and
subsections herein are inserted for convenience only and shall 8e jignored in interpreting the
provisions of this Agreement. Each schedule or exhibit attached to this Agreement shall be
incorporated herein and shall be deemed to be a part thereof.

        Section 14.13. No Third-Party Rights. This Agreement is made entirely for the benefit
of the Borrower, the Lender, and their successors in interest (in luding any participants). No
third party shall have any rights hereunder.

        Section 14.14. Indemnification. The Borrower agrees to defend, indemnify and hold
harmless the Lender (and its affiliates, officers, directors, attorney~, agents and employees) from
and against any and all liabilities, obligations, losses, damages, ~enalties, actions, judgments,
suits, costs, expenses (including attorneys' fees), or disbursements of any kind or nature
whatsoever that may be imposed on, incurred by or asse+ed against the Lender in
connection with any investigative, administrative or judicial proceeding (whether or not the
Lender shall be designated a party thereto) or any other claim by amy Person relating to or arising
out of the Project, the LOC Documents or any actual or propbsed use of proceeds of the
Advances, or any activities of the Borrower or its affiliates; pro+ ded that the Lender shall not
have the right to be indemnified under this Section 14.12 for its own gross negligence or willful
misconduct, as determined by a final and non-appealable decidi6n in arbitration as for any
dispute between the Parties, or by judgment of a court of competent jurisdiction when such
dispute involves another third party Person. All obligations provided for in this Section 14.12
shall survive any termination of this Agreement. The Borrower! hereby agrees to indemnify,
defend and hold harmless the Lender, the managers of the Lender, and all of their members,
managers, affiliates, and advisors, from any damages, 1! sses, liabilities, costs, and
expenses (including reasonable attorneys' fees and costs) t~at they may incur because
Borrower failed to fulfill all of the terms and conditions of this agreement or because of the
untruth or inaccuracy of any of the representations, warranties or agreements contained
herein or in any other documents the Borrower has furnished to any of the foregoing
in connection with this transaction. This indemnification i~cludes, but is not limited
to, any damages, . losses, liabilities, costs, and expenses (~eluding attorneys' fees and
costs) incurred by Lender, the managing members of Lender, or any of its members,
 managers, affiliates, or advisors, defending against any alleged violation of federal or state
 securities laws which is based upon or related to any untruth or inaccuracy of any of the
 representations, warranties or agreements contained herein or in any other documents the
 Borrower has furnished in connection with this transaction.

        Section 14.15. General Limitation of Liability. No claim may be made by the
Borrower or any other Person against the Lender or the affiliates, directors, officers, employees,
attorneys, or agents of the Lender for any damages other than actual compensatory damages in
respect of any claim for breach of contract or any other theory of liability arising out of or
related to the



                                                                              Initials:   '),,£   sr
      Case 3:24-bk-00496-BAJ             Doc 53-32       Filed 04/04/24       Page 71 of 91




transactions contemplated by this Agreement or any of the OC Documents, or any act,
omission, or event occurring in connection therewith; and the Borower and Lender hereby, to
the fullest extent permitted under applicable law, waive, release and agree not to sue or
counterclaim upon any such claim for any special, indirect, cons9quential or punitive damages,
whether or not accrued and whether or not known or suspecte~ to exist in their favor and
regardless of whether Lender has been advised of the likelihoo<!l of such loss of damage. In
addition to the tolling provided under Section 6.3, Borrower furth~r ~grees that, in the event of a
delay in funding by the wholesale lender that causes a delay in funding from Lender to Borrower,
Borrower shall not file for arbitration or otherwise pursue legal claims against Lender for such
delay to the extent Lender takes reasonable steps to pursue cltlims it may have against the
wholesale lender; provided, further, that this provision is supJrseded by the limitations of
liability otherwise provided for in this Agreement and is not intended to create any rights in favor
of Borrower.

        Section 14.16. Entire Agreement. This Agreement, the Promissory Note, and any other
LOC Document or other agreement, document, or instrument attached hereto or executed on or
as of the Closing Date integrate all of the terms and conditions meptioned herein or incidental
hereto and supersede all oral representations and negotiations and prior writings concerning the
subject matter hereof.

       Section 14.17. Execution in Counterparts. This Agreerpent may be executed in any
number of counterparts and by different parties hereto in separate cdunterparts, and by facsimile
or other electronic signature, each of which when so executed together shall constitute the same
Agreement.

        Section 14.18. Legal Representation of the Parties. The LOC Documents were
negotiated by the Parties with the benefit of legal representation and any rule of construction or
interpretation otherwise requiring this Agreement or any other LOC Document to be construed or
interpreted against any Party shall not apply to any construction or interpretation hereof or thereof.

     Section 14.19. JURY TRIAL WAIVER. THE BORROWE AND THE LENDER, TO
THE EXTENT PERMITTED BY LAW, HEREBY WAIVE ANY RIGHT TO HAVE A JURY
PARTICIPATE IN RESOLVING ANY DISPUTE, WHETHER SOUNDING IN CONTRACT,
TORT, OR OTHERWISE, BETWEEN THE BORROWER AND THE LENDER, ARISING
OUT OF, IN CONNECTION WITH, RELATED TO, OR INCIDENTAL TO THE
RELATIONSHIP ESTABLISHED BETWEEN THEM IN CONNECTION WITH THIS
AGREEMENT OR ANY NOTE OR OTHER INSTRUMENT, DOCUMENT OR
AGREEMENT EXECUTED OR DELIVERED IN CONNEC'llION HEREWITH OR THE
TRANSACTIONS RELATED THERETO.




                  [Remainder of page intentionally left blank; Signatures follow]



                                                                               Initials:   JI ~ f
      Case 3:24-bk-00496-BAJ         Doc 53-32        Filed 04/04/24            Page 72 of 91




               IN WITNESS WHEREOF, the parties have executed this Agreement as of the
day and year first written above.


LENDER: MCMANN COMMERCIAL LENDING LLC

By:         4Jj        ~
      Name: Walter P Trock III


BORROWER: Wallingford Lodging Partners LLC




                         el      Vihang Patel
                        &\~ MiMb~

                                                                               . th.
       ,
           2
             J!? SUBSCRIBED AND SWORN TO BEFORE ME on this~day of


                                                          YPUB1IC           \ ~
                                              In and for the State of   G;~\-~~
                                                My Commission-&om~- - - - - - ~ - 7
                                                                    BENl\lffi BUFFALO
                                                                ~_;,;;,,;;A   NOTARY PUBLIC, STATE OF CO~NECTICUf
                                                                               My Commission Expires January 31. 2026




                                                                                 ADAM PRICE
                       M y Comr;,i::w ion Expir~ii:                             Notary Public
                         ~. Z'7. '2..?                                               SEAL
                                                                                 South Dakota


                                                                 11

                                                                                   Initials:    J/(         .S\
Case 3:24-bk-00496-BAJ   Doc 53-32   Filed 04/04/24   Page 73 of 91




                    EXHIBIT C
5/4/23, 10 18 AM       Case 3:24-bk-00496-BAJ           Doc 53-32
                                                             Mail - ReneFiled  04/04/24
                                                                         Jamulitrat - Outlook   Page 74 of 91

       Fwd: Wire confirmation (2)             Genie Investments NV

       Shailesh Patel <shailesh.patel@sbmhospita lity.com >
       Wed 5/3/2023 4:38 PM

       To: Ritesh Katwala ritesh@citycapitaloffice.com ;Brijesh patel smgroupconsultingg@gmail.com ;Rene
       Jamulitrat <rJamulitrat@mcmanncommercial lending.com>;M ichael Lanza
       < mlanza@mcmanncommerciallend ing.com >;Vinay Patel <vinaypatel@sbmhospitality.com >

       ~ 2 attachments (17 KB)
       Kari Born s.vet; image001.jpg;




       FYI.

       Sent from my iPhone

       Begin forwarded message:


               From: Kari Borns kborns@loftadvisors.com
               Date: May 3, 2023 at 3:18:15 PM CDT
               To: Shailesh Patel shailesh.patel@sbmhospitality.com
               Cc: Rocky Rehfeldt rrehfeldt@loftadvisors.com
               Subject: Wire confirmation (2) Genie Investments NV




               Hi Shailesh,
               The wire confirmation information is below for your records:

               NOTICE OF OUTGOING WIRE TRANSFER
               First Dakota National Bank Wire Date: 5/03/23
               IMAD:
               OMAD
               Funds in the amount of$ 1,800,075.00 have been wired to
               Genie Investments NV
               from account Acct Ending  1111
               North Haven Lodging Partners LLC

               NOTICE OF OUTGOING WIRE TRANSFER
               First Dakota National Bank Wire Date: 5/03/23
               IMAD:

               Funds in the amount of$ 1,800,075.00 have been wired to
               Genie Investments NV
               from account Acct Endin~
               Wallingford Lodging Partners LLC




https://outlook.office com/mail/inbox/id/AAQkADc1 OGNiZWY5LTgyMzAtNDFmNC05NmE4LWI0MjQ0ZDNhNmU 1OQAQAPPy%2BnaldU MShilXbn9O. ..   1/2
5/4/23, 10:18 AM     Case 3:24-bk-00496-BAJ         Doc 53-32
                                                         Mail - ReneFiled  04/04/24
                                                                     Jamulitrat - Outlook   Page 75 of 91
               This email and any files transmitted with it are confidential and are intended solely for the
               use of the individual or entity to whom they are addressed. If you are not the original
               recipient or the person responsible for delivering the email to the intended recipient, be
               advised that you have received this email in error, and that any use, dissemination,
               forwarding, printing, or copying of this email is strictly prohibited. If you received this
               email in error, please immediately notify postmaster@firstdakota.com.

               If any personal views or opinions are contained in this email, those views or opinions are
               solely those of the author and do not necessarily represent those of First Dakota National
               Bank.




https://outlook.office.com/mail/inbox/id/AAQkADc1OGNiZWY5LTgyMzAtNDFmNC05NmE4LWI0MjQ0ZDNhNmU1OQAQAPPy%2BnaLdUMShilXbn9O…   2/2
Case 3:24-bk-00496-BAJ   Doc 53-32   Filed 04/04/24   Page 76 of 91




                    EXHIBIT D
               Case 3:24-bk-00496-BAJ              Doc 53-32    Filed 04/04/24       Page 77 of 91




                                                      EXHIBITF
                                              FORM TERMINATION LETTER


        McMann Commercial Lending LLC
        205 N Michigan A venue, Ste 810
        Chicago, Illinois 6060 I

        Re: North Haven Lodging Partners LLC

        To Whom it May Concern:

        The undersigned Borrower has decided to exercise its rights to terminate the above-referenced
        transaction according to the terms of the LOC Agreement dated April 10, 2023.
               Please consider this letter as notice of Borrower's tennination of the LOC Agreement and
        request for a refund of Borrower's ICA payment, less any amounts due and owed to Lender
        under Section 13.7 of the LOC Agreement.

                                                          BORROWER: North Haven Lodging Partners LLC

                                                          By:                                ,,/, /              .-.?
                                                                ------~--u_,tt,J✓ ~.t-v+-;i,
                                                         Name: Shailesh Patel and Vihang Patel            /
                                                         Title:   f0\_ 9-&D\c) /2.,,r

          8v f 3 Q ,) ,·
                           1
                                ~~~~RI ED AND SWORN TO BEFORE ME on this_j_.6._day of


~   9 ~ J .•   ~ ;{ Jr V,ha13~"~,, PcJf~o f/ / ~
                                                           ~ UBLfc -                             ;:_
                   BLERIHA BOBI
                 t-lotary Public
                                                                 In and for the State of   C,,,,r _
                  Connecticut
        MY Commission Expires Se P 30' 2027
                                                                  My Commission Expires:




       Please confirm your Wiring Instructions:
       Account Title: "1. C) ~ V'\.M
       Address on Account:
       BankName:           .r
       Bank Address:
       Routing#:
       Account#:

                                                                                    Initials: - - - - ~·)...  /l
                                                                                                              _r~·_ _
          Case 3:24-bk-00496-BAJ                Doc 53-32       Filed 04/04/24     Page 78 of 91




                                             EXHIBITF
                                      FORM TERMINATION LETTER


  McMann Commercial Lending LLC
  205 N Michigan A venue, Ste 810
  Chicago, Illinois 60601

  Re: Wallingford Lodging Partners LLC

  To Whom it May Concern:

  The undersigned Borrower has decided to exercise its rights to terminate the above-referenced
  transaction according to the terms of the LOC Agreement dated April 10, 2023.
          Please consider this letter as notice of Borrower's termination of the LOC Agreement and
  request for a refund of Borrower's ICA payment. less any amounts due and owed to Lender
  under Section 13.7 of the LOC Agreement.

                                                            BORROWER: Wallingford Lodging Partners
                                                            LLC

                                                            By:                       "7/4d{i~
                                                            >lame: Shailesh Patel and ◊ihang Patel
                                                            Ti tie: [\A Sci"\)-, ¼c

      Av " ~Js~~~.,:ED AND SWOR'< TO BEFORE ME on t'lnsJ.12..day of
!',I Ji.'.\'
               9·'.:J~ • hq·l'l ~ ~,         "'" r   c,,t , (   ooO   ~      ,         ,
                      1

                                                            ~                   PUB~IC        /'~
                                                                  In and for the State of _.,::
                                                                                             L::c..-_L_.___ _

                   BLERINA 8081                                     My Commission Expires:
                   Notary Public
                   Connecticut
       My Commission E>1plres Sep 30, 2027




   Please confirm your Wiring Instructions:
   Account Title:        VJ
                      C!l....l-t--) n Fe>~
   Address on Account:
   Bank Name: E \ '(<=:,~
   Bank Address:
   Routing #:
   Account#:
                                                                                       Initials: _ _,_?.,&..f__,__
                                                                                                               _ ____
Case 3:24-bk-00496-BAJ   Doc 53-32   Filed 04/04/24   Page 79 of 91




                    EXHIBIT E
                                  Case 3:24-bk-00496-BAJ               Doc 53-32      Filed 04/04/24       Page 80 of 91




                       GENIE MESSAGES ON WALLINGFORD (2815) & NORTH HAVEN (2816) LODGINGS


Genie issues loan documents for Wallingford Lodging:

 Walt,                                                                3/13/2023   Genie Investments - Wiring Instructions - Term
                                                                                  Sheet - Business Expansion LOC Agreement - G
 Please see attached Loan Agreements in Word form for                             Walt Inc.docx
 White Labeling. Their User ID is on the bottom of each page.

 1. Present the client with a Term Sheet and collect the
 activation fee. If the client has already paid the activation fee,
 see step two.

 2. After they have paid for activation, deliver the remaining
 documents.

 3. Make sure to offer the Deposit Assistance Program (Due
 Diligence) to each client.

 4. (a) Execute a copy of this document and upload it into the
 system. (b) Upload a copy of your white labeled documents
 from your client as well.

 5. Do NOT change the Wiring Instructions. You may only
 change the Logo.

 Thank you!

 - Genie Investments



Genie issues loan documents for North Haven Lodging:

 Walt,                                                                3/13/2023   Genie Investments - Wiring Instructions - Term
                                                                                  Sheet - Business Expansion LOC Agreement - G
 Please see attached Loan Agreements in Word form for                             Wall Inc.docx
 White Labeling. Their User ID is on the bottom of each page.

 1. Present the client with a Term Sheet and collect the
                                  Case 3:24-bk-00496-BAJ                 Doc 53-32       Filed 04/04/24       Page 81 of 91




 activation fee. If the client has already paid the activation fee,
 see step two.

 2. After they have paid for activation, deliver the remaining
 documents.

 3. Make sure to offer the Deposit Assistance Program (Due
 Diligence) to each client.

 4. (a) Execute a copy of this document and upload it into the
 system. (b) Upload a copy of your white labeled documents
 from your client as well.

 5. Do NOT change the Wiring Instructions. You may only
 change the Logo.

 Thank you!

 - Genie Investments



Term sheets and requested documents submitted to Genie:

 USER 2815 (Wallingford Lodging)                        3/20/2023     Signed Wallingford Lodging (user 2815) Terms &
                                                                      Commitment.pdf
 Attached is the signed term sheet for this
 deal.




 USER ID 2815 (Wallingford Lodging Partners)                            3/20/2023     USER ID 2815 IDs and bank
                                                                                      references.zip
 Attached are the IDs and bank letters for this deal.

 USER ID 2816 (North Haven)                                             3/20/2023     USER ID 2815 Term sheet and
                                                                                      documents.
 Attached are the executed term sheet and requested
 documents for this deal.

 Regards,
                              Case 3:24-bk-00496-BAJ              Doc 53-32       Filed 04/04/24        Page 82 of 91




Genie’s message:

 Walt,                                                                                                      3/22/2023

 Regarding USER ID 2816, Genie received documents for a different business, please resend. Thank you.



McMann’s responses to previous message:

 USER ID 2816 (North Haven)                                  3/22/2023   USER ID 2816 Term sheet and
                                                                         documents.zip
 File with documents for North Haven (USER ID 2816)
 attached

 USER ID 2815 (Wallingford)                                  3/22/2023   USER ID 2815 IDs and bank
                                                                         references_1.zip
 Documents in file attached



Messages from Genie re receipt of ICA deposits:

 Walt,                                                                                                                       5/4/2023

 Genie received two payments of $1,800,000 from User IDs 2815 and 2816. This does match the numbers Genie has on
 file. Please upload their agreements and advise at your earliest convenience. Thank you.

 Walt,                                                                                                                       5/5/2023

 Genie received two payments of $1,800,000 from User IDs 2815 and 2816. This does match the numbers Genie has on
 file. Please upload their agreements and advise at your earliest convenience. Thank you.



Submission of signed loan agreements and requested documentation to Genie:

 USER ID 2816 (North Haven Lodging) submission for funding                        5/7/2023    USER ID 2816 Funding submission.zip

 USER ID 2815 (Wallingford Lodging) submission for funding                        5/7/2023    USER ID 2815 Funding submission.zip
                                Case 3:24-bk-00496-BAJ               Doc 53-32       Filed 04/04/24        Page 83 of 91




Loan cancellation message to Genie:

 USER ID 2815 (Wallingford Lodging LLC) and USER ID 2816 (North Haven Lodging) are cancelling their loans and are requesting               8/18/2023
 their ICA be returned.

 The termination link has been emailed to both for them to submit their requests.

 Regards.



Message to Genie requesting an update on the ICA refund:

 USER IDs 2815 and 2816 submitted their termination letter August 19, 2023. Kindly provide an update on their refund dates.                9/14/2023

 Regards



Genie’s response:

 Walt,                                                                                                                               9/14/2023

 Regarding 2815 and 2816, the expected refund date is 10/13/2023.




Messages sent to Genie for confirmation of the ICA refunds:

 About loan #'s 2815 & 2816 return of the ICA deposits have been confirmed by Genie to be wired tomrrow please confirm        10/12/2023
 that this commitment is still on target for funds to be wired tomorrow.. Walt

 USER ID 2815 and 2816 have requested updates on their refunds                                                                10/12/2023
                                                                                                                                                       I
                               Case 3:24-bk-00496-BAJ               Doc 53-32        Filed 04/04/24     Page 84 of 91




Genie’s response:

 Walt,                                                                                                                        10/13/2023

 Regarding User ID 2629, 2815 and 2816, please make sure that they have access to their account, so that Genie can
 communicate with them directly. A message has been sent to them already. Thanks.



The following are direct messages between Genie and the client:



 Wallingford Lodging Partners LLC,                                               10/13/2023   Borrower letter re ICA   Mark
                                                                                              refund - Oct. 2023       as
 Please see attached letter from Genie's attorney. Genie is working                           Walker Law -             read
 diligently to get your refund to you as quickly as possible and will be in                   Wallingford
 touch with you by the end of next week. If you have any questions, all                       Lodging.pdf
 communications must be here in writing, so please do not hesitate to
 ask if you do. In the meantime, Genie would like to set up a conference
 call with you to make sure you fully understand this letter provided to
 you. Please provide 3 times for Tuesday and Wednesday of next week
 to discuss this matter. Genie appreciates your understanding.

 Hey David,                                                                                              10/16/2023

 We are available for a call:
 Tuesday 10/17:
 9am CST
 10am CST
 11am CST
 1pm (preferred) CST
 or 2pm CST
 for both North Haven and Wallingford projects to be discussed. Please confirm what time
 works for you at your earliest convenience.
                                Case 3:24-bk-00496-BAJ                 Doc 53-32     Filed 04/04/24       Page 85 of 91




North Haven Lodging Partners LLC,                                       10/13/2023   Borrower letter re ICA
                                                                                     refund - Oct. 2023
Please see attached letter from Genie's attorney. Genie is                           Walker Law - North
working diligently to get your refund to you as quickly as possible                  Haven Lodging.pdf
and will be in touch with you by the end of next week. If you have
any questions, all communications must be here in writing, so
please do not hesitate to ask if you do. In the meantime, Genie
would like to set up a conference call with you to make sure you
fully understand this letter provided to you. Please provide 3 times
for Tuesday and Wednesday of next week to discuss this matter.
Genie appreciates your understanding in this matter.

Hey David,                                                                                            10/16/2023

We are available for a call:
Tuesday 10/17:
9am CST
10am CST
11am CST
1pm (preferred) CST
or 2pm CST
for both North Haven and Wallingford projects to be discussed. Please confirm what time
works for you at your earliest convenience.
Case 3:24-bk-00496-BAJ   Doc 53-32   Filed 04/04/24   Page 86 of 91




                    EXHIBIT F
         Case 3:24-bk-00496-BAJ          Doc 53-32     Filed 04/04/24     Page 87 of 91




                                         WALKER LAW OFFICE, LLC
                                                     4050 PENNSYLVANIA AVE., SUITE 115-10
                                                             KANSAS CITY, MISSOURI 64111
                                                                            (816) 226-6476



October 13, 2023

       Re:     Genie Investments – Update on Funding Delays

Dear Wallingford Lodging Partners LLC,

     This letter concerns the 8/19/2023 termination of your Letter of Credit Agreement
(LOCA) with Genie Investments and your request for a refund of the $1,800,000 ICA payment.

        As you know from previous communications, Genie Investments has been working to
address the ongoing failure of its capital provider to comply with its contractual obligations to
provide funds to Genie. It is important to recognize that, under section 13.7 of the LOCA, the
present situation constitutes a so-called “force majeure” event – i.e., a situation in which events
beyond Genie’s control prevent it from providing advances to borrowers. The LOCA’s force
majeure provision, section 13.7, specifically includes a failure by Genie’s capital provider –
referred to in the LOCA as its “wholesale lender” – to perform its obligations to Genie. As such,
the delays you have experienced do not constitute a breach of contract by Genie and the “Refund
Period” set forth in the LOCA (forty international business-banking days) does not apply while
the force majeure event is ongoing.

        Instead, the LOCA requires Genie to use “reasonably diligent efforts to end the failure or
delay and ensure the effects of such Force Majeure Event are minimized,” and Genie is currently
doing so. This law firm, which Genie recently engaged to help resolve the situation, is working
on multiple fronts to compel the capital provider to deliver the funds it owes, so that Genie can,
in turn, provide refunds to its borrowers. We are preparing a legal action against the capital
provider and its associates, which we will file at our earliest opportunity unless we reach a
satisfactory settlement first. In hopes of refunding money to you as soon as possible, we will
simultaneously pursue legal action and engage in settlement negotiations.

        Genie will make every reasonable effort to keep you informed of the progress of its
efforts during this process. In addition, you can expect further correspondence from this law firm
with updates regarding settlement negotiations or the status of any legal action filed against the
capital provider. While Genie’s efforts are underway, you must direct any inquiries to Genie
through the Zoomeral messaging system.

        Genie understands that you want this situation resolved as quickly as possible, which is
why it is taking the steps laid out above. Please understand, however, that legal actions of this
        Case 3:24-bk-00496-BAJ         Doc 53-32     Filed 04/04/24    Page 88 of 91




magnitude require significant time and resources, and we ask your continued patience throughout
the process.

        Further, we ask you to be mindful of other provisions of the LOCA. For example, Section
14.3 requires you to keep the terms of the LOCA confidential and section 14.5 prohibits
disparagement of Genie or of persons or entities affiliated with it. Both provisions are deeply
important to Genie. Please understand that violating either section would constitute a breach of
the agreement and could impair or prevent your participation in the remedies Genie is pursuing.
Moreover, failing to comply with these provisions could adversely affect Genie’s efforts to
obtain the recovery that would then flow to borrowers to whom refunds are due.

        In short, we are working diligently to enable Genie to fulfill its obligations to its
borrowers. Although we never expected to have to confront this situation, we intend to emerge
better for it. In the meantime, we appreciate your patience as we continue our efforts.


                                            Sincerely,


                                            Adam Walker
                                            Walker Law Office, LLC
Case 3:24-bk-00496-BAJ   Doc 53-32   Filed 04/04/24   Page 89 of 91




                    EXHIBIT G
         Case 3:24-bk-00496-BAJ          Doc 53-32     Filed 04/04/24     Page 90 of 91




                                       WALKER LAW OFFICE, LLC
                                                     4050 PENNSYLVANIA AVE., SUITE 115-10
                                                             KANSAS CITY, MISSOURI 64111
                                                                            (816) 226-6476



October 13, 2023

       Re:     Genie Investments – Update on Funding Delays

Dear North Haven Lodging Partners LLC,

     This letter concerns the 8/19/2023 termination of your Letter of Credit Agreement
(LOCA) with Genie Investments and your request for a refund of the $1,800,000 ICA payment.

        As you know from previous communications, Genie Investments has been working to
address the ongoing failure of its capital provider to comply with its contractual obligations to
provide funds to Genie. It is important to recognize that, under section 13.7 of the LOCA, the
present situation constitutes a so-called “force majeure” event – i.e., a situation in which events
beyond Genie’s control prevent it from providing advances to borrowers. The LOCA’s force
majeure provision, section 13.7, specifically includes a failure by Genie’s capital provider –
referred to in the LOCA as its “wholesale lender” – to perform its obligations to Genie. As such,
the delays you have experienced do not constitute a breach of contract by Genie and the “Refund
Period” set forth in the LOCA (forty international business-banking days) does not apply while
the force majeure event is ongoing.

        Instead, the LOCA requires Genie to use “reasonably diligent efforts to end the failure or
delay and ensure the effects of such Force Majeure Event are minimized,” and Genie is currently
doing so. This law firm, which Genie recently engaged to help resolve the situation, is working
on multiple fronts to compel the capital provider to deliver the funds it owes, so that Genie can,
in turn, provide refunds to its borrowers. We are preparing a legal action against the capital
provider and its associates, which we will file at our earliest opportunity unless we reach a
satisfactory settlement first. In hopes of refunding money to you as soon as possible, we will
simultaneously pursue legal action and engage in settlement negotiations.

        Genie will make every reasonable effort to keep you informed of the progress of its
efforts during this process. In addition, you can expect further correspondence from this law firm
with updates regarding settlement negotiations or the status of any legal action filed against the
capital provider. While Genie’s efforts are underway, you must direct any inquiries to Genie
through the Zoomeral messaging system.

        Genie understands that you want this situation resolved as quickly as possible, which is
why it is taking the steps laid out above. Please understand, however, that legal actions of this
        Case 3:24-bk-00496-BAJ         Doc 53-32     Filed 04/04/24    Page 91 of 91




magnitude require significant time and resources, and we ask your continued patience throughout
the process.

        Further, we ask you to be mindful of other provisions of the LOCA. For example, Section
14.3 requires you to keep the terms of the LOCA confidential and section 14.5 prohibits
disparagement of Genie or of persons or entities affiliated with it. Both provisions are deeply
important to Genie. Please understand that violating either section would constitute a breach of
the agreement and could impair or prevent your participation in the remedies Genie is pursuing.
Moreover, failing to comply with these provisions could adversely affect Genie’s efforts to
obtain the recovery that would then flow to borrowers to whom refunds are due.

        In short, we are working diligently to enable Genie to fulfill its obligations to its
borrowers. Although we never expected to have to confront this situation, we intend to emerge
better for it. In the meantime, we appreciate your patience as we continue our efforts.


                                            Sincerely,


                                            Adam Walker
                                            Walker Law Office, LLC
